 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 1 of 170 PageID #:2859




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS




IN RE THE BOEING COMPANY                   Case No. 1:19-cv-02394
AIRCRAFT SECURITIES LITIGATION

                                           Honorable John J. Tharp Jr.




                  CONSOLIDATED CLASS ACTION COMPLAINT




BERNSTEIN LITOWITZ BERGER &
  GROSSMANN LLP

Avi Josefson                             John C. Browne (admitted pro hac vice)
875 North Michigan Avenue, Suite 3100    Katie M. Sinderson (admitted pro hac vice)
Chicago, IL 60601                        Adam D. Hollander (admitted pro hac vice)
Telephone: (312) 373-3800                Abe Alexander (admitted pro hac vice)
Facsimile: (312) 794-7801                James M. Fee (admitted pro hac vice)
Avi@blbglaw.com                          1251 Avenue of the Americas, 44th Floor
                                         New York, New York 10020
                                         Telephone: (212) 554-1400
                                         Facsimile: (212) 554-1444
                                         JohnB@blbglaw.com
                                         KatieM@blbglaw.com
                                         Adam.Hollander@blbglaw.com
                                         Abe.Alexander@blbglaw.com
                                         James.Fee@blbglaw.com


Dated:   February 14, 2020
     Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 2 of 170 PageID #:2860




                                                  TABLE OF CONTENTS


I.       PRELIMINARY STATEMENT ........................................................................................ 1

II.      JURISDICTION AND VENUE ......................................................................................... 9

III.     PARTIES ............................................................................................................................ 9

         A.         Lead Plaintiff .......................................................................................................... 9
         B.         Named Plaintiffs ................................................................................................... 10
         C.         Defendants ............................................................................................................ 11
IV.      FACTUAL BACKGROUND ........................................................................................... 12

         A.         Boeing Rushed The 737 MAX To Market In Order To Compete With
                    Airbus’s New Fuel-Efficient A320neo ................................................................. 12
                    1.         Boeing’s Background And Its Duopoly With Airbus ............................... 12
                    2.         Boeing And Airbus Competed To Develop The Next Generation
                               Of Fuel-Efficient Commercial Jetliners .................................................... 12
                    3.         As Sales Of Airbus’s A320neo Accelerated, Boeing Abandoned Its
                               Plans To Design A New Aircraft And Decided To Upgrade The
                               Engines On Its 737 .................................................................................... 13
                    4.         Boeing Sought Regulatory Approval Of The MAX Under The Old
                               737 Type Certificate And Pressured Employees To Speed The
                               Plane To Market ........................................................................................ 15
                    5.         Boeing Insisted That The 737 MAX Not Require Any New Flight
                               Simulator Training .................................................................................... 16
                    6.         Boeing’s Culture Of Profits Over Safety .................................................. 20
         B.         Boeing Learned That The MAX Had An Inherent Aerodynamic Instability
                    And Installed A Software “Fix” To Paper Over The Problem ............................. 22
                    1.         Boeing’s Initial Tests Revealed That The MAX’s New Engines
                               Caused The Plane’s Nose To Pitch Upward In Flight .............................. 22
                    2.         The MCAS Automated Flight Control System: Boeing’s “Band-
                               Aid” Solution To The Pitch Problem ........................................................ 24
         C.         Boeing Knowingly Or Recklessly Ignored Multiple Safety Failings With
                    The MCAS Design ................................................................................................ 25
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 3 of 170 PageID #:2861




                 MCAS’s Use Of A Single Point Of Failure Was Contrary To
                 Boeing’s Own Standards And Industry Practice ...................................... 26
                 a.         A Single Point Of Failure Violated Boeing’s Policies, Its
                            Historical Practice, And Industry Standards ................................. 28

                 b.         Boeing’s Employees Warned Of The Dangers Of A Single
                            Point Of Failure............................................................................. 30

                 c.         Boeing Submitted A Specious “Functional Hazard
                            Analysis” To Regulators In An Effort To Justify Its Use Of
                            A Single Point Of Failure ............................................................. 31

                            i.         Boeing Used Multiple False Assumptions To
                                       Conduct Its Functional Hazard Analysis .......................... 32

                            ii.        Even With False Assumptions, MCAS Failed The
                                       Functional Hazard Analysis, So Boeing Concocted
                                       An Impermissible “Risk Discount” .................................. 37

           2.    In November 2016, The MAX’s Chief Test Pilot Identified That
                 MCAS Was “Running Rampant” And That The Situation Was
                 “Egregious” ............................................................................................... 38
           3.    In August 2017, Boeing Learned That A Critical Safety Alert
                 Warning Of Faulty AoA Sensors Was Not Operational On Most Of
                 The MAX Fleet ......................................................................................... 40
           4.    Boeing Made Deadly Changes To The MAX Before The Plane
                 Was Certified And Without Informing The FAA ..................................... 43
           5.    Boeing “Jedi-Mind Trick[ed]” Regulators Into Deleting References
                 To MCAS From Flight Operating Manuals .............................................. 46
           6.    Boeing’s June 2018 Coordination Sheet Further Demonstrated
                 That The MAX Failed To Meet The Company’s Own
                 Requirements ............................................................................................ 51
           7.    In June 2018, A Boeing Senior Manager Reported Severe
                 Problems In The MAX’s Development And Production To
                 Defendant Muilenburg And Other Boeing Executives ............................. 52
                 In the Months Leading Up To The Lion Air Crash, Boeing
                 Employees Repeatedly Discussed The Fact That The MAX Was
                 Unsafe ....................................................................................................... 56
                 By The Start Of The Class Period, The MAX Had Become The
                 Best-Selling Aircraft In Boeing’s History And The Largest Single
                 Product Driver Of the Company’s Revenue ............................................. 57


                                                       ii
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 4 of 170 PageID #:2862




     D.       On October 29, 2018, Lion Air Flight JT 610 Crashed, Killing All 189
              Passengers And Crew ........................................................................................... 58
     E.       Following The Lion Air Crash, Defendants Immediately And Falsely
              Blamed The Pilots And Assured The Public That The MAX Was Safe .............. 61
     F.       Throughout The Class Period, Defendants Misleadingly Reassured The
              Public, Even As Evidence Continued To Mount Internally That The MAX
              Was Dangerously Unsafe ...................................................................................... 67
V.   THE TRUTH EMERGES AS INVESTORS LEARN BOEING CUT CORNERS
     IN DESIGNING THE MAX, DECEIVED REGULATORS, AND RUSHED THE
     DEADLY 737 MAX TO MARKET................................................................................. 74

     A.       March 10, 2019: Ethiopian Airlines Flight ET 302 Crashed Shortly After
              Takeoff .................................................................................................................. 74
     B.       March 17, 2019: The Seattle Times Published A Report Revealing Flaws
              And Deception In The Certification Process For The 737 MAX ......................... 79
     C.       March 21, 2019: The New York Times Reported That Both The Lion Air
              And Ethiopian Airlines Planes Did Not Have Safety Features Related To
              MCAS, Because Boeing Sold Them As Optional Upgrades ................................ 82
     D.       April 5, 2019: Boeing Announced A Pullback In The 737 MAX
              Production Rate..................................................................................................... 83
     E.       June 2019 Paris Air Show: Unbeknownst To Investors, Then-Acting FAA
              Administrator Elwell Told Defendant Muilenburg To “Slow Down”
              Public Statements About The MAX’s Return-To-Service Timeline .................... 85
     F.       June 26, 2019: The FAA Announced It Discovered A Software Flaw
              During Testing ...................................................................................................... 86
     G.       July 24, 2019: Boeing Disclosed The Possibility That 737 MAX
              Production Could Be Halted ................................................................................. 87
     H.       August 2019: The FAA And Representatives From Aviation Regulators In
              Europe, Brazil, And Canada Traveled To Seattle to Meet With Boeing
              Officials................................................................................................................. 89
     I.       October 11, 2019: Defendant Muilenburg Stripped Of Role As Chairman
              Of The Board ........................................................................................................ 90
     J.       October 18 and 21, 2019: The New York Times Published A Series Of
              2016 Text Messages Between 737 MAX Test Pilots Revealing That
              Defendants Hid MCAS Problems From Regulators ............................................. 90




                                                               iii
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 5 of 170 PageID #:2863




       K.      October 29-30, 2019: Defendants Were Rebuked By Congress For Telling
               The Public “Half-Truths” About The MAX’s Safety And Withholding The
               Forkner Emails From Congress ............................................................................ 95
       L.      Early November 2019: Defendants Placed Undue Pressure On The FAA
               To Improperly Accelerate The MAX Certification Timeline ............................... 98
       M.      December 12, 2019: FAA Administrator Informed Defendant Muilenburg
               737 MAX Would Not Be Clear To Fly Until 2020 .............................................. 99
       N.      December 16, 2019: Boeing Announced 737 MAX Production Would Be
               Halted Entirely, Revealing The Depth of The Issues Surrounding The
               Troubled Plane .................................................................................................... 100
VI.    POST-CLASS PERIOD DEVELOPMENTS ................................................................. 101

       A.      Defendant Muilenburg And Counselor To The Board J. Michael Luttig
               Abruptly Departed the Company ........................................................................ 101
       B.      Boeing Finally Publicly Endorsed MCAS Simulator Training For 737
               MAX Pilots ......................................................................................................... 102
       C.      Boeing Released Further Astonishing Internal Messages Highlighting the
               Company’s Cavalier Attitude Regarding the Safety of the 737 MAX ............... 103
       D.      Boeing Announced Its First Annual Loss Since 1997 And Disclosed An
               SEC Investigation Related To The 737 MAX Crashes And The
               Company’s Disclosures Related To The Planes’ Safety..................................... 104
VII.   ADDITIONAL ALLEGATIONS OF DEFENDANTS’ SCIENTER ............................ 104

       A.      Defendants Have Admitted That The 737 MAX Was Unsafe, Its
               Operating Manual Was Dangerously Incomplete, MCAS Was
               Fundamentally Flawed, And Boeing Lied To Regulators .................................. 105
       B.      The 2015 FAA Settlement Agreement Required Boeing Senior
               Management’s Direct Involvement In Safety, Design, And Compliance
               Issues ................................................................................................................... 107
       C.      Defendants Were Working On Fixes To The 737 MAX’s Safety Problems
               From The Start Of The Class Period................................................................... 108
       D.      Defendant Muilenburg Improperly “Put[] Pressure On The [FAA] To
               Move Faster” ....................................................................................................... 109
       E.      By Early In The Class Period At The Latest, Defendants Learned That
               Pilots Lacked Necessary Information To Safely Fly The 737 MAX.................. 110




                                                                 iv
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 6 of 170 PageID #:2864




        F.        Internal Whistleblower Edward Pierson Raised Concerns To Defendants
                  About Production Issues Plaguing The Renton Facility “Months Before
                  the First Crash” ................................................................................................... 111
        G.        By No Later Than February 2019, Defendant Muilenburg Knew About
                  Forkner’s Damning 2016 Text Messages Regarding MCAS Malfunctions ....... 113
        H.        737 MAX Sales And Safety Are Critical To Boeing’s Operations .................... 113
        I.        Boeing Faced Massive Financial Exposure If Simulator Training Were
                  Required For The 737 MAX ............................................................................... 114
        J.        Defendants Repeatedly Attempted To Cover Up Serious Misconduct .............. 115
        K.        Muilenburg And Other Senior Executives Suddenly Departed Boeing ............. 116
VIII.   DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS
        AND OMISSIONS ......................................................................................................... 116

        A.        Defendants’ Materially False And Misleading Representations And
                  Omissions Directly After The Lion Air Crash .................................................... 117
        B.        Defendants’ Materially False And Misleading Statements In The Month
                  After The Lion Air Crash .................................................................................... 119
        C.        Defendants’ Materially False And Misleading Representations From
                  December 2018 Through The Ethiopian Airlines Crash .................................... 123
                            Defendant Muilenburg’s December 7, 2018 CNBC Interview .............. 123
                            Boeing’s January 30, 2019 Earnings Release And Conference Call
                            For The Fourth Quarter of 2018.............................................................. 124
                            Defendant Smith’s February 6, 2019 Session With Cowen And
                            Company ................................................................................................. 127
        D.        Defendants’ False And Misleading Representations And Omissions
                  Directly Following The Ethiopian Airlines Crash .............................................. 129
        E.        Defendants’ Materially False And Misleading Representations And
                  Omissions Throughout The Rest Of The Class Period ....................................... 132
                            Defendants’ Materially False And Misleading Representations And
                            Omissions After The FAA’s Decision To Ground The MAX................ 132
                            Defendants’ False Statements After The Ethiopian Accident
                            Investigation Bureau Report ................................................................... 134
                            Boeing’s First Quarter 2019 Disclosures ................................................ 136




                                                                  v
  Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 7 of 170 PageID #:2865




                             Defendants’ False And Misleading Response To Southwest
                             Airlines’ April 28, 2019 Statements Concerning The AoA
                             Disagree Lights ....................................................................................... 140
                             Defendants’ Materially False And Misleading Representations And
                             Omissions Made During Investor Conferences In May-June 2019 ........ 142
                             Defendants’ Announcements Concerning The Company’s Second
                             Quarter 2019 Results............................................................................... 145
IX.      LOSS CAUSATION ....................................................................................................... 149

X.       PRESUMPTION OF RELIANCE .................................................................................. 152

XI.      INAPPLICABILITY OF THE STATUTORY SAFE HARBOR AND
         BESPEAKS CAUTION DOCTRINE ............................................................................ 153

XII.     CLASS ACTION ALLEGATIONS ............................................................................... 154

XIII.    CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT........................................... 155

         COUNT I FOR VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT
             AND SEC RULE 10b-5 PROMULGATED THEREUNDER (AGAINST
             ALL DEFENDANTS) ........................................................................................ 155
         COUNT II FOR VIOLATIONS OF SECTION 20(a) OF THE EXCHANGE
             ACT (AGAINST THE EXECUTIVE DEFENDANTS) .................................... 158
XIV. PRAYER FOR RELIEF ................................................................................................. 159

XV.      JURY DEMAND ............................................................................................................ 159




                                                                 vi
     Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 8 of 170 PageID #:2866




         Lead Plaintiff Public Employees’ Retirement System of Mississippi (“MissPERS” or

“Lead Plaintiff”) and additional Named Plaintiffs (discussed below in Paragraphs 32-35) bring this

securities class action on behalf of themselves and all other persons or entities who purchased or

otherwise acquired securities of The Boeing Company (“Boeing” or the “Company”) during the

period from November 7, 2018 to December 16, 2019, inclusive (the “Class Period”) and were

damaged thereby (the “Class”).

I.       PRELIMINARY STATEMENT

                This securities class action arises from one of the most horrific scandals in recent

corporate history – Defendants’ misrepresentations regarding Boeing’s 737 MAX airliner. The

story behind the 737 MAX is an American tragedy, an appalling example of cynical decision-

making that valued short-term monetary gain over long-term corporate success and even over

human lives.

                In the years prior to the Class Period, Boeing was concerned about losing market

share to its primary competitor, Airbus SE (“Airbus”), as Airbus’s new A320neo airliner

experienced a wave of commercial success. Boeing responded by rushing the development of its

own “new” aircraft, an updated version of the decades-old Boeing 737 called the 737 MAX.

                Boeing pushed the MAX through design and development at breakneck pace,

cutting corners at every opportunity. The Company put tremendous pressure on its employees to

suppress safety concerns, misled the Federal Aviation Administration (“FAA”), and made

misrepresentations about a powerful software system (“MCAS,” defined below) that could take

control of the MAX and push its nose down if it sensed that the plane had improperly pitched up

and was nearing a stall.

                Consumed by its race with Airbus, Boeing also ignored multiple warnings from its

own employees about a host of dangerous safety issues related to the 737 MAX. As just one
    Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 9 of 170 PageID #:2867




example, in the summer of 2018 a Senior Manager at Boeing – a retired Naval Flight Officer with

more than 30 years of aviation experience – wrote to his supervisors stating that “all my internal

warning bells are going off. And for the first time in my life, I’m sorry to say that I’m hesitant

about putting my family on a Boeing airplane.”1 As discussed in more detail below, internal

documents show that many other Boeing employees were equally frank in expressing their serious

concerns about the MAX’s safety. Unfortunately, Boeing ignored these warnings and rushed the

MAX into service.

               On October 29, 2018, just a little more than four months after that warning, a brand-

new 737 MAX plunged into the Java Sea after takeoff from Jakarta, killing all 189 people aboard.

Two minutes after takeoff and unbeknownst to the pilots, MCAS activated and took over the plane.

Relying on faulty sensor data, MCAS erroneously deemed that the aircraft’s nose was too high

and responded by automatically pushing the plane downward. With alarms blaring in the cockpit,

the captain and his co-pilot desperately wrenched back on their control sticks with an astonishing

100 pounds of force as the plane rose and fell more than 20 times in response to multiple MCAS

activations.

               The plane was gradually forced into a steeper and steeper dive as MCAS activated

repeatedly to override the pilots. One pilot prayed aloud while the other frantically searched the

MAX’s flight manual trying to diagnose the problem. But it was no use – as discussed below,

Boeing had not informed pilots about the existence of the MCAS system, and it was not even

mentioned in the flight manual. Less than twelve minutes after takeoff, Lion Air Flight JT 610

entered a steep dive and crashed into the sea without leaving a single survivor.




1
 All emphasis herein is added unless otherwise indicated. For the Court’s convenience, a glossary
of key terms is attached at Appendix 1.

                                                 2
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 10 of 170 PageID #:2868




               The Class Period for this securities class action begins one week after the Lion Air

Crash. Defendants learned within days that the crash was caused by an erroneous MCAS

activation. Defendants also knew that during the development of the MAX there had been

widespread safety concerns inside Boeing about the inclusion and capabilities of MCAS, as well

as other serious safety issues. They now knew beyond a shadow of a doubt that the 737 MAX had

a catastrophic safety deficiency that under certain conditions could cause the plane to crash with

enormous loss of life.

               Defendants also knew, however, that admitting the truth could lead to a slowdown

in the production and sale of the MAX because pilots would require additional training and the

MCAS system might have to be updated. The delays and bad publicity associated with such an

admission could give Airbus a critical edge over Boeing in the cutthroat competition between the

two companies.

               Rather than disclose the truth, Defendants embarked on an aggressive public

relations campaign to reassure the public and Boeing investors regarding the safety and financial

viability of the MAX. Defendant Dennis Muilenburg (“Muilenburg”), Boeing’s Chief Executive

Officer, told investors that “the bottom line here is the 737 MAX is a very safe airplane and we’re

confident in that,” claiming that the MAX “behave[d] the same way” as older 737 models. When

asked if pilots were told how to address the issues that arose in the Lion Air Crash, Muilenburg

falsely stated it was “part of the training manual. It’s an existing procedure.”

               Defendants also tried to allay investor concerns that safety issues with the MAX

could threaten Boeing’s financial performance and business prospects. On November 7, 2018,

Defendant Gregory D. Smith (“Smith”), Boeing’s Chief Financial Officer, spoke at an investor

conference held at the Four Seasons Hotel in Chicago. He stated that strong demand was “really




                                                 3
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 11 of 170 PageID #:2869




setting us up for 2019, which will predominantly be MAX aircraft.” On November 27, 2018,

Boeing issued another public statement providing “our assurance that the 737 MAX is as safe as

any airplane that has ever flown the skies.”

               These statements and others made by Defendants during the Class Period were

materially false and misleading. The public did not begin to learn the truth until after an equally

horrifying second plane crash just five months after the first. On March 10, 2019, Ethiopian

Airlines Flight ET 302 crashed just after takeoff from Addis Ababa, Ethiopia, killing all 157 people

on board. Defendants knew almost immediately that MCAS was once again at fault.

               Yet again, however, Defendants decided to conceal and suppress the truth. Even

as the FAA and regulators across the globe cited significant safety concerns and grounded the

MAX, Defendants reiterated and reinforced their previous lies. Muilenburg reportedly telephoned

the President of the United States to assure him that the MAX was safe and to try to convince him

to overrule the FAA. Meanwhile, Boeing released several public statements reiterating that the

737 MAX adhered to “the highest levels of safety consistent with industry standards” and that

Defendants “do not have any basis to issue new guidance to operators [pilots].” Defendants also

assured investors that the MAX would be airborne soon, claiming that it was on “the path to final

certification” to be cleared to fly again as soon as April 2019.

               Over the following months, Defendants continued to mislead the market regarding

the safety problems facing the MAX and the anticipated timeline for the plane to return to service.

Inevitably, the tight timeline that Defendants touted in the Spring of 2019 slipped as the FAA

began to dig deeper into the many safety issues that Defendants already knew about (but in many

cases had concealed from the FAA). Given that Defendants knew the gravity of these safety issues

and the extent to which they had been concealed from the public and regulators, their repeated




                                                  4
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 12 of 170 PageID #:2870




assurances that the MAX soon would be certified to resume flight operations were materially

deceptive.

               Defendants’ public statements were so audaciously misleading that Acting FAA

Administrator Daniel Elwell held a private meeting with Defendant Muilenburg in June 2019

where he expressly told Muilenburg “to slow down [Boeing’s] talk of progress” on returning the

MAX to service. Muilenburg agreed in private, stating “You’re right. We’re not going to push.”

Shockingly, just a few days later Muilenburg publicly announced during a conference in Aspen

that Boeing still expected a “summer 2019” (i.e., one to two month) timeframe for the MAX to

return to service. Muilenburg never disclosed his meeting with the FAA.

               In November 2019, after the “summer 2019” timetable had long passed,

Muilenburg had a telephone call with FAA Administrator Stephen Dickson. During the call,

Dickson refused to provide Muilenburg with assurances about when the MAX could return to

service. Undeterred, Boeing promptly announced that the Company could potentially begin

shipping the MAX planes again within a month, sending Boeing’s stock price soaring. This

statement was false, as revealed to the public on the last day of the Class Period, December 16,

2019, when the FAA made it clear that the agency would not act on Boeing’s timeline.

               The troubling story behind the 737 MAX is made even more disturbing by the many

red flags that were raised but ignored during the plane’s development. In 2011, faced with the

rapid success of Airbus’s A320neo, Boeing abandoned plans to develop an entirely new aircraft

and decided to upgrade its decades-old 737 with larger, more fuel-efficient engines. Boeing sought

expedited FAA approval by amending the “type certificate” already approved by the FAA for

Boeing’s original 737 plane more than 55 years earlier.




                                                5
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 13 of 170 PageID #:2871




               Boeing assured its airline customers that the MAX was so similar to older models

of the 737 that it would be a seamless transition to the new planes. This meant that the MAX could

not be materially different to fly than older 737s. In fact, one of the primary directives given to

Boeing engineers was that under no circumstances could the MAX’s systems change in such a

way that it would require any additional flight simulator training for pilots. Simulator training is

expensive and time-consuming, and would cause transition delays and add costs for airlines that

upgraded to the MAX.

               This directive was enforced with vigor inside Boeing. As one of Boeing’s chief

design engineers stated in an internal email, additional pilot simulator training would be a “planet-

killer for the MAX.” In other internal emails, Mark Forkner, who was the Chief Technical Pilot

and primary liaison to the FAA on pilot training for the MAX, responded to a question about

whether the MAX’s technical manual should give guidance to pilots on how to react to a particular

alert. Forkner responded by saying “no” because it could trigger additional training requirements.

Forkner recognized this was a “bad excuse, but what I’m being pressured into complying with.”

               In 2012, wind tunnel and other tests revealed that the weight and location of the

MAX’s new engines caused the plane to aggressively “pitch up” in flight, i.e., point its nose

upward. That, in turn, created aerodynamic instability and increased the risk the aircraft could

stall. While the safest way to fix this was to make structural changes to the airplane, Boeing could

not do that without risking its ability to proceed under the old 737 type certificate.

               Instead, Boeing developed a “band-aid” solution – an automated system called the

Maneuvering Characteristics Augmentation System (“MCAS”).               MCAS is a software “fix”

embedded in the flight control computer and was designed to automatically take over the plane

and point the nose downward if a sensor detected an uncommanded pitch-up.




                                                  6
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 14 of 170 PageID #:2872




               MCAS was recognized internally as an imperfect solution, but it was initially

designed as a restricted system that would only operate in limited conditions and with redundant

safety features. For example, the initial design of MCAS anticipated (i) the installation of an

indicator light so pilots would know if the system was inoperable or defective, (ii) that MCAS

would operate only under narrow conditions and trigger only if signaled to do so by both an “Angle

of Attack” or “AoA” sensor and a g-force sensor, and (iii) that MCAS would have limited authority

to control the pitch of the plane by no more than 0.6 degrees.

               As discussed below in Section IV.B, these initial safety limitations (and others

discussed below) were jettisoned in a series of later revisions to MCAS due to concerns that they

would require additional pilot training or increase the cost of the plane. One of the most

inexcusable changes to the MCAS design was to make it so it could be triggered by only a single

AoA sensor, which is known in the industry as a “single point of failure.” Former Boeing

employees and multiple industry experts have stated they were “shocked” to learn that MCAS had

a single point of failure, referring to the design decision as “nuts” and “flawed” because “a single

point of failure is an absolute no-no.”

               In order to gain FAA approval for MCAS, Boeing used a number of tactics to

pressure, mislead, confuse, and outright deceive the FAA. For example, in a series of text

messages written in November 2016 between Mark Forkner and another Boeing pilot, which were

revealed only in October 2019, Forkner conceded, “so I basically lied to the regulators

(unknowingly).” Despite admitting later in the text-message chain that they would have to update

the FAA, neither Boeing nor Forkner corrected this “lie.” In multiple additional internal emails

and texts, Forkner and other Boeing employees bragged about “Jedi-mind tricking” both regulators

and customers of Boeing, including Lion Air, which was one of the airlines they “made feel stupid




                                                 7
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 15 of 170 PageID #:2873




about trying to require any additional [pilot] training requirements.” Boasting about this, the

employee wrote, “I just jedi mind tricked [these] fools . . . I save this company a sick amount of

$$$$.”

               Internal Boeing documents recently made public (but known to Boeing’s senior

management for more than a year) show that, inside Boeing, employees were candid in expressing

their concerns about the MAX’s safety. For example:

              A February 8, 2018 text-message exchange between Boeing employees:
               “Would you put your family on a MAX simulator trained aircraft? I
               wouldn’t.” The other employee responded, “No.”

              A March 22, 2018 text-message exchange between Boeing employees: “Not
               sure if I will be returning in April given this – am not lying to the FAA.
               Will leave that to people who have no integrity.”

              A May 15, 2018 text-message exchange between Boeing employees: “I still
               haven’t been forgiven by God for the covering up I did last year.”

              A May 18, 2018 text-message exchange between Boeing employees: “I
               have used the words ‘misleading’ and ‘mischaracterization’ a lot over the
               last two years in relation to this [MAX] program.”

              A May 18, 2018 text-message exchange between Boeing employees: “It’s
               such a shit show [] I’ll be shocked if the FAA passes this turd . . . They are
               doing all this last minute shit.”

                The safety issues with the MAX were so egregious that none other than Captain

Chesley “Sully” Sullenberger – an enormously experienced former United States Air Force veteran

and retired commercial pilot – has gone on record stating that the Boeing 737 MAX was a “death

trap” due to a “pernicious and deadly design.” In an October 13, 2019 letter to the editor of The

New York Times Magazine, Sullenberger wrote that “[t]he MCAS design should never have been

approved, not by Boeing, and not by the [FAA].”

               Boeing has been thrown into turmoil as a result of the 737 MAX debacle. It had to

halt production of its 737 MAX aircraft, its senior executives including Defendant Muilenburg



                                                 8
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 16 of 170 PageID #:2874




have been fired, the Securities Exchange Commission (“SEC”) has launched a civil fraud

investigation, and the Department of Justice (“DOJ”) is conducting a criminal investigation.

Shareholders lost billions of dollars because of Defendants’ fraudulent conduct, and they bring

this action to recover for their losses.

II.     JURISDICTION AND VENUE

                The claims asserted in this Complaint arise under Sections 10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)), and SEC Rule 10b-5 promulgated thereunder (17

C.F.R. § 240.10b-5).

                This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1337, and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

                Venue is proper in this Judicial District under 28 U.S.C. § 1391(b), Section 27 of

the Exchange Act, 15 U.S.C. § 78aa(c). Many of the acts alleged herein, including the preparation

and dissemination of materially false and misleading statements, occurred in substantial part in

this District. Additionally, Boeing’s principal place of business is located in this District.

                In connection with the acts alleged in this Complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including but not limited

to the mails, interstate telephone communications, and the facilities of a national securities

exchange.

III.    PARTIES

        A.      Lead Plaintiff

                MissPERS is a pension fund established for the benefit of the current and retired

public employees of the State of Mississippi. MissPERS is responsible for the retirement income

of employees of the state, including current and retired employees of the state’s public school

districts, municipalities, counties, community colleges, state universities, libraries and water


                                                  9
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 17 of 170 PageID #:2875




districts. MissPERS provides benefits to over 75,000 retirees, manages over $33 billion in assets

for its beneficiaries, and is responsible for providing retirement benefits to more than 250,000

current public employees. As set forth in the certification attached to this Complaint as Exhibit A,

MissPERS purchased Boeing common stock during the Class Period and suffered damages as a

result of the violations of the federal securities laws alleged herein.

       B.      Named Plaintiffs

               Plaintiff the City of Warwick Retirement System (“Warwick”) is a Rhode Island

pension fund. As set forth in the certification attached to this Complaint as Exhibit B, Warwick

purchased or otherwise acquired Boeing common stock during the Class Period and was damaged

by Defendants’ conduct as alleged in this Complaint.

               Plaintiff William C. Houser (“Houser”) is an individual investor. As set forth in

the certification attached to this Complaint as Exhibit C, Houser purchased or otherwise acquired

Boeing put and call options during the Class Period and was damaged by Defendants’ conduct as

alleged in this Complaint.

               Plaintiff Bret E. Taggart (“Taggart”) is an individual investor. As forth in the

certification attached to this Complaint as Exhibit D, Taggart purchased or otherwise acquired

Boeing call options during the Class Period and was damaged by Defendants’ conduct as alleged

in this Complaint.

               Plaintiff Robert W. Kegley, Sr. (“Kegley”) is Trustee of the Robert W. Kegley Sr.

Revocable Living Trust U/A DTD 04/16/2003. As set forth in the certification attached to this

Complaint as Exhibit E, Kegley purchased Boeing common stock during the Class Period and was

damaged by Defendants’ conduct as alleged in this Complaint.




                                                  10
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 18 of 170 PageID #:2876




       C.      Defendants

               Defendant The Boeing Company (“Boeing” or the “Company”) is a Delaware

corporation with its headquarters located in Chicago, Illinois. Boeing is the world’s largest

aerospace company and among the largest industrial exporters in the United States.

               Defendant Dennis A. Muilenburg (“Muilenburg”) served as Boeing’s President

from December 2013 to December 2019, Chief Executive Officer from July 2015 to December

2019, and Chairman of the Board from March 2016 to October 2019. On December 23, 2019,

Boeing’s Board of Directors terminated Defendant Muilenburg.

               Defendant Gregory D. Smith (“Smith”) is Boeing’s Chief Financial Officer and

Executive Vice President of Enterprise Performance & Strategy, having held this role since 2011.

Prior to that, Defendant Smith served as Corporate Controller and Vice President of Finance at

Boeing.

               Muilenburg and Smith are collectively referred to herein as the “Executive

Defendants.” The Executive Defendants, because of their high-ranking positions and direct

involvement in the everyday business of Boeing, directly participated in the management of

Boeing’s operations, including its public reporting functions, had the ability to, and did control,

Boeing’s conduct, and were privy to confidential information concerning Boeing and its business,

operations, and financial statements, as alleged herein.

               Boeing and the Executive Defendants together are sometimes collectively referred

to herein as “Defendants.”




                                                11
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 19 of 170 PageID #:2877




IV.     FACTUAL BACKGROUND

        A.      Boeing Rushed The 737 MAX To Market In Order To Compete With Airbus’s
                New Fuel-Efficient A320neo

                1.      Boeing’s Background And Its Duopoly With Airbus

                Boeing was founded in 1916 and expanded over the decades to become the

dominant commercial aircraft manufacturer in the United States. The Company’s narrow-body

737 model commercial jetliner, introduced in 1964, ultimately became the highest selling

commercial aircraft in aviation history. By 2018, Boeing was an industrial powerhouse, reporting

revenues of $101 billion and an operating profit of $12 billion, with its Commercial Airplanes

division responsible for $7.9 billion of that profit.

                In the years leading up to the Class Period, Boeing’s main global competitor in the

commercial aircraft industry was Airbus, a European-based manufacturer of commercial airliners.

Boeing and Airbus each produced one of the most popular commercial passenger jets in the world:

Airbus’s narrow-body plane model A320 and Boeing’s corresponding model 737. Over time,

Airbus’s market share grew and competition between the two manufacturers intensified as they

became a de facto duopoly in the global aircraft manufacturing market. As of 2020, the two

companies together accounted for more than 91% of worldwide commercial jetliner sales.

                2.      Boeing And Airbus Competed To Develop The Next Generation Of
                        Fuel-Efficient Commercial Jetliners

                On December 1, 2010, Airbus announced plans for the A320neo – a revamped

version of the A320 that would be 15%-20% more fuel efficient than the existing version of the

plane. The A320neo was centered around a new engine design, which Airbus claimed would result

in “lower operating costs and up to 500nm (950 km) more range or two tonnes more payload.”

Airbus committed up to $1.5 billion to develop the “new engine option,” called “neo” for short.




                                                  12
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 20 of 170 PageID #:2878




               Airbus’s announcement ended what The New York Times had termed “a war of

nerves [between Boeing and Airbus] over who would announce plans to update their short-range

planes.” Indeed, just days prior to Airbus’s announcement, the Chief Executive of Boeing

Commercial Airplanes, James Albaugh, had told The New York Times that Boeing was likely to

hold off on an engine change for the 737 and instead develop an entirely new aircraft by 2020.

               Boeing’s immediate response to the Airbus announcement was to declare that

Airbus’s decision to upgrade the engines on the A320 (rather than develop a new model) was

misguided. According to reports that emerged years later, on January 14, 2011, Boeing held an

internal “Excellence” meeting where Albaugh criticized Airbus’s decision to retrofit its A320s

with fuel-efficient engines, stating, “It’s going to be a design change that will ripple through the

airplane. I think they will find it more challenging than they think it will be.”

               At the January 14, 2011 “Excellence” meeting, Albaugh confirmed to employees

that, despite the introduction of the A320neo, Boeing would continue with its plans to develop an

entirely new aircraft. Boeing’s then-CEO, W. James McNerney, Jr., similarly told securities

analysts that “our current bias is to move to a newer airplane, an all-new airplane, at the end of

the decade, beginning of next decade. It’s our judgment that our customers will wait for us.”

               3.      As Sales Of Airbus’s A320neo Accelerated, Boeing Abandoned Its
                       Plans To Design A New Aircraft And Decided To Upgrade The
                       Engines On Its 737

               It soon became clear that Boeing had misread the marketplace. By June 11, 2011,

Airbus had booked more than 200 firm orders for the A320neo and had softer commitments for

200 additional purchases. On June 23, 2011, Airbus announced in a press release following the

2011 Paris Air Show that it had received $72.2 billion in orders, setting “a new record for any

commercial aircraft manufacturer at any air show ever.”




                                                 13
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 21 of 170 PageID #:2879




               On July 20, 2011, American Airlines – a loyal Boeing customer for more than a

decade – publicly announced that it had ordered 130 A320neo planes. This was American

Airlines’s first-ever order of commercial airliners from a manufacturer other than Boeing. In the

following weeks, Southwest Airlines, one of Boeing’s most significant customers and an airline

that had exclusively flown Boeing 737s for decades, began a dialogue with Airbus regarding a

potential switch to the A320neo. Reuters reported at the time that “Boeing is seen as likely to go

all-out to keep Southwest, its biggest customer.”

               In response, Boeing abandoned its plans to design an entirely new plane and

decided instead to upgrade the 737 with larger, more fuel-efficient engines. As subsequently

reported in the Washington Post, in a series of meetings in the spring and summer of 2011,

“Boeing’s [B]oard discussed how the company should respond to the threat of a new, more fuel-

efficient line of Airbus jets.” In those meetings several directors worried that designing an entirely

new plane would be too costly and take too much time to bring to market, and “the board talked

about how it would be faster and cheaper to revamp an older version of a Boeing jet.”

               In August 2011, Boeing’s Board of Directors authorized the launch of the 737

MAX – an upgraded 737 with new engines – as a fuel-efficient update to the 737 NG. The

Washington Post later reported that, “[b]efore approving plans for a new jetliner called the 737

Max, Boeing’s board of directors discussed how quickly and cheaply it could be built to compete

with a rival – but the members didn’t ask detailed questions about the airplane’s safety, according

to three people present for the meeting.”

               On August 30, 2011, Boeing officially announced the 737 MAX program. Boeing

promised its customers that the 737 MAX would be produced on a far faster schedule than

Boeing’s previous plan to introduce an entirely new aircraft. On December 13, 2011, Boeing




                                                 14
    Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 22 of 170 PageID #:2880




announced that Southwest had placed the first order for the MAX, agreeing to buy 150 planes for

$19 billion. This was the largest order in Boeing history.

               4.     Boeing Sought Regulatory Approval Of The MAX Under The Old 737
                      Type Certificate And Pressured Employees To Speed The Plane To
                      Market

               By updating the old 737 NG design rather than building an entirely new aircraft,

Boeing was attempting to speed its plane through the regulatory approval process by using a so-

called “amended type certificate.”2      The FAA often grants amended type certificates to

modifications of previously approved aircraft designs. Defendants knew that, if the FAA would

certify the MAX through an amendment to its 55-year-old 737 type certificate, Boeing would be

able to complete the MAX in six years instead of ten. Moreover, updating the 737 NG would be

far cheaper than designing a new plane from scratch, which would allow Boeing to sell the MAX

at a competitive price as it fought to keep business away from Airbus.

               Boeing had an inordinate amount of control over the FAA’s certification process.

Through an FAA program called “Organization Designation Authorization” (“ODA”) – a program

Boeing aggressively lobbied to expand during the MAX’s development – the FAA was allowed to

delegate to aircraft manufacturers much of the work related to certifying compliance with

minimum regulatory standards needed to deliver a plane to market. For instance, Boeing’s ODA

permitted it to manage and make findings related to type certification programs, issue

airworthiness certificates and approvals, determine conformity, approve data for major repairs and

alterations, and approve design changes to products. At a 2015 Congressional hearing, a Boeing

executive bluntly described the ODA program as effectively having an “arm of the F.A.A. within



2
  A “type certificate” is a certification issued by regulators that confirms that an aircraft is
manufactured according to an approved design, and that the design ensures compliance with
airworthiness requirements.

                                                15
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 23 of 170 PageID #:2881




the Boeing Company.” At the time the MAX was certified, Boeing had 1,500 employees in its

ODA program – compared to the FAA’s fewer than 45 employees working on the MAX’s

certification. Pursuant to its ODA, the FAA initially delegated 40% of the 737 MAX certification

projects to Boeing through its ODA. In order to further speed up the certification process, Boeing

continuously pressed the FAA to delegate certification plans originally retained by the FAA.

Ultimately, unbeknownst to investors, Boeing was permitted to certify 96% of its own work on

the MAX, including on critical safety issues.

               Boeing’s most senior executives were required by law to be directly involved in the

submissions to the FAA as part of the certification process for the 737 MAX. On December 18,

2015, Boeing had entered into a settlement with the FAA to resolve thirteen pending FAA

investigations, called “Enforcement Investigative Reports” or “EIRs,” most of which involved

“failures of corrective action” (the “FAA Settlement Agreement”). In addition to requiring Boeing

to pay multimillion dollar fines, the FAA Settlement Agreement mandated the direct involvement

of Boeing “executive-level” management in several key areas of regulatory compliance, including

“safety management” and the completeness of submissions to the FAA.

               5.     Boeing Insisted That The 737 MAX Not Require Any New Flight
                      Simulator Training

               Throughout the ensuing design and production process, Boeing put enormous

pressure on its employees to minimize MAX development time and keep costs down. Engineers,

for instance, were pushed to submit designs and technical work at roughly double the normal pace.

As reported in a June 22, 2019 Seattle Times article, “[a] variety of employees have described

internal pressures to advance the MAX to completion, as Boeing hurried to catch up with the hot-

selling A320 from rival Airbus.” The article quoted Mark Rabin, a Boeing engineer who

performed flight-testing work on the MAX, who said “there was always talk about how delays of



                                                16
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 24 of 170 PageID #:2882




even one day can cost substantial amounts. Meanwhile, staff were expected to stay in line: “‘It

was all about loyalty,’ Rabin said. ‘I had a manager tell me, ‘Don’t rock the boat. You don’t want

to be upsetting executives.’”

               In their rush to get the 737 MAX into production, Boeing senior management

emphasized one mandate above virtually all others: the MAX should require no new simulator

training for 737-trained pilots. This was one of the MAX’s most important selling points because

it allowed Boeing to trade on the 737’s time-tested reputation for safety and reliability. Moreover,

Boeing told airline customers they would save “millions of dollars” and substantial time on pilot

training because (according to Boeing) the MAX was so similar to older 737s, pilots could learn

all they needed to know to fly the MAX via an hour-long take-home iPad course.

               Boeing marketed the 737 MAX to airlines as a “[n]o simulator required plane” from

the very outset of the program, years before the FAA decided what kind of pilot training was

required. Thus, rather than have the plane’s design dictate the manner in which it was marketed,

Boeing had to ensure that the plane’s design and subsequent regulatory approval delivered on the

Company’s aggressive marketing campaign.




                                                17
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 25 of 170 PageID #:2883




Figure 1. Boeing marketing materials circa 2017, titled “Operational Commonality.” Available
at http://www.boeing.com/commercial/737max/by-design#/featured.

              There were also significant economic reasons for Boeing’s insistence on not

requiring any new flight simulator training. Boeing agreed to rebate its customers enormous sums

of money if regulators ultimately determined that the 737 MAX required additional simulator

training. For example, Boeing agreed to rebate Southwest Airlines $1 million per aircraft if

additional simulator training were required. With Southwest ordering 280 planes, any such

requirement would have cost Boeing $280 million from Southwest’s order alone.

              Numerous former Boeing employees have reported that Boeing senior management

– including Keith Leverkuhn, Vice President and General Manager of the MAX Program and

Michael Teal, the 737 MAX Program Manager – pressured the MAX team to ensure that no new

simulator training was required. Employees later interviewed by the Seattle Times stated that the


                                               18
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 26 of 170 PageID #:2884




issue was a “significant point of attention” at upper management levels, including by Leverkuhn

and Teal. According to a March 23, 2019 New York Times article, former Boeing employees,

including Rick Ludtke, an engineer who spent 19 years at the Company and helped design the 737

MAX cockpit, described intense internal pressure to avoid any design changes that might cause

the FAA to lean toward a simulator mandate.

                Ludtke said, “This [737 MAX] program was a much more intense pressure cooker

than I’ve ever been in. The company was trying to avoid costs and trying to contain the level of

change. They wanted the minimum change to simplify the training differences, minimum change

to reduce costs, and to get it done quickly.” Ludtke stated that “[a]ny designs we created could

not drive any new training that required a simulator. That was a first.” Likewise, The New York

Times reported in an April 8, 2019 article that Mike Renzelmann, an engineer who worked on the

MAX’s flight controls, said, “They wanted to A, save money and B, to minimize the certification

and flight-test costs.”

                Internal Boeing documents – later revealed in a document dump to Congress –

corroborate these reports and illustrate the pressure employees faced to ensure that no simulator

training was required. In a July 2014 email chain, one Boeing employee pointed out that guidance

should be given to pilots about how to respond to a certain alert. Mark Forkner, Boeing’s 737

MAX Chief Technical Pilot and primary liaison to the FAA on pilot training for the MAX,

responded that Boeing could not provide additional instructions because doing so might trigger

additional training requirements. Forkner wrote in the email that omitting the instruction was “the

box we’re painted into with the Level B training requirements” (i.e., training not requiring

simulator time). “A bad excuse, but what I’m being pressured into complying with.” In a




                                                19
    Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 27 of 170 PageID #:2885




November 2015 email, Forkner reiterated that “Failure to obtain Level B training . . . is a planet-

killer for the MAX.”

               These pressures continued for years and throughout the entire development of the

737 MAX. Indeed, as late as June 1, 2018, a Boeing employee wrote, “[E]veryone has it in their

head [that] meeting schedule is most important because that’s what Leadership pressures and

messages. All the messages are about meeting schedule, not delivering quality.”

               6.      Boeing’s Culture Of Profits Over Safety

               Consistent with those messages, other Boeing employees have reported that the

Company suffered from a culture that placed profits over safety, leading employees to cut corners

and ignore red flags in the design, certification, and approval of planes.

               On April 23, 2019, The New York Times featured an interview on its podcast (called

the “Daily”) with a former Boeing quality manager who worked at the Company for nearly three

decades and repeatedly raised concerns internally about unsafe conditions at the Charleston, South

Carolina facility where he worked and the planes that facility produced.3 As the podcast explained,

the two 737 MAX crashes and the safety failures that caused them were part and parcel of a

Company-wide focus on the bottom line before any other concerns, confirming what

whistleblower John Barnett, former Boeing quality manager, said were systemic safety problems

at Boeing. The reporters asked, “After two 737 Max jet crashes killed 346 people and a federal

investigation left the company in crisis, we ask: Is something deeper going wrong at the once-

revered manufacturer?”




3
  The Daily is hosted by career New York Times reporter Michael Barbaro, who interviews fellow
New York Times reporters about a single major event each day. By September 2019, the Daily
garnered more than 2 million downloads a day and was carried on over 150 public radio stations
in the United States.

                                                 20
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 28 of 170 PageID #:2886




                 The Daily reporters stated that they “began looking into whether that frenzied pace,

whether those pressures might have had an impact . . . on the factory floor and affect[ed] the people

who are actually building Boeing planes.”

                 In his interview, Barnett recounted production conditions at his Boeing facility that

rendered the Company’s planes unsafe. For example, Barnett said that he “discovered all this

debris [in a plane] . . . debris everywhere,” and “physically showed [my manager] the airplane. I

took pictures, sent him pictures,” but the manager responded by tasking another employee with

inspecting the plane in question. After Barnett refused to sign off on the plane, he “was removed

from it” and the plane “was delivered without being cleaned.” The hosts reported that “[Barnett]

sees [the] pressure for speed resulting in all of this sloppiness.” Barnett further described situations

where defective parts were first misplaced then used in planes to be sold. As Barnett told The New

York Times, “[T]here is an incentive not to report your defect that you created, because it’s going

to be held against you.”

                 A November 6, 2019 BBC News article likewise discussed Barnett’s alarming

concerns about Boeing’s profits-driven corporate culture, which Barnett explained was “all about

speed, cost-cutting and bean count [planes sold],” and the Company’s managers “are not concerned

about safety, just meeting schedule.” BBC News further reported that, after the Ethiopian Airlines

Crash, four other Boeing employees contacted an FAA hotline to report similar concerns.

Moreover, BBC News reported that “another former engineer, Adam Dickson, who was involved

with the development of the 737 MAX at Boeing’s Renton factory,” recounted “a drive to keep

the aeroplanes moving through the factory. There were often pressures to keep production levels

up. My team constantly fought the factory on processes and quality. And our senior managers

were no help.”




                                                  21
    Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 29 of 170 PageID #:2887




         B.     Boeing Learned That The MAX Had An Inherent Aerodynamic Instability
                And Installed A Software “Fix” To Paper Over The Problem

                1.      Boeing’s Initial Tests Revealed That The MAX’s New Engines Caused
                        The Plane’s Nose To Pitch Upward In Flight

                From the earliest days of the MAX program, Boeing’s senior executives knew that

retrofitting its existing, half-century old 737 airframe with the bigger engines required to match

the A320neo’s fuel efficiency would fundamentally change the aerodynamic and operational

performance of the aircraft. In 2012, tests conducted at Boeing’s Seattle facility revealed that the

new engines generated inherent aerodynamic instability in the aircraft – specifically, a propensity

to abnormally pitch-up in flight, creating a risk that the plane would undergo a “stall,” i.e., a loss

of lift due to an excessive angle of attack, and crash.4

                One reason the MAX’s new engines caused this pitch-up problem is because they

were significantly larger than the engines on other Boeing 737 models. The larger and hotter a jet

engine is, the more efficient it becomes and the less fuel it requires to operate. Indeed, anyone

who has traveled on commercial flights over the past couple of decades has probably observed the

trend in the airline industry of engines getting larger and, consequently, hanging closer to the

ground than they did before. The CFM International LEAP engines that Boeing installed on the

MAX were enormous – and therefore incredibly fuel efficient.

                They were so large, however, that they could not hang under the wing in the same

position as previous 737 models. The engines simply did not have enough ground clearance in

that position. The solution was to extend the engine upwards and place it well forward of the wing.




4
  “Angle of attack” is the angle between the aircraft and oncoming airflow. An aircraft’s lift varies
with changes in its angle of attack. Increasing the angle of attack increases the aircraft’s lift, until
the aircraft reaches a “critical angle of attack.” When the aircraft exceeds this critical angle of
attack, lift decreases and the aircraft stalls.

                                                  22
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 30 of 170 PageID #:2888




This changed the centerline of the engine’s thrust, and when the pilots applied power to the engine,

the MAX had a strong tendency to “pitch up.”

               While this problem exists to some degree in many types of aircraft, in the MAX the

size and position of the engines made it far worse. Astonishingly, at high “angles of attack,” when

the nose of the plane was pointed towards the sky, the engines themselves began to work like a

wing and provided additional lift, forcing the airplane into an even higher angle of attack. As one

pilot described it, pitch changes with increasing angles of attack create “dynamic instability,” and

the only airplanes that exhibit that characteristic are fighter jets, which “are also fitted with

ejection seats.”




Figure 2. Relocation of the MAX’s engines below the aircraft’s center of gravity created pitch-
up force that could exceed the counterbalancing force from the tail, causing instability. A nose-
up attitude generates force that raises the nose still higher, creating the risk of a stall and crash.

               Boeing’s 2012 testing also revealed that the pitch-up tendency of the MAX created

another problem: the force pilots felt in the control column as they executed certain high-speed

maneuvers would not smoothly and continuously increase. Pilots who pull back forcefully on the

column, or “stick,” might suddenly feel a slackening of resistance. This condition violated FAA

airworthiness regulations, which require that planes handle with smoothly changing stick forces.




                                                 23
    Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 31 of 170 PageID #:2889




Thus, unless Boeing found a way to address the MAX’s pitch-up tendencies, the success of the

MAX project would be in jeopardy.

               The most reliable way to fix this problem would have been to make structural

changes to the MAX’s airframe, such as enlarging the tail surface to restore static stability.

Structural changes, however, would have jeopardized Boeing’s ability to include the MAX under

the old 737-type amended certificate. The delays and increased costs associated with such a

solution were unacceptable to Boeing senior management.

               2.      The MCAS Automated Flight Control System: Boeing’s “Band-Aid”
                       Solution To The Pitch Problem

               Boeing developed a stop-gap solution: an automated system called the

Maneuvering Characteristics Augmentation System, or “MCAS.” MCAS is a software “fix” that

Boeing embedded into the plane’s flight control systems. MCAS was part of the design of one

other Boeing plane that was under development (but not yet operational) in 2012, the KC-46

Pegasus – a highly specialized military aerial refueling tanker primarily flown by the United States

Air Force.

               On the KC-46 Pegasus, the MCAS design used two external sensors, called AoA

sensors, to measure the plane’s angle of attack. If the sensors showed that the nose of the plane

had pitched up to a certain level without a corresponding command by the pilot, MCAS would

automatically engage and rotate the plane’s horizontal stabilizer upward.5 This, in turn, would

pitch the plane’s nose down in order to avoid a stall. The MCAS operated automatically without

pilot input and was given full authority to lower the MAX’s nose.




5
 The “horizontal stabilizer” is a fixed-wing element in the aircraft’s tail that prevents up-and-
down, or pitching, motion of the aircraft nose.

                                                24
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 32 of 170 PageID #:2890




                The MCAS on the MAX was originally designed to operate in similar fashion to

the KC-46. Given MCAS’s importance to the MAX’s operational performance, and the fact that

it could in certain instances override pilot control, Boeing included a number of significant safety

features, redundancies, and fail-safes in its initial designs of the system. For example:

            Indicator Light. Boeing’s November 8, 2012 MCAS Preliminary Design Decision
             Memo included an indicator light for failure of the MCAS flight control system that
             would appear in the pilot’s flight control panel.

            Limited Operating Conditions. MCAS was initially supposed to operate under
             narrow conditions, triggering only when distinct and independent sensors indicated that
             the plane had exceeded separate AoA and g-force thresholds and was near stall. The
             g-force thresholds were included because MCAS was designed to operate only at high
             speeds.

            Limited Ability. MCAS was initially designed to trim the plane’s horizontal stabilizer
             by no more than 0.6 degrees – a limit embedded in Boeing’s safety review submitted
             to the FAA. Similarly, in a presentation made for foreign safety regulators, Boeing
             described MCAS as providing “a nose down command to oppose the pitch up.
             Command is limited to 0.6 degrees from trimmed position.”

                In short, MCAS was recognized as a less-than-perfect solution to the MAX’s pitch-

up problem, but it was initially designed to be a restricted system that had redundant safety features

and would operate only in limited circumstances.

        C.      Boeing Knowingly Or Recklessly Ignored Multiple Safety Failings With The
                MCAS Design

                In pursuit of Boeing’s ultimate goal to get the MAX to market without requiring

additional pilot training, Boeing quickly disregarded these planned safeguards for the MCAS.

Boeing fundamentally altered the design of the MCAS, undermined the ultimate safety of the

model, and ignored substantial evidence showing that, as a result, the MCAS operated in an unsafe

manner. Specifically, as discussed further below, Boeing intentionally, among other things:

       Discarded the two-sensor trigger requirement, instead relying on a single AOA sensor to
        trigger MCAS, with no failsafe, in defiance of industry norms, regulations, Boeing’s own
        historical practices, and the internal warnings of Boeing personnel;



                                                 25
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 33 of 170 PageID #:2891




       Ignored the fact that, as it learned in August 2017, the “AoA Disagree Light” – which
        indicates if the AoA sensors are malfunctioning – was non-operable on most 737 MAX
        airplanes;

       Secretly expanded the MCAS’s operating conditions to allow it to seize control over the
        plane in both low- and high-speed environments;

       Secretly expanded the MCAS’s authority to move the plane’s tail by more than 300%;

       “Jedi-Mind Tricked” regulators into deleting references to the MCAS in the flight
        operating manuals; and

       Removed an indicator light for MCAS failure from the plane’s original design to avoid
        any further pilot training requirements.

              The significant design changes and novel, untested features Boeing implemented

in the MAX, including the MCAS, fundamentally belied Defendants’ repeated assertions that the

MAX had “operational commonality” with other 737 models. Indeed, at an October 30, 2019

hearing, Congressman Rob Woodall summarized an FAA official’s warnings in a post-Class

Period Department of Transportation Inspector General report, that “the 737 MAX is not a simple

derivative of its previous models. It is a very complex modification and incorporat[es] many new

and novel features.”

              Captain “Sully” Sullenberger characterized the final version of MCAS, which

incorporated the changes described above, as a “death trap.” In an October 13, 2019 letter to the

editor of The New York Times Magazine, Sullenberger said that he is “one of the few who have

flown a Boeing 737 MAX Level D full motion simulator” and that “[t]he MCAS design should

never have been approved, not by Boeing, and not by the [FAA].”

                       MCAS’s Use Of A Single Point Of Failure Was Contrary To Boeing’s
                       Own Standards And Industry Practice

              As noted above, MCAS could be activated by data from a single AoA sensor. An

AoA sensor is essentially the mechanical equivalent of sticking your hand out a car door window

and rotating it in the wind. Any commercial airline traveler may have noticed the AoA sensors


                                               26
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 34 of 170 PageID #:2892




when boarding a plane. There are usually two of them on either side of the plane and just below

the pilot’s windows. They look like wind vanes because that is exactly what they are – wind vanes

that rotate in response to changes in the angle of attack.

               Although there were two available AoA sensors on the 737 MAX, Boeing designed

the final version of MCAS to draw data from only one sensor. As discussed below, this “single

point of failure” was highly dangerous and contrary to industry practice. It meant that a single

malfunctioning sensor could erroneously trigger MCAS, cause the system to pitch the MAX’s nose

downward, and force the aircraft into a dive.

               Boeing engineers have confirmed that the Company allowed MCAS to rely on a

single AoA sensor because using two sensors would have required the installation of additional

alerts and potentially required flight simulator training. A March 26, 2019 Seattle Times article

citing Boeing engineer Rick Ludtke stated

       that if the group had built the MCAS in a way that would depend on two sensors,
       and would shut the system off if one fails, he thinks the company would have
       needed to install an alert in the cockpit to make the pilots aware that the safety
       system was off. And if that happens, Ludtke said, the pilots would potentially need
       training on the new alert and the underlying system. That could mean simulator
       time, which was off the table.

               The sole AoA sensor used by MCAS was located in the vulnerable nose of the

aircraft, where it was exposed to damage from jetbridges, ground equipment, and birds. Moreover,

as Boeing knew, AoA sensors had a history of failure and malfunction. Between 2004 and the

start of the Class Period, more than 200 events involving AoA sensor damage or malfunction had

been reported to the FAA. For this reason, Airbus, which considers AoA sensors to be “safety

critical,” installed three sensors on the A320neo.




                                                 27
    Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 35 of 170 PageID #:2893




Figure 3. MCAS collected angle of attack data from just one of two available AoA sensors. If
that single sensor indicated the plane’s AoA was too high, MCAS would activate and rotate the
MAX’s horizontal stabilizer to force the plane’s nose down.
                       a.     A Single Point Of Failure Violated Boeing’s Policies, Its
                              Historical Practice, And Industry Standards

               Boeing’s failure to build redundancies into MCAS violated Boeing’s own design

policies. As stated in the report of the Joint Authorities Technical Review Board (“JATR”) dated

October 11, 2019, (the “Joint Report”), “[t]he use of pilot action as a primary mitigation means for

MCAS hazards, before considering eliminating such hazards or providing design features or

warnings to mitigate them, is not in accordance with Boeing’s process instructions for safe design

in the conception of MCAS for the B737 MAX.”6

               Indeed, as noted above, Boeing had previously implemented a version of MCAS

on a military aerial refueling tanker it had developed years earlier called the KC-46 Pegasus. While




6
  The Joint Report was prepared for the FAA by a team compromising of technical representatives
from the FAA, National Aeronautics and Space Administration (NASA), and civil aviation
authorities from Australia, Brazil, Canada, China, Europe, Indonesia, Japan, Singapore, and the
United Arab Emirates.

                                                28
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 36 of 170 PageID #:2894




Boeing used the tanker to present MCAS as an existing technology to the FAA (and therefore not

requiring close agency involvement in testing and certification), the version of MCAS installed on

the KC-46 had redundancies and safety features inexplicably absent from the MAX. In particular,

the MCAS installed on the KC-46 relies on both available AoA sensors and compares readings

from each. In addition, pilots can override the MCAS installed on KC-46 simply by pulling on

the controls the same as with all non-MAX Boeing aircrafts; on the MAX, by contrast, MCAS

remains active even if pilots pull on the controls and will repeatedly activate over and over again,

pushing the plane’s nose down with each activation.

                Industry experts have likewise concluded that MCAS’s reliance on only one of two

available sensors ran contrary to standard industry practice. Aeronautical engineer Bjorn Fehrm

told The New York Times in a March 29, 2019 article that this vulnerability was “not a good

engineering system. . . . That’s where they screwed up royally.” A March 27, 2019 Wall Street

Journal article reported: “Safety experts, pilots and some former Boeing engineers say it is rare

for aircraft to rely on just one sensor for almost any system whose failure could cause a crash.”

                As reported in the Seattle Times on March 27, 2019, “Peter Seiler, a professor at

the University of Minnesota who previously worked on the flight-control electronics for the

Boeing 787 aircraft, said it would be highly unusual to have a safety-critical system dependent on

a single sensor. ‘It’s a huge part of the design. It’s a huge part of the certification process,’ Seiler

said.” As Boeing’s Vice President of Product Development Mike Sinnett admitted at a November

27, 2018 meeting with American Airlines pilots, MCAS was indeed “flight-critical software.”

                Boeing’s own personnel were “shocked” to learn that the system was susceptible

to a single point of failure and acknowledged that this design violated core safety principles. A

June 1, 2019 New York Times article reported that numerous current and former Boeing employees




                                                  29
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 37 of 170 PageID #:2895




“said that after the first crash, they were stunned to discover MCAS relied on a single sensor.

‘That’s nuts,’ said an engineer who helped design MCAS. ‘I’m shocked,’ said a safety analyst

who scrutinized it.”

               A March 26, 2019 Seattle Times article similarly reported that “some of the people

who have worked on Boeing’s new 737 MAX airplane were baffled to learn that the company had

designed an automated safety system that abandoned the principles of component redundancy,

ultimately entrusting the automated decision-making to just one sensor.” The article quoted a

“former Boeing engineer who worked on the MAX,” who said, “‘A single point of failure is an

absolute no-no. . . . That is just a huge system engineering oversight.’”

                       b.     Boeing’s Employees Warned Of The Dangers Of A Single
                              Point Of Failure

               As early as 2014, senior Boeing engineers were concerned about the possibility that

erroneous AoA data might compromise the plane’s safety unless appropriate redundancies were

introduced. In 2014, Boeing’s Chief Test Pilot, Ray Craig, along with senior Boeing engineer

Curtis Ewbank, urged implementation of a backup system that would introduce redundancies,

called “synthetic airspeed.” This backup system could detect when the AoA sensors, were

malfunctioning and prevent other systems, including MCAS, from relying on that faulty

information.

               According to an ethics complaint Ewbank filed with Boeing, however, the

Company decided not to pursue the proposed safety redundancy because of its potential cost and

fears that it would trigger training requirements for pilots. Ewbank’s complaint stated that Boeing

senior executives twice rejected adding a new safety system on the basis of “cost and potential

(pilot) training impact.” When Ewbank’s group raised these safety features a third time in a




                                                30
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 38 of 170 PageID #:2896




meeting with the 737 MAX Program Manager, Michael Teal, Teal cited the same objections as he

killed the proposal.

               A February 26, 2013 internal Boeing email (made public in January 2020) confirms

Ewbank’s allegations and shows that a proposal to include synthetic airspeed was rejected because

“it would likely jeopardize the Program directive to maintain Level B [i.e., non-simulator-based]

training for our customers.”

               Again in 2015, Boeing engineers expressed concern that MCAS’s reliance on a

single AoA sensor created safety risks. On December 17, 2015, a Boeing engineer wrote an email

asking, “Are we vulnerable to single AOA sensor failures with the MCAS implementation or is

there some checking that occurs?” Once again, Boeing ignored these concerns.

                       c.      Boeing Submitted A Specious “Functional Hazard Analysis”
                               To Regulators In An Effort To Justify Its Use Of A Single
                               Point Of Failure

               The FAA required Boeing to perform a “hazard assessment” to gauge the risk posed

by an MCAS failure. Pursuant to the regulatory framework governing hazard assessments,

including 14 C.F.R. § 25.1309 and AC 25.1309-1, the more severe a hazard resulting from system

or equipment failure, the less likely it must be to occur. The severity of a failure is graded on a

scale of increasing severity from “minor,” “major,” “hazardous,” to “catastrophic.”

               The FAA defines the applicable failure conditions as follows:

       Minor Failure Condition. A “minor” failure “would not significantly reduce airplane
        safety, and [would] involve crew actions that are well within their capabilities,” such as a
        change in flight plan. The FAA requires that the probability of a minor failure occurring
        can be “Probable,” or anything more likely than one in one hundred thousand (i.e., 10-5).

       Major Failure Condition. A “major” failure is one that “would reduce the capability of
        the airplane or the ability of the crew to cope with adverse operating conditions.” A major
        failure could result in discomfort to passengers and crew and possibly injuries, though it
        is not expected to cause fatalities. The FAA requires that the probability of a major failure
        occurring must be “Remote,” or less likely than one in one hundred thousand (i.e., 10-5).



                                                31
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 39 of 170 PageID #:2897




       Hazardous Failure Condition. A “hazardous” failure creates “physical distress or higher
        workload such that the flightcrew cannot be relied upon to perform their tasks accurately.”
        A hazardous failure could be expected to cause “serious or fatal injury to a relatively small
        number of the occupants.” The FAA requires that the probability of a hazardous failure
        occurring must be “Extremely Remote,” or less likely than one in 10 million (i.e., 10-7).

       Catastrophic Failure Condition. A “catastrophic” failure is one that is expected to result
        in multiple fatalities, and usually with the loss of the entire airplane. The FAA requires
        that the probability of a catastrophic failure occurring to be “Extremely Improbable,” or
        less likely than one in a billion (i.e., 10-9). An Extremely Improbable failure condition is
        considered so unlikely to occur that it is not expected to happen during the entire
        operational life of all airplanes of a single design.

               The FAA requires any aircraft receiving an assessment of “hazardous” or

“catastrophic” failure condition to have multiple redundancies on its safety systems. With respect

to the MAX, such a finding would prohibit the use of a single point of failure such as just one AoA

sensor, and would result in additional pilot training being necessary. (Though for the reasons

discussed above, industry standards prohibited MCAS’s reliance on a single AoA sensor,

irrespective of the outcome of any AC 25.1309-1 hazard assessment.) With its focus on saving

money and eliminating any additional training requirements, Boeing manipulated the assumptions

underlying the hazard analysis in order to obtain a “minor” or “major” rating for MCAS.

                                  i. Boeing Used Multiple False Assumptions To Conduct
                                     Its Functional Hazard Analysis

               The Functional Hazard Analysis that Boeing submitted to the FAA classified a

potential failure of MCAS as a “major failure,” for which a single sensor trigger was acceptable.

This classification was false. According to independent consultant Peter Lemme, a former Boeing

flight-controls engineer, “The combination of air data, stall warning and MCAS persistent

malfunction should have been declared CATASTROPHIC,” receiving the most severe hazard

categorization. Similarly, the Joint Report concluded that Boeing followed an approach and

employed assumptions that were “not [] standard [in the] industry” to determine that an MCAS

malfunction was classified no higher than a “major failure.”


                                                32
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 40 of 170 PageID #:2898




               As an initial matter, Boeing assumed that if MCAS activated erroneously, pilots

would recognize it and correct it in less than four seconds. Boeing made this assumption even

though the Company never mentioned MCAS in the flight manual, did not train pilots on how to

respond to it, and never even told pilots it existed.

               Boeing’s June 11, 2018 MCAS “Coordination Sheet” described a typical reaction

time “with pilot training” to be approximately four seconds. As the Coordination Sheet stated,

even this was a “hazardous” condition when the plane was flying in certain conditions, particularly

at higher speeds and g-forces.

               Moreover, Boeing knew that if a pilot reacted with just a six-second delay from

optimal response time and failed to override the MCAS within 10 seconds, “the failure [would]

be catastrophic due to the inability to arrest the airplane overspeed.” In other words, the plane

would be cast into a fatal dive that would likely result in a crash and multiple fatalities.




Figure 4. Boeing’s June 8, 2011 MCAS “Coordination Sheet” showed that an erroneous MCAS
activation would be “catastrophic” if pilots took more than 10 seconds to counteract it.




                                                  33
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 41 of 170 PageID #:2899




               Boeing’s four-second estimate relied on a series of “assumptions” that were entirely

unmoored from the reality of the MCAS design. Boeing purported to assume that pilots in the 737

MAX planes would react as quickly to an erroneous MCAS activation as they did in older 737

planes in response to erroneous activations of those planes’ – much more limited and widely

known – automatic trim control systems. Boeing knew or should have known that was not a

reasonable assumption. On the older planes – indeed, on every Boeing airplane ever manufactured

other than the MAX – a pilot could disable any automatic flight system simply by pulling back on

the plane’s column.

               The MAX did not work this way. Instead, to resume control of the MAX, the pilot

had to execute a series of complicated steps that were not disclosed in the flight manual. Under

certain circumstances, even if the pilot followed all these steps he or she would still not be able to

resume manual control of the plane.

               Boeing’s Functional Hazard Analysis first assumed that the pilot would locate and

activate two stabilizer “cutout” or “kill” switches to shut off automated trim control and engage

the plane’s trim control (i.e., a wheel that manually controls the plane’s horizontal stabilizer).

               The pilot would have to understand that the two cut-off switches operated

differently than the cut-off switches on earlier 737 models. On previous aircraft, one switch would

deactivate the electronic control over the horizontal stabilizer; the other disabled automated control

over the stabilizer in the tail. This allowed pilots to flip one cut-off switch to cease automated

systems and resume manual control, but still have the assistance of an electric motor to physically

move the stabilizer. On the MAX, by contrast, both switches cut off all electric power to the

stabilizer, both from the yoke buttons and from any automated systems such as the MCAS.




                                                 34
    Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 42 of 170 PageID #:2900




               With all electric power to the stabilizer cut, pilots would have to use the mechanical

trim wheel in the center console. In many situations, it was simply impossible for pilots to

overcome the aerodynamic forces working on the airplane to physically hand crank the trim wheel.

At the high speeds that could be induced by an MCAS activation sending the plane into a dive, an

enormous amount of force was needed to manually pull up the nose of the aircraft. In these

circumstances, it could become physically impossible to turn the trim wheel. As discussed in more

detail below, this is precisely what happened in the Ethiopian Airlines Crash.7




Figure 5. Boeing’s hazard assessment assumed that, in response to an MCAS malfunction, pilots
would perform multiple tasks, like those above, never previously required in any other Boeing
plane, in under three seconds.

               As former Boeing engineer Lemme explained in a March 29, 2019 Reuters article,

“In the scenario where the stabilizer is running away nose down, the pilot may only fixate on




7
 A video prepared by a current pilot illustrating this issue may be found at
https://www.youtube.com/watch?v=aoNOVlxJmow.

                                                35
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 43 of 170 PageID #:2901




pulling the column back in response[.] They may not be mentally capable to trim back or cutout

the trim – instead they just keep pulling.”

                Boeing’s analysis also ignored the impact that the cacophony of flight deck alerts

– including airspeed, altitude, and “stick shaker” failure alerts, and a computerized voice repeating

“Don’t sink! Don’t sink!” – would have on pilots’ ability to react to the malfunction of a system

they did not even know existed. As the Wall Street Journal reported in a March 27, 2019 article,

“[n]umerous pilots and safety experts . . . said that in practice, amid the chaos of an aircraft lurching

into a steep dive with emergency warnings blaring, it is unrealistic to expect pilots to recognize

what is happening and respond almost instantaneously.”

                The Joint Report pointed out that Boeing’s analysis was completely detached from

the real cockpit conditions created by both Boeing’s design and its failure to fully inform pilots

about MCAS:

        When all flight deck effects are considered, the introduction of the MCAS function
        invalidated aircraft-level assumptions for flight crew responses related to erroneous
        AOA failures under certain conditions. A complete workload assessment was not
        performed for validation of the erroneous AOA effects with the added MCAS
        functionality. The same assumptions for flight crew responses to erroneous AOA
        were carried over from previous programs without formal validation.

                The failure to perform such an analysis ran contrary to the regulatory requirements

of 14 CFR § 25.1302, which calls for an applicant to show that aircraft systems are “designed so

that qualified flightcrew members trained in their use can safely perform all of the tasks associated

with the systems’ and equipment’s intended functions.” In other words, Boeing was required to

demonstrate that pilots could counter an erroneous MCAS activation under the cockpit conditions

that would actually exist in real life. The Joint Report further states that while “MCAS was not

assessed” for compliance with Section 25.1302, Boeing’s MAX type certificate data sheet falsely

indicates that Section 25.1302 was “applied to the entire aircraft.”



                                                   36
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 44 of 170 PageID #:2902




               The NTSB report concluded “that the assumptions that Boeing used in its functional

hazard assessment of uncommanded MCAS function for the 737 MAX did not adequately

consider and account for the impact that multiple flight deck alerts and indications could have

on pilots’ responses to the hazard.”

               Finally, Boeing’s analysis ignored the fact that even if the manual/electric trim

command stopped a single MCAS misfire, a faulty AoA sensor would cause MCAS to “wake up”

again five seconds later and start the process all over again. Boeing knew that the MCAS would

fire repeatedly, trimming the plane on each erroneous activation. Nevertheless, Boeing’s hazard

analysis assumed MCAS would misfire only once, achieving a maximum trim of 0.6 degrees in

all cases. The Joint Report summarizes Boeing’s unwarranted assumptions: “Boeing concluded

that multiple erroneous MCAS activations were not worse than a single erroneous activation, based

on the assumption that the crew would return the aircraft to a trimmed state . . . following each

activation.”

                          ii. Even With False Assumptions, MCAS Failed The Functional
                              Hazard Analysis, So Boeing Concocted An Impermissible
                              “Risk Discount”

               Astonishingly, even applying Boeing’s absurd and impermissible assumptions,

Boeing’s hazard assessment was still forced to conclude that an MCAS malfunction was a

“hazardous failure” under certain conditions. Specifically, Boeing calculated that on a normal

flight, if MCAS erroneously activated, it would be corrected quickly and the associated risk was

classified as a “major failure.” However, during more strenuous flight operations – such as a

“windup turn” – an erroneous activation of the MCAS was deemed a “hazardous failure,” which

under FAA regulations would require at least two redundant sensors.

               To avoid this result, Boeing concocted a wholly unwarranted method to downgrade

its hazard calculation. Boeing determined that the chance the MAX would leave the normal flight


                                               37
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 45 of 170 PageID #:2903




envelope and enter the operational flight envelope (more strenuous flight operations) was one in a

thousand (i.e., 10-3). Boeing then used this as a discount rate to discount the MCAS failure rates

that would occur in the operational flight envelope. With this logical leap, Boeing downgraded

the MCAS malfunction rate in the operational flight envelope from 10-7 to 10-4.

               The Joint Report pointed out that this sleight of hand had no basis in applicable

regulations and contravened standard industry practice. “A probability of 1E-3 for the aircraft in

the operational flight envelope (OFE) was used in combination with the probability of the system

failure to achieve the 1E-7 minimum probability required for the ‘hazardous’ MCAS failure

condition. Use of AC 25-7C [i.e., the probability the aircraft is in the operational flight envelope]

is not a standard industry approach for § 25.1309 compliance.”

               2.      In November 2016, The MAX’s Chief Test Pilot Identified That
                       MCAS Was “Running Rampant” And That The Situation Was
                       “Egregious”

               On November 16, 2016, the 737 MAX’s Chief Technical Pilot, Mark Forkner, sent

text messages to then-program Technical Pilot, Patrik Gustavsson, identifying the same hazardous

conditions caused by MCAS that were responsible for both fatal crashes. In the text messages,

Forkner told Gustavsson that, contrary to his previous statements to the FAA, MCAS was active

at low speed and low Mach conditions (“M.2”) well within the normal flight envelope. He stated

that the system was “running rampant” and causing the plane to “trim[] itself like crazy.” Forkner

characterized MCAS’s erratic and unsafe performance as “egregious”:

       Oh shocker alerT! MCAS is now active down to M .2. It’s running rampant in the
       sim on me. . . . I’m levelling off at like 4000 ft 230 knots and the plane is trimming
       itself like crazy. I’m like WHAT? . . . . Granted, I suck at flying, but even this was
       egregious.

               Gustavsson replied that he had observed the MAX exhibit the same “egregious”

behavior, “but on approach.”



                                                 38
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 46 of 170 PageID #:2904




               As part of the text-message exchange, Forkner also acknowledged that because

MCAS was active at low speeds, his prior statements to the FAA that the system “only operates

WAY outside of the normal operating envelope” were false. Forkner admitted, “so I basically lied

to the regulators (unknowingly).” Gustavsson replied that Boeing would have to update the

description of the system provided to the FAA: “Oh great, that means we have to update the speed

trim description in vol 2.”

               Boeing, however, never updated the MAX’s key safety documents and wholly

failed to inform FAA personnel of the significant changes made to MCAS or their dangerous

impact on the aircraft’s operation. Instead, the internal culture at Boeing prioritized speed and

profits over safety yet again. Former Boeing engineer Ludtke, who designed the MAX cockpit,

told The New York Times in a June 1, 2019 article, “The pressure on us . . . was huge. And that all

got funneled through Mark [Forkner]. . . . And the pushback and resistance from the F.A.A. got

funneled through Mark.” A June 22, 2019 Seattle Times article further reported that Forkner was

“frequently anxious about the deadlines . . . going to some of his peers in the piloting world for

help.” In fact, as the Wall Street Journal reported in an October 23, 2019 article, “According to a

fellow pilot who worked closely with Mr. Forkner at Boeing, Mr. Forkner repeatedly indicated

to this ex-colleague that he feared losing his job if the FAA rejected Boeing’s arguments to

minimize training.”

               The Joint Report makes clear that the pressure Forkner faced was no anomaly, but

a function of Boeing’s widespread “cultural” issues. The report found “signs of undue pressure

on” Boeing employees “performing [FAA-] delegated functions, which may be attributed to

conflicting priorities and an environment that does not support FAA requirements.”




                                                39
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 47 of 170 PageID #:2905




               Boeing continued to press the FAA to remove all references to MCAS from the

MAX’s pilot training. In a mid-January 2017 email, written just two months after observing

MCAS’s “egregious” behavior, Forkner himself asked the FAA to approve two changes to the

“difference training” that pilots were to undergo in order to move from flying the prior 737 model

to the MAX. The first was to delete a reference to MCAS. Forkner reminded the FAA official

with whom he was corresponding, “[W]e decided we weren’t going to cover it” in the flight manual

and training course.

               Ultimately, Boeing misled the FAA into approving just one hour of pilot training

through an iPad about the differences between the MAX and the previous 737 generation. MCAS

was not mentioned.

               3.      In August 2017, Boeing Learned That A Critical Safety Alert
                       Warning Of Faulty AoA Sensors Was Not Operational On Most Of
                       The MAX Fleet

               According to the aircraft design approved by the FAA, when one of the MAX’s

two AoA sensors malfunctioned and registered a significant disagreement with the other, the

message “AOA DISAGREE” was supposed to appear on the plane’s primary flight display.

Because a single faulty AoA sensor could, and ultimately did, erroneously trigger MCAS, the

Disagree Alert was a critical safety feature. As aeronautical engineer Bjorn Fehrm explained, AoA

Disagree Alerts are “critical, and cost almost nothing for the airlines to install.”

               Boeing represented in the MAX’s certification documents that the AoA Disagree

Alert was to be a standard, non-optional feature on the aircraft. Indeed, the AoA Disagree Alert

had been a standard feature on prior 737 models.

               As then-Acting Administrator of the FAA, Daniel Elwell stated in a July 11, 2019

letter to the House Committee on Transportation and Infrastructure, the AoA Disagree Alert was




                                                  40
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 48 of 170 PageID #:2906




part of the approved MAX design, and FAA regulations required the AoA Disagree Alert to be

installed on every delivered airplane.

               Boeing knew no later than August 2017 that the AoA Disagree Alert was not

operational on the MAX unless optional “AoA indicator” software was purchased and installed on

the aircraft’s flight computers. As Boeing ultimately admitted:

       The disagree alert was intended to be a standard, stand-alone feature on MAX
       airplanes. However, the disagree alert was not operable on all airplanes because
       the feature was not activated as intended.

               To avoid compromising its ambitious production schedule and disrupting delivery

of its lucrative plane to customers, Boeing decided it would wait until 2020 to introduce new

software to fix this dangerous defect. Astonishingly, Boeing failed to inform the FAA that the

aircraft did not conform to the approved design. As a result, at the time of the Lion Air Crash, the

AoA Disagree Alert was inoperable on 80% of the MAX airplanes Boeing delivered to

customers, despite the fact that Boeing’s design requirements and FAA regulations required the

warning to be operable on all delivered planes.

               To make matters even worse, Boeing falsely told pilots in flight manuals and other

documentation that like prior 737 models the AoA Disagree Alert was operable on all MAX

aircraft. Southwest Airlines partially confirmed this in an April 29, 2019 statement:

       Upon delivery (prior to the Lion Air event), the AOA Disagree lights were depicted
       to us by Boeing as operable on all MAX aircraft, regardless of the selection of
       optional AOA Indicators on the Primary Flight Display (PFD). The manual
       documentation presented by Boeing at Southwest’s MAX entry into service
       indicated the AOA Disagree Light functioned on the aircraft, similar to the Lights
       on our NG series. After the Lion Air event, Boeing notified us that the AOA
       Disagree Lights were inoperable without the optional AOA Indicators on the MAX
       aircraft.




                                                  41
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 49 of 170 PageID #:2907




                At an October 30, 2019 Congressional hearing, Chairman Peter DeFazio called

Boeing’s decision to not only delay fixing the inoperable AoA Disagree Alert, but to conceal the

inoperable alert from regulators and customers, “inexplicable”:

        Boeing learned that the AOA, angle of attack, disagree light, which was a standard
        feature on all Boeing 737s, did not work on this plane unless someone bought the
        upgraded package . . . they didn’t tell the FAA, they didn’t tell the customers, and
        they didn’t tell the pilots about this until [the] Lion Air crash. That’s inexplicable.

                Chairman DeFazio further pointed out that in issuing a flight manual that falsely

described the inoperable AoA Disagree Alert as operable yet nowhere mentioned the exceedingly

significant, and highly operable, new MCAS feature, Boeing had utterly failed to meet its

obligation to provide pilots with adequate information to safely operate the MAX. DeFazio stated,

“And [the AoA Disagree Alert] was included in the flight manual, unlike MCAS. Wow. So you

include something in the manual that doesn’t work, but something that is going to work and

potentially cause catastrophic issues is not in the manual.”

                Captain Dennis Tajer, a spokesperson for the Allied Pilots Association, was quoted

in a May 5, 2019 article in the Seattle Times that “[h]aving any equipment detailed in the manual

that doesn’t actually exist . . . has no place in aviation. There’s no fiction in flight, just the

facts . . . . Literally, lives count on that.”

                In both the Lion Air and Ethiopian Airlines aircraft, a single malfunctioning AoA

sensor caused an erroneous activation of MCAS, forcing the plane into a dive. While pilots in

both crashes didn’t know it, the AoA sensors of those planes were already recording substantial

disagreements even before takeoff. Because MCAS does not operate until pilots retract the flaps

used on takeoff, had that AoA Disagree Alert been working, the pilots of the Lion Air and

Ethiopian Airlines flights might have never taken off. At a minimum, the pilots would have been




                                                  42
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 50 of 170 PageID #:2908




alerted to the malfunctioning AoA sensors and could have addressed those problems prior to

takeoff.

                Once the pilots retracted the flaps at an altitude of 5,000 feet, however, the MCAS

interpreted the erroneous angle-of-attack information and automatically pushed the jet’s nose

sharply down. Even at that point, the AoA Disagree Alert could have alerted the pilots that the

planes’ AoA sensors were malfunctioning and could have helped diagnose the erroneous MCAS

activation more quickly.

                Indeed, at a November 27, 2018 meeting with American Airlines pilots, Boeing’s

Vice President of Product Development, Mike Sinnett, acknowledged that a functioning AoA

Disagree Alert would have prevented the Lion Air Crash. A March 27, 2019 Wall Street Journal

article reported that, according to Dan Carey, American Airlines union president, who attended

the meeting, Sinnett told the pilots, “‘This [the Lion Air Crash] wouldn’t have happened to you

guys,’” because American Airlines had operable AoA Disagree Alerts on their aircraft. The Wall

Street Journal went on to note that American Airlines’s cockpit indicators “would have directed

pilots to have the potential problem checked out on the ground” because an AoA Disagree Alert

is so serious that it is a “no-go item,” i.e., a plane will not take off if the alert is active.

                4.       Boeing Made Deadly Changes To The MAX Before The Plane Was
                         Certified And Without Informing The FAA

                In the course of the design process, Boeing concealed major changes to MCAS that

rendered the version of MCAS delivered to customers materially different, far more powerful, and

even more dangerous than the version presented to the FAA and other regulators at the time the

plane was approved.

                In late January 2016, Boeing began its first test flights of the MAX. Within just a

few weeks, test pilots encountered a serious problem: the MAX wasn’t handling well when nearing



                                                    43
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 51 of 170 PageID #:2909




stalls at low speeds. Pilots discovered the same lack of smooth stick forces at low speeds that

Boeing had observed at high speeds years earlier in 2012. To fix the issue, Boeing decided to

expand the scope and power of MCAS in several dramatic ways.

                First, Boeing dramatically expanded MCAS’s authority to move the plane’s tail

from the 0.6 degrees at each MCAS activation described in the Company’s hazard analysis to 2.5

degrees – an increase of more than 300%. Boeing made this change because at low speeds, a

control surface must be deflected more to have the same effect. Turning a car at low speeds, for

example, requires the driver to turn the steering wheel more than turning at high speeds.

                But this change greatly expanded MCAS’s power to push the plane into a dive. On

the stabilizer, the maximum nose-down movement is approximately 4.7 degrees away from level

flight. The new authority could therefore push the plane’s nose down to the maximum amount in

just a couple of iterations.

                Nonetheless, no upper limit was placed on MCAS’s authority to pitch the airplane.

As former Boeing engineer Lemme explained, because MCAS can repeatedly reset if it receives

erroneous AoA data, “it effectively has unlimited authority.” Consequently, an erroneous AoA

signal could and unfortunately did cause the MAX to repeatedly trim the plane 2.5 degrees on each

faulty activation as pilots struggled to regain control, until the plane was completely nose-down.

                Second, Boeing had initially designed the MCAS to trigger when the plane

exceeded both an AoA and a g-force threshold. Because there are no excessive g-forces at low

speed, the engineers removed the g-force factor as a trigger. This meant that a single AoA sensor

was the lone safeguard against a dangerous misfire.

                Boeing’s hazard analysis submitted to the FAA stated that MCAS could move the

horizontal tail a maximum of 0.6 degrees and that it would operate only in rare high speed, high




                                                44
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 52 of 170 PageID #:2910




Mach conditions. But, by the time the MAX was certified on March 8, 2017, Boeing had

fundamentally altered MCAS so it could repeatedly move the tail 2.5 degrees and do so at lower

airspeeds and without any upper limit on its authority, in reliance on a single AoA sensor.

                   Boeing’s design changes violated regulatory requirements and industry standards.

As the Joint Report found, Boeing’s purpose in expanding MCAS to low speed, low g-force

environments “was due to unacceptable stall characteristics with [the MAX’s speed trim system].”

According to the Joint Report, “[e]xtension of MCAS to the low-speed and 1g environment during

the flight program” made it even more clear that MCAS violated regulatory requirements that

prohibit a “stall identification system” from being “vulnerable to inadvertent actuation due to a

single failure.”

                   Boeing also failed to demonstrate compliance with regulatory requirements for the

MAX’s “out-of-trim characteristics,” as required by 14 CFR § 25.255. The Joint Report notes that

“[t]he higher MCAS trim rate of 0.27 degrees per second was not selected for the demonstration

of compliance with § 25.255, even though failures could result in un-commanded stabilizer trim

movement at this rate.”

                   Boeing entirely failed to disclose these dangerous modifications to the FAA

officials responsible for approving pilot training requirements. The Joint Report found that the

certification documents Boeing had provided to the FAA “were not updated during the certification

program to reflect the changes” made to MCAS. The Joint Report further found that the documents

Boeing submitted to the FAA “were not consistently updated.” Moreover, even where Boeing did

provide information to the FAA, the Joint Report concluded “the information and discussions

about MCAS were so fragmented and were delivered to disconnected groups” that it “was difficult

to recognize the impacts and implications of this system.”




                                                  45
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 53 of 170 PageID #:2911




              The Joint Report concluded that MCAS represented a completely unprecedented

technology and had Boeing presented a full and complete picture of the system to the FAA, the

plane would not have been certified without significant additional analysis that would have

exposed its dangerousness:

       If the FAA technical staff had been fully aware of the details of the MCAS function,
       the JATR team believes the agency likely would have required an issue paper for
       using the stabilizer in a way that it had not previously been used. MCAS used the
       stabilizer to change the column force feel, not trim the aircraft. This is a case of
       using the control surface in a new way that the regulations never accounted for
       and should have required an issue paper for further analysis by the FAA. If an
       issue paper had been required, the JATR team believes it likely would have
       identified the potential for the stabilizer to overpower the elevator.

              5.      Boeing “Jedi-Mind Trick[ed]” Regulators Into Deleting References
                      To MCAS From Flight Operating Manuals

              After dramatically increasing the risk MCAS posed to passengers through

undisclosed changes, Boeing then fought to have MCAS’s very existence concealed from the pilots

who would be subject to this powerful system. Boeing persuaded the FAA to remove all

descriptions of MCAS from the MAX’s flight manual and training materials in order to preserve

the illusion of “operational commonality” with the 737 NG and avoid additional pilot training.

Boeing’s efforts to conceal the MCAS directly contributed to the Lion Air and Ethiopian Airlines

Crashes. Indeed, the Indonesian NTSC found that Lion Air pilots were unable to respond

effectively to the MCAS because they had no idea the system even existed.

              Defendants were determined to avoid any disclosures to the FAA that might trigger

increased scrutiny and lead to increased costs as they developed the MAX and MCAS. For

example, a June 7, 2013 email that Boeing later produced to the FAA – as part of the Company’s

production of documents that were turned over to Congress and the public – included minutes from

a meeting that day concerning an analysis of MCAS. The analysis lists steps for Defendants to

take to conceal MCAS from regulators. Although Boeing would “[i]nternally continue using the


                                               46
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 54 of 170 PageID #:2912




acronym MCAS,” “[e]xternally [Boeing] would communicate it is an addition to Speed Trim,”

because “[i]f we emphasize MCAS is a new function there may be a greater certification and

training impact.” The same email chain noted that “[t]his will allow us to maintain the MCAS

nomenclature while not driving additional work due to training impacts and maintenance manual

expansions.”

               On March 30, 2016, 737 MAX Chief Technical Pilot Forkner, who was the

Company’s primary liaison to the agency on pilot training for the MAX, wrote an email to the

FAA asking it to approve Boeing’s decision to “remov[e] all references to MCAS from the FCOM

[i.e., the flight manual provided to the aircraft’s crew, Flight Crew Operations Manual (“FCOM”)]

and the training as we discussed.” In support of Boeing’s request, Forkner falsely claimed that

MCAS was “completely transparent to the flight crew and only operates WAY outside of the

normal operating envelope.”




                                               47
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 55 of 170 PageID #:2913




Figure 6. March 30, 2016 email in which Boeing’s 737 MAX Chief Technical Pilot Mark Forkner
requests that the agency approve Boeing’s decision to “remov[e] all reference to MCAS” from the
MAX flight manual and training materials based on false justifications.

              In the email, Forkner also attempted to justify Boeing’s removal of “all reference”

to MCAS by claiming that as a result of system redundancies – namely, that MCAS “live[s] in

both FCCs [flight control computers]” – it was highly unlikely to fail. In truth, contrary to

Forkner’s claims, MCAS was vulnerable to a dangerous single point of failure.

              The FAA agreed to Boeing’s request. The MAX’s 1,600-page flight crew manual

eventually provided to customers mentions the term MCAS once, a vestigial reference in the

manual’s index. Forkner later bragged about “[J]edi-mind tricking” regulators into accepting




                                              48
    Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 56 of 170 PageID #:2914




inadequate MAX training that omitted any mention of MCAS and minimized the significant

differences between the MAX and predecessor 737 models.8




Figure 7. In a November 2016 email, Forkner bragged about, “[J]edi-mind tricking regulators
into accepting the [MAX] training I got accepted by FAA,” which “remov[ed] all references to
MCAS.”

The Seattle Times reported that Forkner has since refused to provide documents sought by federal

regulators, citing his Fifth Amendment right against self-incrimination.

                Boeing personnel also boasted about “Jedi-mind tricking” customers, including

Lion Air, into believing that MAX simulator training was not necessary. In a June 6, 2017 email

exchange, Forkner falsely told a customer:

         There is absolutely no reason to require your pilots to require [sic] a MAX simulator
         to begin flying the MAX. Once the engines are started, there is only one difference
         between NG and MAX procedurally, and that is that there is no OFF position on

8
 “Jedi-mind tricking” is a reference to the ability of certain characters in the Star Wars films to
use powers of suggestion to implant thoughts and feelings in the minds of weak-willed adversaries.


                                                  49
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 57 of 170 PageID #:2915




       the gear handle. Boeing does not understand what is to be gained by a 3 hour
       simulator sessions when the procedures are essentially the same.

After successfully dissuading the customer from insisting on simulator training for its pilots,

Forkner forwards the email to colleagues, writing, “Looks like my jedi mind trick worked again!”

                Similarly, in a December 12, 2017 text-message exchange, an employee brags

about how he made a customer “feel stupid about trying to require any additional training

requirements.” The employee wrote, “I just jedi mind tricked this [sic] fools. I should be given

$1000 every time I take one these calls[.] I save this company a sick amount of $$$$[.]”

                The Joint Report once again concluded that Boeing had violated regulatory

requirements in its efforts to rush the MAX to market and to conceal its unique design and

operational features. Discussing Boeing’s failure to include information about MCAS in the

MAX’s Airplane Flight Manual, the Joint Report pointed out that “The Boeing AFM does not

include all the normal, non-normal, and emergency operating procedures as required by

regulations.”   In particular, the Joint Report found that “[i]nformation related to MCAS

functionality and failure scenarios is critical for pilot knowledge and understanding of the system

as it interfaces with the aircraft’s trim system and AOA inputs.”

                Then-Acting Administrator of the FAA, Daniel Elwell, who faced enormous

pressure to defend his agency’s certification of the MAX, acknowledged at a May 15, 2019

Congressional hearing, “MCAS should have been more adequately explained in the ops manual

and the flight manual, absolutely.”

                The impact of Boeing’s decision to remove all references to MCAS from the flight

manual and training was momentous. It not only deprived pilots of “critical” knowledge relating

the MAX’s operation, it prevented the FAA’s Flight Standardization Board from discovering that




                                                50
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 58 of 170 PageID #:2916




the information and training provided to pilots failed to satisfy applicable regulatory requirements.

The Joint Report concluded:

       During the certification process a decision was made to remove information relating
       to MCAS functionality from the draft Flight Crew Operating Manual (FCOM).
       This decision meant that the FAA Flight Standardization Board (FSB) was not fully
       aware of the MCAS function and was not in a position to adequately assess training
       needs. . . . The limited information provided to the FSB limited their ability to assess
       the operational impacts of failures of systems associated with MCAS and the
       subsequent requirements for flight crew training. With the information [the
       Aircraft Evaluation Group] was provided, it is reasonable to conclude that the FSB
       would not know the full impact of the changed design and thus would be unaware
       that they had been provided insufficient information to adequately comply with
       the requirements in FAA Order 8110.4C.

                6.     Boeing’s June 2018 Coordination Sheet Further Demonstrated That
                       The MAX Failed To Meet The Company’s Own Requirements

                On June 11, 2018, Boeing engineers prepared an internal memorandum outlining

several core design requirements for MCAS, called the MCAS “Coordination Sheet.” The

Coordination Sheet confirms that MCAS failed to meet Boeing’s own design and operational

requirements.




                                                 51
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 59 of 170 PageID #:2917




Figure 8. Boeing’s June 8, 2011 MCAS “Coordination Sheet” outlined several core design
requirements that Boeing knew the system failed to satisfy.

               Among other things, the Coordination Sheet requires that “MCAS failures shall be

annunciated to the flight crew.” However, as discussed above, Boeing knew that while the MAX

had initially been designed to include an MCAS failure alert, that alert was never ultimately

installed. Moreover, Boeing had known since August 2017, at the latest, that the MAX’s AoA

Disagree Alert was inoperable on the vast majority of the MAX fleet.

               Boeing’s Coordination Sheet also required that “MCAS shall not have any

objectionable interaction with the piloting of the airplane” and that “MCAS shall not interfere with

dive recovery.” At the October 30, 2019 Congressional hearing, Chief Engineer Hamilton

admitted that MCAS failed to satisfy these design requirements. When asked, “Did MCAS affect

in any way the dive recovery of Lion Air Flight number 610?” Hamilton testified, “[I]t caused the

airplane to go into a dive that the crews were not able to recover from.” Similarly, when asked,

“Did MCAS affect the dive recovery of Ethiopian Airlines Flight number 302?” Hamilton testified,

“Yes.”

               7.      In June 2018, A Boeing Senior Manager Reported Severe Problems In
                       The MAX’s Development And Production To Defendant Muilenburg
                       And Other Boeing Executives

               The erroneous MCAS activations that caused both the Lion Air and Ethiopian

Airlines Crashes were triggered by faulty AoA sensors. These were brand-new sensors on two

brand-new planes. Unbeknownst to customers, passengers, regulators, or investors, beginning in

June 2018 and continuing throughout the Class Period, Boeing executives, including Defendant

Muilenburg, received clear warnings that the Boeing 737 facility in which those sensors were

manufactured was experiencing serious production issues, including frequent wiring problems and




                                                52
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 60 of 170 PageID #:2918




functional test issues. Boeing executives, however, ignored urgings by senior personnel at this

facility to slow down production of the MAX, and, instead increased the pace of production.

               Edward Pierson, a Senior Manager at Boeing’s Renton, Washington 737 facility,

who oversaw production support for 737 Final Assembly, raised alarms with executives, including

Muilenburg, about the development and production issues plaguing the manufacturing facility. At

a December 11, 2019 hearing, Pierson testified: “I witnessed a factory in chaos and reported

serious concerns about production quality to senior Boeing leadership months before the first

crash. I formally reported again before the second crash. No action was taken in response to

either of my reports.”

               Pierson testified that, in early 2018, a cascade of damaged parts, missing tools,

incomplete instructions, and a shortage of workers were preventing planes from being built on

time. The 737 facility experienced a ten-fold spike in jobs that were behind schedule, and roll-

out-on-time for the MAX dropped to 10%. At the same time, according to Boeing’s tracking

system, quality issues increased over 30%. Despite this spike in delays and quality issues, Boeing

executives pushed production from 47 to 52 planes per month.

               To meet these targets, Boeing initiated “major recovery operations” at Renton,

which Pierson testified prioritized “production speed over quality.” Pierson testified that “737

program leadership” were pressuring workers to complete planes and publicly berating them

“about delays in front of a hundred or more of their peers.” Pierson stated that “[t]here were many

quality issues related to Electrical Wiring Interconnect System (EWIS) compliance, such as

problems with functional testing of wiring or chaffed, cut, or pinched wires. I knew that

improperly manufactured, installed, or tested wires can cause intermittent electrical or electronic

data errors on critical plane systems.”




                                                53
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 61 of 170 PageID #:2919




               On June 9, 2018, Pierson wrote to Scott Campbell, the Head of the 737 Program,

requesting production be briefly shut down due to quality concerns. Pierson wrote that he was

aware of the dangers of falling behind schedule, “[b]ut there is a much, much higher risk that we

cannot lose sight of.    I’m talking about inadvertently imbedding safety hazard(s) into our

airplanes.” Pierson wrote:

       As a retired Naval Officer and former Squadron Commanding Officer, I know how
       dangerous even the smallest of defects can be to the safety of an airplane. Frankly
       right now all my internal warning bells are going off. And for the first time in
       my life, I’m sorry to say that I’m hesitant about putting my family on a Boeing
       airplane.

But Boeing’s senior management did nothing in response.

               On July 18, 2018, after conditions worsened, Pierson followed up in person with

Campbell. Pierson told Campbell that while he was in the military, production would have been

shut down for lesser concerns. Campbell failed to heed these warnings, replying, “The military is

not a profit-making organization.”

               During the summer of 2018, while Pierson was warning that the Renton facility

was in disarray and was plagued by serious production issues, the facility built the planes involved

in the Lion Air and Ethiopian Airlines Crashes.

               After the October 29, 2018 Lion Air Crash, Pierson’s concern heightened. He

testified, “Because Boeing manufactured the Lion Air airplane at Renton in the summer of 2018,

I immediately feared the chaotic factory conditions had contributed to this tragic loss of life.”

Pierson attempted to reach out to Boeing’s Communications Office asking to speak with

employees supporting the accident investigation, but to no avail.

               On December 19, 2018, Pierson wrote a letter directly to Muilenburg again raising

the widespread production issues at the 737 facility and asking for his help in contacting the Boeing




                                                  54
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 62 of 170 PageID #:2920




employees supporting the Lion Air Crash investigation so he could share his knowledge with them.

Muilenburg never responded.

               Instead, in early January 2019, Pierson received a call from Boeing’s former

General Counsel, J. Michael Luttig, whom the Wall Street Journal has described as a “close adviser

to . . . CEO Dennis Muilenburg.” Pierson spoke with both Luttig and Boeing’s Assistant General

Counsel, Padraic Fennelly, renewing his warnings and stressing it was important to investigate the

Renton factory and interview employees. Pierson detailed the production issues at the 737 facility,

including “employee fatigue and schedule pressure, aggressive leadership communication,

mounting quality defects (including numerous functional test and Electrical Wiring Interconnect

System problems), staffing constraints, process deviations, communications breakdowns, and

others.”

               Quoting a February 2019 email to Luttig and Fennelly, Pierson testified that he

“emphasized that ‘the sheer volume of these issues highlights the considerable & unnecessary risk

the company was (is still?) taking to meet ever increasing airplane production rates and delivery

schedules” and that “production mistakes may have been made with this airplane and potentially

others.’” Pierson also testified that he felt “Boeing had misled the public about the state of 737

production: ‘Record numbers of airplanes delivered makes for good headlines, but they can belie

the reality of production health.’”

               Pierson’s pleas to halt or even slow production went unheeded. As a result, on

February 19, 2019, Pierson escalated his concerns to the Board of Directors in a letter that “detailed

[his] internal reporting efforts and requested urgent action from the Board.”

               Pierson discovered that there had been 13 other safety incidents reported on 737

MAX jets between May 2018 and the following March, when the fleet was grounded. As Pierson




                                                 55
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 63 of 170 PageID #:2921




later told the Australian Broadcasting Corporation, as reported in a February 14, 2020 article,

“We're talking about 380 or so airplanes, 13 incidents, two fatal crashes on top of that . . . [t]hat

represents 4 per cent of 387, so basically one in 25 airplanes had already had a safety incident in

its short lifespan.”

                Pierson went on to say:

        My first thought was just because we’re a profit-making organisation doesn’t give
        us the right to take chances like that with people’s lives . . . . In the military we
        value life. Sometimes you take risk because that’s the mission; but that’s a
        conscious decision. When you take unnecessary risk, that’s unacceptable.

Before Pierson received a response, Ethiopian Airlines Flight 302 – another MAX that had been

manufactured at the Renton facility during the summer of 2018 – crashed on March 10, 2019,

during its first month in service, killing all 157 people on board.

                In his December 11, 2019 testimony, Pierson noted that, as discussed above, the

Lion Air Crash involved a faulty AoA sensor that sent erroneous data to MCAS, triggering a

system failure. The Final Accident Report and Boeing’s own subsequent testing confirmed the

sensor was faulty. Pierson pointed out that “No one,” most especially Boeing, “has asked why

two brand-new AOA sensors on two brand-new planes inspected, installed, and tested by Boeing

at the Renton plant during the summer of 2018 failed. . . . It is alarming that these sensors failed

on multiple flights mere months after the airplanes were manufactured in a factory experiencing

frequent wiring problems and functional test issues.”

                       In the Months Leading Up To The Lion Air Crash, Boeing Employees
                       Repeatedly Discussed The Fact That The MAX Was Unsafe

                Many other Boeing employees shared Pierson’s urgent concerns about the MAX’s

safety. For example, a March 22, 2018 messenger exchange between Boeing employees discusses

the Company’s failure to take seriously safety issues identified by pilots at London’s Gatwick

Airport concerning aborted MAX landings, or “go-arounds,” resulting from various aircraft


                                                 56
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 64 of 170 PageID #:2922




malfunctions, including “pitch oscillation during flap retraction, [instruments] commanding

descent, [and] Autopilot descending.” The employees state, “They do not understand the liability

we as a company are taking on . . . . Not sure if I will be returning in April given this – am not

lying to the FAA[.] Will leave that to people who have no integrity.”

               Discussing Boeing’s efforts to deceive regulators, one employee wrote in a May

15, 2018 messenger exchange, “I still haven’t been forgiven by [G]od for the covering up I did

last year.” In another messenger exchange on May 18, 2018, a Boeing employee wrote, “I have

used the words ‘misleading’ and ‘mischaracterization’ a lot over the last two years in relation

to [t]his [MAX] program.”

               In an astonishing internal text-message exchange dated February 8, 2018, one

Boeing employee wrote:

       Honesty is the only way in this job – integrity when lives are on the line on the
       aircraft and in training programs shouldn’t be taken with a pinch of salt. Would
       you put your family on a MAX simulator trained aircraft? I wouldn’t[.]

Another employee responds, “No.”

                      By The Start Of The Class Period, The MAX Had Become The Best-
                      Selling Aircraft In Boeing’s History And The Largest Single Product
                      Driver Of the Company’s Revenue

               By the start of the Class Period, the MAX quickly became the best-selling aircraft

in Boeing’s history and a cash cow for the Company. Boeing had secured more than 5,000 orders

for the MAX, worth $600 billion, that would sustain the Company for years to come. Specifically,

by the start of the Class Period, Boeing had delivered more than 200 MAX aircraft and had

approximately 4,800 more on back order, representing more than 75% of the Company’s total

commercial aircraft backlog. Orders for the MAX stretched across more than 80 airlines.

               The MAX was the single largest product driver of Boeing’s revenue during the

Class Period. Although Boeing does not report the revenue contribution of individual aircraft,


                                               57
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 65 of 170 PageID #:2923




Goldman Sachs analysts estimated in a March 2019 report that the MAX was responsible for one-

third of Boeing’s Company-wide revenue until 2024. At the start of the Class Period, the 737

program was responsible for 30% of Boeing’s revenue and approximately half of the 737s

delivered at that time were MAXs. By 2019, Boeing’s 737 output was to shift entirely to the

MAX. As discussed below, following the MAX’s March 2019 grounding in the wake of the

Ethiopian Airlines Crash, Boeing reported in its third quarter 2019 Form 10-Q that even the

temporary grounding of the MAX had cost the Company approximately $2 billion per month

(almost $6 billion for the quarter) in lost product revenue alone, more than 20% of Boeing’s

Company-wide revenue. Boeing’s Form 10-Q stated that the “737 MAX grounding will continue

to have a significant impact on revenues until deliveries resume.”

        D.      On October 29, 2018, Lion Air Flight JT 610 Crashed, Killing All 189
                Passengers And Crew

                On October 29, 2018, Lion Air Flight JT 610 departed Jakarta, Indonesia. Boeing

had delivered the plane to Lion Air on August 13, 2018, just eleven weeks before the October 29

flight. The captain had more than 6,000 hours of flight experience, including 5,176 hours on

Boeing’s prior 737 models.

                Even before takeoff, a malfunctioning AoA sensor was already feeding erroneous

pitch data to the plane’s flight computer. However, because Boeing had failed to address, or even

disclose, a known defect, the AoA Disagree Alert described in the MAX FCOM failed to alert the

pilots to this issue.

                Two minutes into the flight and unbeknownst to the pilots, MCAS took over the

plane. Relying on the single erroneous AoA sensor, MCAS believed the aircraft’s nose was too

high and activated, sensing a stall. MCAS moved the horizontal stabilizer for 10 seconds to lower

the plane’s nose. The flight crew radioed air traffic control to report flight control problems,



                                               58
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 66 of 170 PageID #:2924




including unreliable airspeed and altitude readings. On the cockpit audio recordings, alarms can

be heard blaring as air traffic controllers issued instructions. Air traffic controllers granted the

pilots’ request to return to Jakarta, but Lion Air Flight JT 610 never made it back.

               Satellite data showed that Lion Air Flight JT 610 rose and fell more than 20 times

as MCAS repeatedly activated, driving the plane’s nose down. According to reports, the cockpit

voice recorder shows that even as numerous alarms continued to sound, the pilots made numerous

efforts to save themselves and their passengers’ lives. One pilot searched through the MAX’s

flight manual for almost nine minutes trying to find the source of the problem and a solution. This

effort was unfortunately in vain because of Boeing’s decision to excise all mention of the MCAS

system from the flight control manual.

               Records show the other pilot praying aloud as he struggled to pull back on the

control column – an action that in prior Boeing 737s (but not the MAX) would have permanently

disabled any automated flight control systems. As the MCAS repeatedly activated and the speed

of the plane increased, the control column got heavier. As explained in an April 2019 article by

former pilot Gregory Travis, when MCAS activated to push the nose of the plane down it also

pushed the pilot’s control columns forward through a device Boeing calls the “Elevator Feel

Computer.”

               The Elevator Feel Computer enables pilots to get physical feedback when they

move the control column. In old airplanes this feedback was natural. Cables connected the control

stick to the flying surfaces, so a pilot had to pull up, hard, if the airplane was trimmed to descend

and had to push forward, hard, if the plane was trimmed to ascend. With the advent of powerful

hydraulic systems in the 737, pilots no longer received direct feedback from the aerodynamic

forces acting on the plane’s control surfaces.




                                                 59
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 67 of 170 PageID #:2925




               Instead, the Elevator Feel Computer uses a set of motors and jacks to put force into

the control column. The computer can put so much force into the column that a human pilot can

become exhausted trying to pull the column back – i.e., trying to override the MCAS malfunction

by telling the plane that it should really not be descending. In Lion Air Flight JT 610’s final

seconds, MCAS activated several more times and the Elevator Feel Computer put tremendous

forward pressure on the control stick. The pilot was pulling back on the control column with more

than 100 pounds of sustained force. It was not enough.

               Less than twelve minutes after takeoff, Lion Air Flight JT 610 entered a steep dive,

hitting speeds of about 500 miles per hour, and crashed into the Java Sea. All 189 people aboard

were killed.

               Immediately following the Lion Air Crash, authorities and the public sought

answers for what caused the catastrophic crash of this brand-new airplane. While the “black box”

would not be located until a week after the crash, the Associated Press immediately reported that

data from flight trackers showed “erratic speed, altitude, and direction in the minutes after takeoff”

and an upward spike in vertical speed at the end of the flight followed by a downward plunge.

               While the public could not interpret this data, Boeing knew that this pattern was

consistent with a pilot struggling with the MCAS system. In fact, Boeing Commercial Airplane’s

(“BCA”) Chief Engineer, John Hamilton, would later testify before Congress that, “In the hours

following the Lion Air accident, we convened a group of experts from around the company and

started postulating on what possibly could have happened given the limited data that was available.

We quickly identified that this MCAS activation could have been a scenario.”

               Media reports focused initially on the “mixed safety record” and “checkered past”

of the “budget airline” Lion Air and Indonesia’s aviation industry. In contrast, analysts and




                                                 60
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 68 of 170 PageID #:2926




investors were far less concerned that Boeing would be held responsible for the crash. For

example, a CFRA Research analyst told the Seattle Times in an October 29, 2018 article that

“Boeing planes have a good safety record and the accident is unlikely to hurt orders for new

planes.”

                Two days after the crash, on November 1, 2018, divers in Indonesia recovered one

of the Lion Air plane’s recorders from the seafloor and relevant authorities began the work to

reconstruct the flight data.

        E.      Following The Lion Air Crash, Defendants Immediately And Falsely Blamed
                The Pilots And Assured The Public That The MAX Was Safe

                After the Lion Air Crash, Defendants faced intense public scrutiny concerning the

crash and whether the 737 MAX had underlying problems that rendered the plane unsafe to fly.

For example, a November 6, 2018 article in The New York Times concerning the Lion Air Crash

reported that “the model’s newness means any potential problem may not yet have manifested

itself in other carriers’ fleets,” and raised the question whether there were problems with the 737

MAX “[b]eyond a potential hardware problem – whether with computerized sensors or with

instruments that measure airspeed.”

                In the face of these and similar questions, Defendants repeatedly misrepresented

and concealed the fundamentally unsafe nature of the 737 MAX, the manipulated and flawed

certification process through which Boeing rushed the 737 MAX to market, and Defendants’

ability to adequately address the pervasive, systemic failures that rendered the 737 MAX

inherently dangerous and unfit for flight.

                In the early hours of November 7, 2018, the first day of the Class Period, Boeing

issued a news release stating that the Indonesian National Transportation Safety Committee had

indicated, based on its review of the flight data recorder, that Lion Air Flight JT 610 “experienced



                                                61
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 69 of 170 PageID #:2927




erroneous input from one of its AOA (Angle of Attack) sensors.” As a result, Boeing announced

that it had issued on November 6, 2018 an Operations Manual Bulletin (OMB), “directing

operators to existing flight crew procedures to address circumstances where there is erroneous

input from an AOA sensor.”

               Indeed, the night before, Boeing had issued a Flight Crew Operations Manual

Bulletin TBC-19, with the subject “Uncommanded Nose Down Stabilizer Trim Due to Erroneous

Angle of Attack (AOA) During Manual Flight Only” (the “November 6 Bulletin”). Boeing

explained that, “[w]henever appropriate, Boeing, as part of its usual processes, issues bulletins or

makes recommendations regarding the operation of its aircraft.” In the November 6 Bulletin,

Boeing represented that “erroneous AOA data” contributed to the Lion Air Crash by incorrectly

guiding the plane’s “pitch trim system” to trim the stabilizer nose down. Boeing did not disclose

that Boeing had created a brand-new pitch trim system for the 737 MAX that performed

completely differently than prior pitch trim systems. Instead, Boeing falsely represented that its

existing Flight Crew Operations Manual was sufficient – suggesting that the Lion Air Crash was

caused by pilot error to follow the manual – as it “direct[ed] flight crews to existing procedures to

address” the “AOA failure condition” that contributed to the Lion Air Crash.

               Boeing’s statements reassured observers that the 737 MAX was technically sound

and safe to fly. As one independent expert told NPR on November 8, “[w]hat this airworthiness

directive is doing is basically putting airlines on notice who are flying the 737 MAX to definitely,

you know, take a little extra caution in reviewing their procedures that are already published.”

Similarly, in a November 8, 2018 article, the Seattle Times quoted John Cox, a former pilot and

chief executive of aviation consultancy Safety Operating Systems, as saying that, because only a




                                                 62
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 70 of 170 PageID #:2928




“standard pilot procedure” would counter the problem, he considered the MAX safe and “would

fly on one tomorrow without hesitation.”

               On November 13, 2018, however, news reports began to emerge that the 737

MAX’s “pitch trim system” – which Boeing now disclosed was called the MCAS – was in fact

new to the MAX. That day, the Seattle Times explained that the MCAS had been incorporated

into the 737 MAX design as additional “stall protection” given the plane’s larger engines and the

changes to the plane’s aerodynamics.        The Seattle Times further reported several pilots

complaining that Boeing had not highlighted the MCAS in the pilots’ operational manual as a

change to operations. In response, Boeing issued a statement that “We are confident in the safety

of the 737 MAX. Safety remains our top priority.”

               That same day, Defendant Muilenburg emerged to comment on the Lion Air Crash

for the first time. Speaking to Fox Business Channel, Muilenburg falsely reassured the public that

the 737 MAX was safe, again representing that Boeing’s existing pilot training and instructions

were adequate, such that the Lion Air Crash was caused by pilot error rather than underlying

problems with the plane. Specifically, Muilenburg stated:

       The bottom line here is the 737 MAX is safe and safety is a core value for us at
       Boeing and it always has been and we ensure that our airplanes are safe. In fact,
       this airplane went through thousands of hours of tests and evaluation, certification,
       working with the pilots, and we’ve been very transparent on providing information
       and being fully cooperative on the investigative activity. . . . As the Indonesian
       authorities have pointed out, initially, there were some indications of an
       inaccurate angle of attack signal that was being sent to the airplane and of course
       our airplane has the ability to handle that with procedures in place [a]nd we’ve
       already issued a couple of additional bulletins to our operators and pilots around
       the world that point them back to existing flight procedures to handle that kind of
       condition. . . .

       [A]gain, we ensure that we provide all of the information that’s needed to safely
       fly our airplanes and this comes out of thousands of hours of testing and evaluating
       and simulating and providing the information our pilots need to operate our
       airplanes safely. And we’ll continue to do that. As part of the process, we’ve
       already issued a couple of bulletins to pilots and operators that point them back to


                                                63
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 71 of 170 PageID #:2929




       existing flight procedures to handle this kind of situation. [W]e’re going to
       continue to fully cooperate with the investigation. I think it’s really important [ ] –
       the bottom line here [is that the] 737 MAX is a very safe airplane and we’re very
       confident [in that].

               In response to an interviewer’s question, Muilenburg expressly and falsely denied

that the 737 MAX in the Lion Air Crash had “a new system that wasn’t disclosed to the pilots”:

       No. There are new systems on the airplane that are designed to take advantage of
       the capabilities of the airplane and provide control capability in high angle of attack
       conditions and those systems operate properly and again in certain failure modes
       if there is an inaccurate angle of attack sensor feeding information to the
       airplane there is a procedure to handle that. . . . We’re going to make sure that
       we’re providing all the information necessary and appropriate training, and go back
       to the core value here . . . [T]he airplane is safe. We know how to fly it safely.
       And we’re very confident [in that]. . . .

               Muilenburg also again falsely pointed to the FCOM as being complete and

adequate. When asked whether Boeing provided “information in terms of what to do should

something change, was that information available to the pilots? Did they know how to operate

it? Should the nose be in a different position?” Muilenburg responded, “Yes, in fact that’s part

of the training manual. It’s an existing procedure. So the bulletin we put out again last week,

and over the weekend pointed to that existing flight procedure.”

               Muilenburg’s interview had the intended effect of calming concerns in the market

about the newly disclosed MCAS. Speaking to the Associated Press on November 13, 2018, after

Defendant Muilenburg’s Fox News appearance, Jon Weaks, a 737 captain and president of the

pilots’ union at Southwest Airlines, said that while he was “not pleased” about the omission of the

MCAS information from the operations manual, he was satisfied that “we have been given, finally,

the correct information.” Similarly, on the same day, UBS analysts, after “conversations with

industry experts, pilots, & public comments/releases from Boeing and the FAA,” observed that the

referenced “existing flight procedure” was a “memory” item for pilots – meaning that they are

basic and critical procedures to non-routine events, such that pilots are specifically trained to


                                                 64
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 72 of 170 PageID #:2930




memorize the specific steps and to respond instinctively. UBS noted that the 737 MAX pilots

would have been trained on this procedure. Accordingly, UBS maintained its “Buy” rating for

Boeing, seeing “nothing at this point to deter our positive bias on shares of Boeing and continue

to see most probable outcomes having limited materiality to [Boeing’s] financials or product

demand.”

                On November 16, 2018, the Seattle Times reported in an article titled “Dispute

arises among U.S. pilots on Boeing 737 MAX system linked to Lion Air Crash” that U.S. pilot

leadership continued to debate whether Boeing should have provided more information about the

MCAS for the pilots to fly the planes safely. The pilot unions for United Airlines, Southwest

Airlines, and American Airlines – the three American airlines flying 737 MAX planes – sent a

formal letter to the FAA and the NTSB complaining about the “significant information gap” in

information provided to pilots about the MCAS. In the article, United Airlines pilot union

chairman Todd Insler disagreed with his union’s letter and adopted the Boeing position, arguing

that pilots did not need to know about the MCAS, and that the Lion Air pilots should have simply

used the standard procedure to which Boeing had referred in the November 6 bulletin: “The story

here is not why we didn’t know about (the new system), it’s why the pilots didn’t fly the plane[]”

(alteration in the original).

                On November 19, 2018, Boeing announced, and then cancelled, a conference call

with airlines worldwide to answer questions about the 737 MAX planes. Instead, on November

21, 2018, Defendant Muilenburg sent a blast email to all employees of Boeing, expressing

confidence in the safety of the MAX and disputing media reports. As reported by the Seattle

Times, Muilenburg sought to counter what he called “false assumptions” and “speculation,”

stating, “First, the 737 MAX is a safe airplane designed, built and supported by skilled men and




                                               65
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 73 of 170 PageID #:2931




women.” Second, Muilenburg “disputed specific reports” concerning the MCAS, including

“specifically den[ying] reports in some media outlets that the procedure pilots need to deal with

[the MCAS’s] uncommanded movements was not in the 737 pilot manual and that pilots were not

trained on how to handle it.” Muilenburg expressly stated: “That’s simply untrue.”

               According to the article, Muilenburg’s email concluded that Boeing would not

“debate details in the media so as not to ‘violate the integrity of the investigation.’”

               That same day, on November 21, 2018, Boeing issued and posted on its website a

press release titled “Statement on Lion Air Flight JT 610 Investigation,” in which the Company

stated that it was “taking every measure to fully understand all aspects of this accident, working

closely with the investigating team and all regulatory authorities involved,” reiterated that “[w]e

are confident in the safety of the 737 MAX,” and “re-emphasize[d] existing procedures for these

situations.”

               On November 27, 2018, Indonesia’s NTSC released its preliminary accident

investigation report concerning the Lion Air Crash.           The NTSC issued detailed findings

concerning, among other things, the fraught, futile fight by the Lion Air pilots to keep the plane’s

nose up as MCAS repeatedly forced the plane’s nose downward. As the Seattle Times reported,

the NTSC’s report indicates that the Lion Air pilots “mysteriously” did not do what the pilots the

day before had done – and what Boeing indicated was the appropriate counter measure – which

was to “simply” switch off the flight-control system. The Seattle Times indicated that the pilots’

failure to do so was “baffling.” According to independent consultant Peter Lemme, a former

Boeing flight-controls engineer, as quoted in the article, “This airplane should not have crashed.

There are human factors involved.”




                                                  66
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 74 of 170 PageID #:2932




               The same day, November 27, 2018, in response to the NTSC’s preliminary report,

Boeing issued a lengthy public statement again disputing that the MAX was unsafe and falsely

providing its “assurance that the 737 MAX is as safe as any airplane that has ever flown the

skies.” Boeing again blamed pilot error for the crash. Boeing detailed the actions taken by the

pilots on the October 28 flight (the day before the crash), including the runaway stabilizer non-

normal checklist, which is what Boeing prescribed to address the MCAS issues. Boeing pointed

out that the remainder of the October 28 flight was “uneventful.” Boeing pointed out that, “Unlike

as is stated with respect to the prior flight, the report does not state whether the pilots [on the

October 29 flight] performed the runaway stabilizer procedure or cut out the stabilizer trim

switches.”

               According to a November 29, 2018 Washington Post article titled “Boeing CEO

addresses flight system update after criticism from pilots,” as the Indonesian investigation proved

inconclusive, Boeing “stepped up [its] engagement” with airlines and pilots. Customers and their

passengers, a Boeing spokesperson told the Washington Post, “have our assurance that the 737

Max is as safe as any airplane that has ever flown the skies.”

       F.      Throughout The Class Period, Defendants Misleadingly Reassured The
               Public, Even As Evidence Continued To Mount Internally That The MAX
               Was Dangerously Unsafe

               Contrary to their reassuring statements affirming the MAX’s safety and blaming

the Lion Air Crash on the pilots, Boeing’s senior executives knew from the start of the Class Period

– indeed, within a week of the Lion Air Crash – that the MAX was unsafe, that MCAS had played

a critical role in the crash, that the likelihood of a deadly MCAS failure was far greater than Boeing

had presented to the FAA, and that significant software fixes would be required to address the

dangerous deficiencies in the MAX’s design. At a public October 30, 2019, Congressional

hearing, BCA Chief Engineer John Hamilton testified:


                                                 67
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 75 of 170 PageID #:2933




       In the hours following [the] Lion Air accident we convened a group of experts from
       around the company and started postulating on what possibly could have happened
       given the limited data that was available. We quickly identified that this MCAS
       activation could have been a scenario. . . . And, once the flight data recorder came
       up later in the week and – and verif[ied] what we had[,] we started working on a
       software change immediately to start working that.

               Hamilton further testified that the Lion Air Crash had demonstrated that the critical

assumptions underlying the functional hazard analysis Boeing submitted to the FAA, including

pilot reaction time, were affirmatively false:

       [Boeing] separately convened a Safety Board and determined that was not enough,
       just the software, change to mitigate the risk. [A]nd we determined that while the
       crew – the captain of Lion Air was trimming out the airplane as [he] was getting
       MCAS, when he hand over control, it didn’t quite follow the assumptions that we
       had based the design on.

               Thus, within the first week following the Lion Air Crash, Boeing knew that the

crew action it had expected had not occurred, even on the Lion Air flight preceding the crash, in

which the pilots managed to recover. And while Boeing’s safety analysis had inexplicably

assumed that the failure of a single AoA sensor was a remote possibility, the Company knew by

the start of the Class Period that such an event had happened twice on successive Lion Air flights,

both on the crashed flight and on the prior flight.

               Yet Defendants continued to issue misleading statements affirming the MAX’s

safety and allowed the aircraft to continue flying for months until the entire world grounded the

fleet days after the Ethiopian Airlines Crash.

               Likewise, in the days after the Lion Air Crash, the FAA officials made clear that

they believed Boeing’s efforts to conceal the dangerous changes made to MCAS prevented the

FAA from effectively evaluating the system’s safety. Specifically, as later reported by The New

York Times in July 2019, the FAA invited Boeing executives to the FAA’s Seattle headquarters

immediately after the Lion Air Crash. The FAA officials sat incredulous as Boeing explained the



                                                 68
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 76 of 170 PageID #:2934




details of MCAS. In the middle of this conversation, an FAA employee “interrupted to ask a

question on the mind of several FAA engineers: Why hadn’t Boeing updated the safety analysis

of a system that had become so dangerous?”

               Meanwhile, Boeing began quietly working on fixes to MCAS’s deadly software,

even as it continued to publicly blame Lion Air pilots for the crash. The nature of the fixes Boeing

began making to MCAS’s software within a week of the Lion Air Crash – much of which was not

disclosed until March 2019, after the Ethiopian Airlines Crash – further demonstrate that Boeing

executives understood that MCAS had numerous unsafe design flaws that needed to be corrected,

all of which Defendants knew by no later than the beginning of the Class Period, as discussed in

Sections IV.A-C above. Specifically, Boeing’s software fixes were planned to:

                  Require that MCAS use two AoA sensors to trigger activation, eliminating the
                   single point of failure that should never have been included in the design.

                  Install the AoA Disagree Alert that was supposed to be standard from the start.
                   The flight control computer was to compare data from both AoA sensors and,
                   if they disagreed by 5.5 degrees or more, MCAS would be disabled and the
                   AoA Disagree Alert would display.

                  Ensure that MCAS does not have continuous authority; it would activate once,
                   not repeatedly for each AoA event.

                  Impose an MCAS command limit. MCAS can never command more stabilizer
                   input than can be counteracted by the flight crew pulling back on the control
                   column. The pilots will always have the ability to override MCAS and
                   manually control the plane.

               Boeing executives received multiple warnings in private meetings with customers

that pilots did not have what they needed to safely fly the MAX. On November 27, 2018, Boeing

executives, including Vice President of Product Development Mike Sinnett, 737 MAX Chief Pilot

Craig Bomben, and Director of Transportation Policy John Moloney, had a closed-door meeting

with American Airlines pilots. In this meeting, which was later described by The New York Times

in a May 14, 2019 article, the pilots demanded that Boeing explain why the MCAS software was


                                                69
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 77 of 170 PageID #:2935




not highlighted as a key difference from prior 737 models. Michael Michaelis, American

Airlines’s union safety chairman, excoriated the Boeing executives for the Company’s glaring

misconduct, “These guys didn’t even know the damn system was on the airplane, nor did

anybody else.” Likewise, Todd Wissing, another American Airlines pilot, was also incredulous

that no mention of MCAS had been included in the training manual for the MAX, telling the

executives, “I would think that there would be a priority of putting explanations of things that

could kill you.” The American Airlines pilots told Boeing that it should update its flight-control

software, provide more training, modify the external sensors that measure the direction of the

aircraft, and make changes to how MCAS is activated.

               Boeing’s senior management recognized from the start of the Class Period that

customers and pilots were inadequately informed about MCAS. On November 13, 2018, Boeing

sent a letter to the FAA requesting permission to update the 737 MAX 8’s flight manual to include

MCAS, but said nothing to investors, much less the pilots or the thousands of people who

continued to fly the fatally defective 737 MAX aircrafts on a daily basis. Boeing’s planned

remedial measure also included the additional pilot training specifically on MCAS it tried so hard

to avoid in the run-up to the MAX’s certification.

               Those were not the only warnings Boeing received during the Class Period that

pilots required additional information and training about MCAS to safely operate the MAX. As

the Dallas Morning News later reported, from November 2018 until the Ethiopian Airlines Crash

in March 2019, the FAA’s Aviation Reporting System received numerous complaints from U.S.

pilots concerning the aircraft’s unexpected behaviors, and how the crew manual lacked any

description of the system.

               For example, in November 2018, one pilot wrote:




                                               70
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 78 of 170 PageID #:2936




       I think it is unconscionable that a manufacturer, the FAA and the airlines would
       have pilots flying an airplane without adequately training, or even providing
       available resources and sufficient documentation to understand the highly complex
       systems that differentiate this aircraft from prior models. The fact that this airplane
       requires such jury rigging to fly is a red flag. Now we know the systems employed
       are error prone – even if the pilots aren’t sure what those systems are, what
       redundancies are in place, and failure modes. I am left to wonder: what else don’t I
       know?

                 Another captain called the flight manual “inadequate and almost criminally

insufficient.”

                 Pilots also expressed confusion about the 737 MAX’s features. For instance, a pilot

wrote, “I reviewed in my mind our automation setup and flight profile but can’t think of any reason

the aircraft would pitch nose down so aggressively.” While another pilot wondered, “How can a

Captain not know what switch is meant during preflight setup? Poor training and even poorer

documentation; that is how.”

                 Indeed, pilots have since explained why, without clear explanation and training,

737 MAX pilots would not perceive MCAS seizing control of the plane and forcing a dive as a

“runaway stabilizer” situation. Runaway stabilizer typically occurs when the autopilot

malfunctions. This is a situation with which all pilots are trained to deal and is easily addressed,

because the autopilot automatically disengages when pilots operate the manual electric trim

switches or when pilots give contrary commands through moving the central column. Runaway

stabilizer when the autopilot is not engaged, which is when the MCAS was designed to kick in, is

exceedingly rare and pilots are not expecting it to occur. Then, when MCAS did kick in, the key

shared characteristic with a runaway stabilizer – uncommanded movements of the trim wheel –

presented very differently. In a runaway stabilizer situation, the wheel turns continuously. But

MCAS fired the trim motor intermittently, causing the trim wheel to start and stop turning

repeatedly. Thus, it was never a reasonable assumption that pilots would treat an MCAS



                                                 71
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 79 of 170 PageID #:2937




malfunction as a runaway stabilizer, particularly when they did not even know that the MCAS

existed.

               Incredibly, as discussed above, during the closed-door meeting with pilots on

November 27, 2018, Sinnett admitted that a functioning AoA Disagree Alert would have

prevented the Lion Air Crash. As the Wall Street Journal reported in a March 29, 2019 article,

Sinnett told American Airlines’s pilot union that their pilots wouldn’t experience the sort of

problems that doomed the Lion Air flight. According to Dan Carey, American Airlines’s pilot’s

union president, Sinnett told the pilots:

       That’s because American paid for an additional cockpit warning light that would
       have alerted them to the problem, while Lion Air and most other airlines didn’t.

       “This wouldn't have happened to you guys,” Mr. Carey recalled Mr. Sinnett saying
       during the meeting. The cockpit indicators would have directed pilots to have the
       potential problem checked out on the ground.

               The American Airlines pilots also urged Boeing to push regulators to issue an

“emergency airworthiness directive” – an FAA directive issued when an unsafe condition exists

that requires immediate action by an aircraft owner or operator – that would likely have taken the

MAX temporarily out of service. Michaelis grilled the Boeing executives about why they would

not push the FAA to issue the directive, “My question to you, as Boeing, is why wouldn’t you say

this is the smartest thing to do? Say we’re going to do everything we can to protect th[e] traveling

public in accordance with what our pilots unions are telling us.”

               Moreover, as the Wall Street Journal reported in a May 15, 2019 article, in

explaining to American Airlines pilots why a software fix shouldn’t be rushed, Sinnett admitted

during the same November 27, 2018 meeting – over three months before the Ethiopian Airlines

Crash – that MCAS was “flight-critical software.” As discussed above, industry standards and

applicable regulations preclude “flight-critical” components, like MCAS, from being susceptible



                                                72
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 80 of 170 PageID #:2938




to any single points of failure. Thus, by Sinnett’s own admission, Boeing knew from the start of

the Class Period that the MAX should not have been allowed to fly until MCAS was redesigned

and rebuilt to include necessary redundancies.

               Astonishingly, while Sinnett steadfastly refused to take any action that would result

in the MAX’s grounding, he admitted that, at that point, Boeing did not even know if its “design

assumptions” were valid, even as Defendants made public statements unequivocally assuring the

investors, customers, and passengers that the MAX was safe. As The New York Times later

divulged in a May 14, 2019 article, Sinnett told the pilots that in the Company’s ongoing

investigation “[o]ne of the questions will be, is our design assumption wrong? We’re going

through that whole thought process of, ‘were our assumptions really even valid when we did

this?’”

               Dennis Tajer, a 737 captain and a spokesperson for the Allied Pilots Association

stated in a March 25, 2019 Bloomberg article, “Our entire relationship changed after that meeting.

I don’t need to know about every rivet, but I do need to know about something that’s going to

take over my airplane.” American Airlines’s union safety chairman, Michael Michaelis, said, “It

was a very frank discussion. This is to our knowledge the first time pilots were not informed of a

major system on an airplane that could affect flight controls.”

               In February 2019, Boeing provided the DOJ with documents, including 737 MAX

Chief Test Pilot Forkner’s 2016 text messages highlighting how MCAS was malfunctioning in the

flight simulator, just as it had on both Lion Air flights. At this point, Muilenburg and other

members of Boeing’s senior management were aware of these text messages, but did nothing to

ground the 737 MAX to address its fatal flaws.




                                                 73
    Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 81 of 170 PageID #:2939




V.       THE TRUTH EMERGES AS INVESTORS LEARN BOEING CUT CORNERS IN
         DESIGNING THE MAX, DECEIVED REGULATORS, AND RUSHED THE
         DEADLY 737 MAX TO MARKET

         A.    March 10, 2019: Ethiopian Airlines Flight ET 302 Crashed Shortly After
               Takeoff

               On March 10, 2019, Ethiopian Airlines Flight ET 302, a Boeing 737 MAX,

departed Addis Ababa, Ethiopia, bound for Nairobi, Kenya. Boeing had delivered the plane to

Ethiopian Airlines less than four months earlier. The captain of Ethiopian Airlines Flight ET 302

had more than 8,000 hours of flying experience, including on Boeing 737s.9

               One minute into the flight, MCAS activated and forced the nose of the plane

downwards for nine seconds, with the cockpit’s warning system sounding “DON’T SINK” alarms.

The pilots fought back against the automated dive and briefly had the plane climbing. Seconds

later, MCAS re-engaged and pushed the plane’s nose down again, triggering more squawks of

“DON’T SINK” from the plane’s warning systems.

               Following the procedures outlined by Boeing following the Lion Air Crash, and as

set forth in the operations manual, the pilots flipped two switches and disconnected the electric

trim motor, and then tried to regain control. However, having cut electric power to stop the MCAS

from seizing control of the plane, the pilots had also eliminated their ability to use the electric

switch to trim the stabilizer back into a neutral position. Instead, the pilots were now forced to

crank the wheel by hand – a physical process requiring significant brute strength given the



9
  Ethiopian Airlines had a history of excellent safety and a large fleet — the biggest in Africa —
of modern Boeing and Airbus airplanes. It’s a leading member of Star Alliance, the largest airline
alliance in the world, along with names such as Lufthansa, United Airlines and Singapore Airlines.
As an alliance member, it must maintain stringent safety protocols. The airline has a safety rating
of six stars out of a possible seven on respected aviation site AirlineRating.com. Those ratings are
based on safety rankings from international regulatory bodies and how often airlines have
fatalities.


                                                74
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 82 of 170 PageID #:2940




aerodynamic forces buffeting the stabilizer. Despite pulling the wheel with all of their might, the

pilots could not get the stabilizer to budge.

               Throughout this time, the pilot was pulling back on the yoke with all of his force.

But it was no use because the aerodynamic forces working on the control surfaces were too strong.

When the pilots attempted to activate the electronic trim switches in order to pull the plane’s nose

up, MCAS reactivated, seized control of the plane again, and forced it into a steep dive. Less than

one minute later, Ethiopian Airlines Flight ET 302 crashed in a farm field at nearly 700 miles per

hour, killing all 157 people on board instantly and creating a crater nearly 100 feet deep.

               The public immediately focused on the similarities between the Ethiopian Airlines

and Lion Air Crashes. Both occurred less than fifteen minutes after takeoff, in clear weather, and

involved brand-new 737 MAX aircraft with experienced pilots at the helm. As Flight Global

reported, “Loss of the Ethiopian Airlines Boeing 737 Max 8, just a few minutes after take-off, is

likely to stir disquiet over the re-engined type which emerged during the probe into a Lion Air

Max 8 accident.” A Wall Street Journal article from the early morning hours of March 11, 2019

similarly reported, “a former [FAA] official said regulators likely would focus fact-finding efforts

in part on potential relationships between the accidents . . . .”

               Analysts also focused on the similarities between the Ethiopian Airlines Crash and

the Lion Air Crash. For example, in a March 11, 2019 report, Cowen analysts stated, “The

Ethiopian 737 MAX crash is a near term overhang given it looks similar to last October’s Lion

Air disaster.” The Buckingham Research Group (“BRG”) published a note on March 11, 2019,

titled, “Another MAX 8 Crash - Expect Shares to Dip,” reporting, “[E]xpect shares to fall Monday

due to investor concerns over the ramifications from a second 737 MAX 8 crash over the




                                                  75
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 83 of 170 PageID #:2941




weekend . . . we think investors are likely going to focus on the fact that a second MAX 8 aircraft

crashed with optical similarities to the Lion Air MAX 8 crash that occurred on October 29th.”

               The crashes of two brand-new airplanes of the same new model in just five months

was too much of a coincidence for aviation regulators and airlines worldwide. Immediately

following the crash, on March 10, 2019, multiple foreign aviation regulators ordered the temporary

grounding of 737 MAX planes, including regulators in China, Indonesia, and Mongolia.10 On

March 11, 2019, Ethiopian Airlines announced that it had grounded all four of its remaining 737

MAX jets, and multiple other airlines, including Aerolineas Argentina, Cayman Airways, Comair,

Eastar Jet, Gol Transportes Aéreos, and Royal Air Maroc, all stopped flying their MAX planes.

On March 12, 2019, the groundings continued: regulators in Singapore, India, Turkey, Australia,

and Malaysia, among others, issued directives to ground the 737 MAX. Other jurisdictions, such

as the United Kingdom, banned the 737 MAX from their airspace altogether. The European Union

Aviation Safety Agency (EASA) announced the suspension of all 737 MAX flights in Europe,

publishing a Safety Directive stating that the ban was imposed due to, among other things,

“similarities with the Lion Air accident data” and the “unusual scenario of a ‘young’ aircraft

experiencing 2 fatal accidents in less than 6 months.”

               In response, Boeing stock declined 11%, falling from $422.54 on March 8, 2019 to

$400.01 per share at the close of trading on March 11, 2019, and continued its fall to close at

$375.41 on March 12, 2019 on high volume. In total, over the two-day trading period following

the Ethiopian Airlines Crash, Boeing’s stock price plummeted $47.13 per share, erasing $26.63

billion of Boeing market capitalization – the Company’s worst two-day drop in a decade.




10
   These announcements occurred prior to the opening of the market on March 11, the first day of
trading following the Ethiopian Airlines Crash.

                                                76
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 84 of 170 PageID #:2942




               On March 11, 2019, Defendants made false reassuring statements to mitigate the

market’s negative reaction to the devastating news of the crash and the worldwide groundings.

That day, Boeing issued “A Statement on 737 MAX Software Enhancement,” stating that “Safety

is a core value for everyone at Boeing and the safety of our airplanes, our customers’ passengers

and their crews is always our top priority.” It also said that “[t]he 737 MAX is a safe airplane,”

and “MCAS does not control the airplane in normal flight; it improves the behavior of the

airplane in a non-normal part of the operating envelope.” Defendants stated that the software

fix was something that Boeing had been working on “[f]or the past several months and in the

aftermath of the Lion Air [Crash].”

               Boeing’s March 11, 2019 statement also called into question the pilots’ capabilities

(as Defendants did after the Lion Air Crash), stating:

       Boeing’s 737 MAX Flight Crew Operations Manual (FCOM) already outlines an
       existing procedure to safely handle the unlikely event of erroneous data coming
       from an angle of attack (AOA) sensor. The pilot will always be able to override
       the flight control law using electric trim or manual trim. In addition, it can be
       controlled through the use of the existing runway stabilizer procedure.

Not only did Boeing assign blame for the crash on the pilots, but falsely claimed that the FCOM

“already outlines an existing procedure” to react to MCAS. Boeing concluded the note by stating,

“It is still early in the investigation, as we seek to understand the cause of the accident.”

               Boeing’s statements falsely assured investors that Defendants had the situation

under control and were promptly responding to the MAX’s safety problems.

               Defendants’ false reassurances had their desired effects.           Analysts, trusting

Defendants, downplayed concerns about Boeing’s long-term risk related to the 737 MAX crashes.

For example, on March 11, 2019, Cowen analysts, crediting Boeing’s assurances that they had

already spent months working on a software fix, minimized the plane’s grounding by foreign

regulators as “near term reputational negatives.” Cowen concluded, “The near term could look


                                                  77
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 85 of 170 PageID #:2943




worse for Boeing depending upon what the FAA does. But we don’t see this as a long term

problem; and the traveling public has had a very short memory of previous catastrophic crashes.”

                In a March 11, 2019 report, Jefferies analysts wrote, “There is likely a confluence

of events that led to both incidents with a simple scenario likely captured during flight testing and

development.”     Regarding the plane’s grounding by regulators around the world, Jefferies

cautioned that it was “Too Early to Jump to Conclusions” and that “[a]ircraft typically go through

thousands of hours of in-flight tests leading up to certification, which would likely uncover issues

around safety.” On the same day, analysts at BRG expressed disbelief that a Boeing lapse could

be to blame for the 737 MAX crashes, based upon widely accepted information about Boeing, and

wrote:

         BA aircraft (and commercial aircraft in general) are among the safest products
         manufactured. Software used on BA aircraft can’t fail. Systems have back-ups
         and back-ups have back-ups. Maintenance is mandatory and not optional. Once
         designed aircraft go through a rigorous testing process (with Government
         oversight) of every system that takes years to complete. We can’t name a product
         that goes through a more rigorous quality and safety process.

                Notably, however, on March 12, 2019, the Wall Street Journal reported that the

necessary changes to MCAS were more extensive than Defendants had previously disclosed.

Specifically, the Wall Street Journal reported that Boeing was “making an extensive change to the

flight-control system in the 737 MAX aircraft involved in October’s Lion Air Crash in Indonesia,

going beyond what many industry officials familiar with the discussions had anticipated.” The

article continued, “The change would mark a major shift from how Boeing originally designed

a stall-prevention feature in the aircraft.”

                On March 12, 2019, Defendants issued a statement concerning foreign regulators’

and airlines’ decisions to ground the 737 MAX. In that statement, Boeing said, “[W]e have full

confidence in the safety of the 737 MAX.” To reassure investors, the statement characterized the



                                                 78
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 86 of 170 PageID #:2944




737 MAX groundings around the world as “agencies and customers [making] decisions that they

believe are most appropriate for their home markets.” Boeing then said, “[B]ased on the

information currently available, we do not have any basis to issue new guidance to operators.”

Defendants continued to mislead investors by concealing what they knew about the dangers posed

by the rushed design and production of the 737 MAX and the perilous conditions the plane could

create for unsuspecting pilots.

               Notwithstanding Boeing’s confident statements, the next day, on March 13, 2019,

the FAA issued an emergency order grounding all 737 MAX planes. Then-Acting Administrator

of the FAA, Daniel Elwell, said the decision was based on analysis of flight data showing that the

“track of the Ethiopian Airlines flight was very close – and behaved very similarly – to the Lion

Air flight.”

               As noted above, it was reported that Defendant Muilenburg had personally called

the President in an attempt to circumvent the FAA. Citing two people familiar with the call, The

New York Times reported that on the call Muilenburg “made the case that the 737 MAX planes

should not be grounded in the United States.”

        B.     March 17, 2019: The Seattle Times Published A Report Revealing Flaws And
               Deception In The Certification Process For The 737 MAX

               On Sunday, March 17, 2019, the Seattle Times released an investigative report

detailing numerous critical problems with the 737 MAX’s safety features, as well as Boeing’s

manipulation of the System Safety Analysis – a different name for the Functional Hazard Analysis

submitted to the FAA, which is discussed above. The report was based on interviews with current

and former engineers directly involved with the System Safety Analysis, and stated that “the

original safety analysis that Boeing delivered to the FAA for a new flight control system on the

MAX had several crucial flaws.” The report continued, “the System Safety Analysis on MCAS,



                                                79
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 87 of 170 PageID #:2945




just one piece of the mountain of documents needed for certification, was delegated to Boeing.”

Among the Seattle Times’s other revelations were that, as discussed above in Section IV.C, the

System Safety Analysis (i.e., Functional Hazard Analysis) submitted to the FAA:

               Understated the power of the new flight control system, which was designed to
                swivel the horizontal tail to push the nose of the plane down to avert a stall. When
                the [737 MAX] planes later entered service, MCAS was capable of moving the tail
                more than four times farther than was stated in the initial safety analysis document;

               Failed to account for how the system could reset itself each time a pilot responded,
                thereby missing the potential impact of the system repeatedly pushing the airplane’s
                nose downward; and

               Assessed a failure of the system as one level below “catastrophic.” But even that
                “hazardous” danger level should have precluded activation of the system based on
                the input from a single sensor – and yet that’s how it was designed.

Notably, the article observed that “[b]oth Boeing and the FAA were informed of the specifics of

this story and were asked for responses 11 days ago, before the second crash of a 737 MAX on

March 10[, 2019].”

                The contents of the Seattle Times report on March 17, 2019 partially revealed both

the extent to which Boeing had control over the certification process, and the possibility that

Boeing had mischaracterized certain information submitted to the FAA.

                Over the following days, Bloomberg and the Wall Street Journal reported that the

DOJ has commenced a criminal investigation into Boeing after the Lion Air Crash in October

2018, which had taken on new urgency after the Ethiopian Airlines Crash. On March 18, 2019,

Barron’s published a story titled, “Why Investors May Be Underestimating Boeing’s Problems,”

which stated:

       The revelation that a grand jury is looking into safety certifications means investors
       will have to brace for more volatility. In coming months, investors will hear about
       derivative aircraft, jet design, and FAA certification. Those are topics that don’t
       usually come up when investing in commercial aerospace, so the market will
       learn together.



                                                 80
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 88 of 170 PageID #:2946




               In response, Boeing stock fell 1.77% to close at $372.28 per share on March 18,

2019, on high volume. The single-day drop erased $3.79 billion of Boeing’s market capitalization.

               Defendants continued to issue misleading statements to the market in order to

reassure investors and push back against these negative disclosures. On March 18, 2019,

Defendant Muilenburg released a letter and video reassuring the market that the 737 MAX was

safe and was just being made safer. The statement said, “Safety is at the core of who we are at

Boeing, and ensuring safe and reliable travel on our airplanes is an enduring value and our absolute

commitment to everyone.” It continued, “Work is progressing thoroughly and rapidly to learn

more about the Ethiopian Airlines accident and understand the information from the airplane’s

cockpit voice and flight data recorders.” Boeing again focused on the forthcoming software fix,

saying, “Soon we’ll release a software update and related pilot training for the 737 MAX that

will address concerns discovered in the aftermath of the Lion Air Flight 610 accident. . . . Our

entire team is devoted to the quality and safety of the aircraft we design, produce and support.”

               In addition to the letter from Muilenburg that Boeing posted on its website, there

was an accompanying video of Muilenburg delivering the message. As part of that video,

Muilenburg included statements not included on printed script, including:11

               “We’re taking action to fully reassure airlines and their passengers of the safety of
               the 737 MAX.” (1:19 – 1:27);

              “We’re also committed to making safe airplanes even safer and providing the best
               products, training and support to our global airline customers and pilots.” (1:49 –
               1:59); and



11
   The video has several clear points where multiple takes are put together for one statement,
including adjustments to the camera frame, suggesting that Defendants edited and/or reworked
Muilenburg’s statement in the video, which as noted below, does not match the printed text on
Boeing’s website directly beneath the video. See https://boeing.mediaroom.com/2019-03-18-
Letter-from-Boeing-CEO-Dennis-Muilenburg-to-Airlines-Passengers-and-the-Aviation-
Community.

                                                81
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 89 of 170 PageID #:2947




                “Our entire team stands behind the quality and the safety of the aircraft we design,
                 produce, and support. A deep sense of commitment I personally share with them.”
                 (2:30 – 2:41).

                 These statements continued to misrepresent and conceal the full truth about the

magnitude of the 737 MAX’s safety failings, including the extent to which Boeing already knew

about the risks posed to the safety of the plane and its operators and passengers, the scope of the

changes that would have to be made to make the MAX safe to fly again, and the impact of these

issues on Boeing’s business.

        C.       March 21, 2019: The New York Times Reported That Both The Lion Air And
                 Ethiopian Airlines Planes Did Not Have Safety Features Related To MCAS,
                 Because Boeing Sold Them As Optional Upgrades

                 On March 21, 2019, The New York Times reported new information to the market

in an article entitled, “Doomed Boeing Jets Lacked 2 Safety Features That Company Sold Only as

Extras.” Prior to this report, Boeing had concealed the optional nature of these seemingly critical

safety features from investors, airlines, pilots, and passengers.

                 In the March 21, 2019 article, The New York Times reported, “As the pilots of the

doomed Boeing jets in Ethiopia and Indonesia fought to control their planes, they lacked two

notable safety features in their cockpits [because] Boeing charged extra for them.” The article

explained, “Many airlines, especially low-cost carriers like Indonesia’s Lion Air, have opted not

to buy [optional features to enhance safety systems].” The article revealed that the two features

were the “angle of attack indicator” and the “disagree light.” As explained above, the former

displays the readings from the plane’s two AoA sensors, while the latter activates when the two

sensors’ data are mismatched. As quoted in the article, Bjorn Fehrm, an aeronautical engineer and

analyst at the aviation consultancy Leeham, said the two safety features “are critical, and cost

almost nothing for the airlines . . . [b]ut they’re vital for safety.”




                                                   82
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 90 of 170 PageID #:2948




               Also on March 21, 2019, ExtremeTech picked up the optional safety feature story

from The New York Times and described the revelations succinctly: “[N]ew information indicates

that Boeing sells upgrades to critical flight systems [such as MCAS] that might have improved

their overall safety – but it sells them as value-added profit centers in much the same way you

might add a stereo option to a car.”

               In response to the March 21, 2019 reports, Boeing stock fell from $376.16 per share

on March 20, 2019 down $3.46 per share to a closing price of $372.70 per share on March 21,

2019, erasing $1.95 billion of Boeing’s market capitalization.

               Defendants, however, continued to conceal the extent to which the safety problems

with the MAX, including with MCAS, were known within Boeing and would cause long delays in

the 737 MAX’s return to service.

       D.      April 5, 2019: Boeing Announced A Pullback In The 737 MAX Production
               Rate

               On April 4, 2019, Ethiopia’s Aircraft Accident Investigation Bureau released a

preliminary accident investigation report. As Ethiopian Transport Minister Dagmawit Moges told

reporters, the report indicated that “the crew performed all the procedures provided by the

manufacturer but was not able to control the aircraft.”

               In response, after the close of trading on Friday, April 5, 2019, Boeing issued a

statement from Defendant Muilenburg entitled: “We Own Safety – 737 MAX Software,

Production and Process Update.” In the statement, Muilenburg informed the market that Boeing

would be cutting production of 737 MAXs from 52 per month to 42 per month beginning in mid-

April, as well as forming a committee to review Boeing’s airplane development and design

procedures.




                                                83
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 91 of 170 PageID #:2949




               This cut partially revealed the toll the protracted groundings of the 737 MAX was

having on the Company and suggested that the Company’s fix to the plane’s software systems

would not be available as soon as Defendants had represented. Muilenburg stated, in relevant part:

       We now know that the recent Lion Air Flight 610 and Ethiopian Airlines Flight 302
       accidents were caused by a chain of events, with a common chain link being
       erroneous activation of the aircraft’s MCAS function. We have the responsibility
       to eliminate this risk, and we know how to do it. As part of this effort, we’re making
       progress on the 737 MAX software update that will prevent accidents like these
       from ever happening again. . .

       We’re also finalizing new pilot training courses and supplementary educational
       material for our global MAX customers . . .

                                         *       *       *

       Safety is our responsibility, and we own it. When the MAX returns to the skies,
       we’ve promised our airline customers and their passengers and crews that it will be
       as safe as any airplane ever to fly.

               Analysts reacted negatively to Boeing’s planned slowdown in production for the

737 MAX. In an April 8, 2019 report, Bank of America (“BofA”) analysts downgraded Boeing

from Buy to Neutral. They stated that the solution to Boeing’s problems was “[n]ot just a simple

software fix.” The BofA analysts stated their concern that the production delay “likely means that

the 737 delay could last longer than previously expected.”         The BofA analysts continued,

“Considering the operating risks in Boeing’s business made apparent by recent events regarding

the 737 MAX, we expect Boeing to trade at its historical 25% discount to the S&P 500 on a Price

to Free Cash Flow Basis instead of closer to parity.” The BofA analysts added, “The reputational

loss [to Boeing] from these [crashes] could erode long-term market share and pricing power of the

737 MAX.”

               In response to Boeing’s April 5, 2019 announcement, the price of Boeing stock

plummeted 4.4%, from $391.93 per share on April 5 to $374.52 per share on April 8, on high

trading volume. This drop erased $9.84 billion in shareholder value.


                                                84
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 92 of 170 PageID #:2950




              Despite this announcement, Defendants continued to mislead investors about the

737 MAX’s return-to-service timeline and the prospects that the plane’s problems would be

corrected by a simple software fix. Defendants also continued to conceal how much they knew

about the risks posed by the rushed production of the 737 MAX.

         E.   June 2019 Paris Air Show: Unbeknownst To Investors, Then-Acting FAA
              Administrator Elwell Told Defendant Muilenburg To “Slow Down” Public
              Statements About The MAX’s Return-To-Service Timeline

              In an event that went undisclosed until the Wall Street Journal published the details

on December 22, 2019, Defendant Muilenburg had a private meeting with then-Acting

Administrator of the FAA, Daniel Elwell, on the sidelines of the Paris Air Show, which occurred

June 17-23, 2019. As the Wall Street Journal later reported, Muilenburg and Elwell “met inside

the back of a parked military plane” instead of Boeing’s headquarters at the air show, thereby

avoiding public scrutiny. During the meeting, Elwell told Muilenburg (and Boeing) “to slow down

its talk of progress [on the 737 MAX] [to] giv[e] the FAA space to exercise scrutiny.” According

to the Wall Street Journal article, “FAA officials had grown impatient with Boeing’s optimism

about putting the MAX back in service.” According to people familiar with the meeting, as

reported in the Wall Street Journal, Muilenburg told Elwell, “You’re right. We’re not going to

push.”

              Notwithstanding this conversation, just days later, on June 26, 2019, Muilenburg

announced at the Aspen Ideas Festival that Boeing was “still . . . looking at” the end of summer

2019 (or one-two months in the future) as the “timeframe” for the 737 MAX returning to

operation. This statement minimized the problems facing Boeing and reassured the market that

the issues with the MAX were soon be resolved.




                                               85
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 93 of 170 PageID #:2951




        F.      June 26, 2019: The FAA Announced It Discovered A Software Flaw During
                Testing

                On June 26, 2019, after the close of the trading day, the FAA issued a statement on

Twitter regarding a “potential risk that Boeing must mitigate” related to the 737 MAX’s software

before the FAA would certify the MAX to fly again. Boeing responded with the following official

statement:

        The safety of our airplanes is Boeing’s highest priority. During the FAA’s review
        of the 737 MAX software update and recent simulator sessions, the [FAA]
        identified an additional requirement that it has asked the company to address
        through the software changes that the company has been developing for the past
        eight months. The FAA review and process for returning the 737 MAX to
        passenger service are designed to result in a thorough and comprehensive
        assessment. Boeing agrees with the FAA’s decision and request, and is working
        on the required software. Addressing this condition will reduce pilot workload by
        accounting for a potential source of uncommanded stabilizer motion. Boeing will
        not offer the 737 MAX for certification by the FAA until we have satisfied all
        requirements for certification of the MAX and its safe return to service.

Boeing published this statement on its website and filed a Form 8-K with the SEC on June 26,

2019, stating, “The Boeing Company agrees with the FAA’s decision and request, and is working

on the required software to address the FAA’s request. Boeing will not offer the 737 MAX for

certification by the FAA until we have satisfied all requirements for certification of the MAX and

its safe return to service.”

                In a June 26, 2019 article following the statements from the FAA and Boeing, the

Wall Street Journal reported that the software system in question “is related to an emergency

procedure that can be used to address MCAS malfunctions.” On the same day, CNN wrote, “In

simulator tests [of the MCAS software fix], government pilots discovered that a microprocessor

failure could push the nose of the plane down toward the ground.” According to a CNN source,

“it was difficult for the test pilots to recover in a matter of seconds [after the failure of the

microprocessor] . . . that’s an unreasonable risk.” Similarly, on June 26, 2019, the Associated



                                                86
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 94 of 170 PageID #:2952




Press reported that the “setback could delay the plane’s return to service by an extra one to three

months.”

               Analysts reacted negatively to these disclosures. On June 27, 2019, analysts from

Canaccord Genuity wrote, “What was initially hoped to be a simple MCAS software fix that would

not involve significant engineering labor on the existing MAX fleet now appears to be more

complicated.” Similarly, in a June 27, 2019 note, analysts at Jefferies wrote of the software

upgrades the FAA requested after testing MCAS: “The timing and extent of the change is

unknown.”

               In response to the revelation that the FAA had asked Boeing to address another

software fix after discovering the flaw during MCAS testing and the further delay this would cause

for the plane’s return to service, the price of Boeing stock fell 2.9%, from $374.94 per share on

June 26, 2018, to $364.02 per share on June 27, 2019, on high trading volume – causing a $6.14

billion market capitalization drop.

               On July 18, 2019, Boeing issued a press release stating that it “continues to work

with civil aviation authorities to ensure that 737 MAX’s safe return to service,” and –

notwithstanding Muilenburg’s discussion with Acting FAA Administrator Elwell the month before

– “has assumed that regulatory approval of 737 MAX return to service in the U.S. and other

jurisdictions begins early in the fourth quarter 2019.” Investors believed the Company, with

Cowen & Co., for example, stating that it “assume[d] BA’s timing comments are based on its

extensive interactions with regulators.”

       G.      July 24, 2019: Boeing Disclosed The Possibility That 737 MAX Production
               Could Be Halted

               On July 24, 2019, Boeing held its earnings call for the second quarter of 2019 and

disclosed for the first time that it might entirely halt production of the 737 MAX if the grounding



                                                87
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 95 of 170 PageID #:2953




continued. At the beginning of the investor call, Defendant Muilenburg raised, for the first time,

the specter that a longer return-to-service timeline than Boeing had been publicly representing

could in turn lead Boeing to halt production of the 737 MAX altogether. Specifically, Muilenburg

said, “As our efforts to support the 737 MAX’s safe return to service continue, we will continue

to assess our production plans. Should our estimate of the anticipated return to service change, we

might need to consider possible further rate reductions or other options, including a temporary

shutdown of the MAX production.” Defendant Smith also touched upon the prospect of a 737

MAX production shutdown, a first for the Company, stating: “We will continue to assess our

current production plans and incorporate any new insights such as return-to-service time line,

storage capacity and supply chain in our analysis to help inform us on whether further rate

reduction or other options, including a temporary shutdown of the MAX production, are needed.”

               These disclosures partially revealed to the market that, contrary to Defendants’

repeated assertions that the 737 MAX would soon return to service, the grounding may be extended

further, and that Boeing was considering suspending MAX production, which would cause the

Company to incur massive expenses until the planes were re-certified and production resumed.

               Analysts were surprised following Boeing’s July 24, 2019 earnings call and reacted

negatively. In a July 24, 2019 report, Canaccord Genuity analysts wrote that the announcement

reflected “737 MAX pressure” and that “[t]here is clearly still some timing risk around the [return

to service] for the MAX, and [Boeing] management struck a more cautious tone.” Similarly,

Morgan Stanley wrote on the same day: “We’re still not in the clear on the 737 MAX and there

remains a wide-range of outcomes.”

               In spite of the announcement of a potential suspension of production, Defendants

continued to conceal the complete truth about the known safety risks of the 737 MAX – which




                                                88
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 96 of 170 PageID #:2954




were well known to Defendants from at least the beginning of the Class Period. On the July 24,

2019 earnings call, Muilenburg stated that Defendants were working with regulators to “ensure

the 737 MAX’s safe return to service” without revealing that Defendants knew what caused the

two crashes and that the magnitude of the MAX’s safety failings would continue to prevent the

MAX from returning to service. Defendants’ continued concealment of the whole truth continued

to keep Boeing’s stock price artificially high.

                  After the market closed on July 24, 2019, The New York Times published an article

quoting aviation industry experts’ analysis of Boeing’s announcement.           Scott Hamilton, a

managing director of Leeham Company, stated that the repeated discussion of the shutdown during

the investor call was significant: “The fact that they talked about it for the first time is

significant. . . . When Boeing starts talking about a topic and repeating it, especially in the same

event, they’re signaling that something is going on.”

                  In response to the Company’s July 24, 2019 disclosure, Boeing stock declined

nearly 7%, falling from $373.07 per share on July 23 to $361.43 per share on July 24, 2019, then

continuing to fall to close at $348.09 per share on July 25, 2019, on high volume. In total, over

the two-day trading period following Boeing’s second-quarter earnings call on July 24, 2019 when

the Company announced that a complete shutdown of the 737 MAX production line was possible,

Boeing’s stock price plummeted $24.98 per share, erasing $14.06 billion of Boeing’s market

capitalization.

       H.         August 2019: The FAA And Representatives From Aviation Regulators In
                  Europe, Brazil, And Canada Traveled To Seattle to Meet With Boeing
                  Officials

                  In August 2019, Defendant Muilenburg further damaged the increasingly frayed

relationship between Boeing and the FAA. As later reported by The New York Times in a

December 22, 2019 article, in August 2019, the FAA and regulators from Europe, Canada, and


                                                  89
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 97 of 170 PageID #:2955




Brazil travelled to Boeing’s Seattle offices “expecting to review reams of documentation

describing the software update for the Max.” Instead, according to the report, “the Boeing

representatives offered a brief PowerPoint presentation, in line with what they had done in the

past.” The head of the FAA’s certification office, Earl Lawrence, summed up the meeting, and

regulators’ disappointment with the presentation, saying, “We were looking for a lot more rigor in

the presentation of the materials. They were not ready.”

       I.      October 11, 2019: Defendant Muilenburg Stripped Of Role As Chairman Of
               The Board

               On October 11, 2019, in a press release, Boeing issued a press release announcing

that it was splitting the role of Chairman and CEO. Defendant Muilenburg would serve as CEO

to “focus full time on running the company as it works to return the 737 MAX safely to service.”

Then-lead independent director David L. Calhoun was tapped to serve as non-executive Chairman.

       J.      October 18 and 21, 2019: The New York Times Published A Series Of 2016 Text
               Messages Between 737 MAX Test Pilots Revealing That Defendants Hid
               MCAS Problems From Regulators

               On October 18, 2019, in an article titled “Boeing Pilot Complained of ‘Egregious’

Issue with 737 Max in 2016,” The New York Times published the series of text messages detailed

above at Paragraphs 116-121 showing that in 2016 Boeing and top officials at the Company knew

MCAS was making the 737 MAX difficult to control in flight simulators. The transcript had

been given to lawmakers the night before and to the DOJ months before, as part of a production

from Boeing to the DOJ during a criminal investigation. The House Transportation Committee

released the documents, which included damning admissions by key Boeing employees that

Defendants improperly manipulated the MAX certification process and misled the FAA. In a

September 20, 2016 conversation between Patrik Gustavsson of the MCAS testing unit and one of

his colleagues, the Boeing employees exclaimed “oh sweet jesus . . . this is a joke . . . this airplane



                                                  90
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 98 of 170 PageID #:2956




is ridiculous,” asked “what havent they told us yet??? Whats next?,” complained that “We are

having issues with every update we do” and “it seems like they’ll never get it right[-] fix one thing,

break three others,” and wrote “OMG!!!! What the hell,” and “This is just ridicoulus [sic] . . . no

one wants to fix anything.”

               Likewise, as discussed above, “top Boeing pilot” Mark Forkner described to

Gustavsson his difficulty in using MCAS. As The New York Times reported, “Mr. Forkner was

the chief technical pilot for the Max and was in charge of communicating with the F.A.A. group

that determined how pilots would be trained before flying it. He helped Boeing convince

international regulators that the Max was safe to fly.” Forkner’s and Gustavsson’s exchanges

were incredibly damning, including that “MCAS was running rampant in the sim.”

               In connection with the publication of the transcript, The New York Times noted,

“The existence of the messages strike at Boeing’s defense that it had done nothing wrong

regarding the Max because regulators had cleared the plane to fly, and potentially increases the

company’s legal exposure as it faces civil and criminal investigations and multiple lawsuits related

to both crashes.” Jon Weaks, president of the Southwest Airlines Pilots Association, said in a

statement on October 18, 2019 “This is more evidence that Boeing misled pilots, government

regulators and other aviation experts about the safety of the 737 Max.”

               Lawmakers reacted harshly to learning that Defendants had misrepresented and

concealed important information about the MAX’s and MCAS’s operations and safety. “This is

the smoking gun,” Representative Peter DeFazio, Democrat of Oregon and chairman of the House

Transportation and Infrastructure Committee, said in an interview, as reported by The New York

Times, “This is no longer just a regulatory failure and a culture failure. It’s starting to look like

criminal misconduct.” Senator Richard Blumenthal, Democrat of Connecticut, said he expected




                                                 91
 Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 99 of 170 PageID #:2957




answers from Boeing’s chief executive and board of directors: “They must be held accountable if

Boeing was deceptive or misleading in failing to report safety concerns . . . What these reports

indicate is that Boeing’s own employees lied and concealed the truth.”

               Also, on October 18, 2019, Administrator of the FAA, Stephen Dickson, wrote a

letter to then-CEO of Boeing Defendant Muilenburg, expressing alarm and dismay at the content

of the text messages. The brief letter stated:

       Dear Mr. Muilenburg:

       Last night, I reviewed a concerning document that Boeing provided late yesterday
       to the Department of Transportation. I understand that Boeing discovered the
       document in its files months ago. I expect your explanation immediately regarding
       the content of this document and Boeing’s delay in disclosing the document to its
       safety regulator.

               According to the Wall Street Journal, FAA Administrator Dickson called

Defendant Muilenburg after the House committee released the Forkner messages and said that

Defendants’ withholding of the documents for as long as they did “would effectively invite stricter

regulation.” The report cited people familiar with the conversation who said FAA Administrator

Dickson told Muilenburg, “You’re forcing my hand.”

               Analysts at J.P. Morgan reacted negatively to the revelation of Forkner’s messages,

which Boeing had concealed from the FAA for months, and the impact these incendiary messages

would have on the 737 MAX’s return to service and Boeing’s credibility with the FAA. In a report

published on October 18, 2019, J.P. Morgan analysts wrote:

       From a stock perspective, we believe one key issue around the news of Boeing’s
       disclosure to the FAA of internal messages highlighting MCAS problems and
       indicating that an employee misled the Agency is the impact on the 737 MAX
       return to service timeline. From a technical perspective, the revelation need not
       affect the timing but, in our view, there is a political / public relations aspect of
       returning the MAX – Boeing, regulators, and carriers have to sell the technical and
       cultural changes credibly – and while the impact is difficult to quantify, the news
       is negative. Another important issue is Boeing management, with the House
       Transportation and Infrastructure Chairman already calling for a new CEO and


                                                 92
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 100 of 170 PageID #:2958




       other changes at Boeing as a result of today’s news. We have no immediate
       conclusions here but will watch developments carefully and would note that as a
       leading defense contractor and the country’s top manufacturing exporter, we
       think opinions of Boeing within the broader US government do matter.

              Over the following days – a weekend – multiple press reports highlighted that the

messages showed Boeing knew about the MCAS problems well before a single 737 MAX entered

service. On October 18, 2019, The International Business Times – U.S. ed. published an article

titled, “Texts Reveal Boeing Knew About System Errors With The 737 MAX in 2016.” That same

day, the Washington Post ran a story titled “Messages show Boeing [ ] knew in 2016 of problems

that turned deadly on the 737 Max,” which included a passage that reads, “Instant messages

between two high-level Boeing employees in 2016 indicate the company was aware of major

problems with an automated feature on the 737 Max jet that has been implicated in two deadly

crashes.”

              Additional press reports followed, stating that the text messages released the

previous Friday showed Boeing knew about the MCAS issues. On October 20, 2019, The Daily

Telegraph published a story titled, “Boeing’s Board in Emergency Meetings as 737 MAX Crisis

Deepens” noting that senior Boeing executives and the board of directors were beginning a second

day of emergency meetings in Texas following release of the text messages.

              On October 20, 2019, analysts reacted negatively to the text messages by

downgrading their rating for Boeing stock. First, in a report titled “Downgrade to Neutral: New

disclosures alter our view,” UBS wrote:

       The most recent disclosure of new internal communications by Boeing to the
       FAA could well warrant a relook by the FAA at other information provided by
       the manufacturer. We are less concerned with the safety of the 737 MAX
       following an intensive relook at the overall certification process, but the reality that
       certification is partially subjective gives us pause to our prior assessment.

                                          *       *       *



                                                 93
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 101 of 170 PageID #:2959




       The recent revelation of texts and emails from pilots in the test program has
       introduced an “AND” qualifier into our view on Boeing’s potential corporate
       responsibility. While we still see a set of poor technical assumptions as being at
       the core, those are now coupled with reported instances of potential regulatory
       incomplete disclosure. It’s impossible for us to understand the extent (or intent)
       of any potential under-reporting of data to the FAA, but poor technical
       assumptions now have to be combined with a view that there could be evidence
       to support a perception of and potential action of incomplete disclosure (whose
       disclosure could have resulted in a higher hurdle for the underlying poor hazard
       assessment to clear).

                                          *      *       *

       Further, the public, tersely worded letter [on October 18] from the FAA
       Administrator to the CEO of Boeing is a clear sign that these new disclosures
       likely hit a nerve at the regulator and have to be viewed as incremental to the 737
       MAX return to service. From a process standpoint, the FAA has been a firm
       defender in open forums of the overall MAX certification process (to congress, to
       customers and to global regulators). Following the recent revelation of texts and
       emails from a former test pilot, Boeing may have isolated itself in the last throes
       of potentially returning the 737 MAX to service.

               Similarly, Credit Suisse released an analyst report on October 20, 2019

downgrading Boeing stock. Credit Suisse wrote, “[We] can no longer defend the [Boeing] shares

in light of the latest discoveries [ ], which significantly increase the risk profile for investors.”

Credit Suisse further noted that the 737 MAX’s return to service “could be obstructed as the

messages may shatter the fragile trust” between aviation regulators and Boeing.

               Also on October 20, 2019, the Wall Street Journal reported that a three-year-old

survey (which was only then being disclosed publicly) showed how management pressure on

engineers and pilots in the commercial airlines unit at Boeing may have compromised safety. The

story reported that investigators for the U.S. House of Representatives Transportation and

Infrastructure Committee, while investigating the design and certification of the 737 MAX,

received details of a 2016 internal Boeing survey showing “roughly one in three employees who

responded felt ‘potential undue pressure’ from managers regarding safety-related approvals by

federal regulators across an array of commercial planes.” The article noted, “Such conflicts could


                                                 94
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 102 of 170 PageID #:2960




become problematic, the survey found, when it came to Boeing engineers who played dual roles

designing certain systems on behalf of the plane maker and then certifying the same systems as

safe on behalf of the Federal Aviation Administration, as part of a decades-old agency program

that effectively outsources such regulatory work to company employees.” The survey coincided

with the time period during which the text messages discussed above were exchanged relating to

problems with MCAS.

               On Monday, October 21, 2019, the price of Boeing shares continued to slide

following the new revelations. That same day, analysts issued downgrades of Boeing stock.

               Following the October 18, 2019 reports, Boeing stock fell 6.79%, down $25.06 per

share on October 18, 2019, erasing $14.1 billion of Boeing’s market capitalization. The market

continued to react on October 21, 2019, including with at least two analyst downgrades. Boeing

stock fell 3.76%, down $12.94 per share on October 21, 2019, erasing $7.28 billion of Boeing’s

market capitalization. The two-day drop caused by revelation of the Forkner messages resulted

in a total loss of $21.38 billion from Boeing’s market capitalization.

       K.      October 29-30, 2019: Defendants Were Rebuked By Congress For Telling The
               Public “Half-Truths” About The MAX’s Safety And Withholding The
               Forkner Emails From Congress

               As discussed above, on October 29, 2019, Defendant Muilenburg testified before

the Senate Commerce, Science, and Transportation Committee in a hearing titled “Aviation Safety

and the Future of Boeing’s 737 MAX,” alongside John Hamilton, Vice President and Chief

Engineer for BCA. The two also testified the next day before the House Transportation and

Infrastructure Committee. Legislators lambasted Muilenburg and Boeing for lying to the public

about the safety of the 737 MAX. Lawmakers and other industry experts issued scathing rebukes

to Defendants. In those hearings, Defendant Muilenburg was excoriated for misleading the public

and regulators about the MAX’s safety, including Boeing’s decision to omit MCAS from the 737


                                               95
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 103 of 170 PageID #:2961




MAX flight manual, Boeing’s misrepresentations about the Disagree Alert, and Boeing’s

reassuring statements about MCAS’s safety in the wake of the Lion Air Crash.

               For example, at the October 29, 2019 Senate hearing, Senator Ted Cruz upbraided

Muilenburg, pointing out that Muilenburg either knew, or was reckless in failing to know, that the

MAX was unsafe well before the Ethiopian Airlines Crash, because the damning Forkner messages

had been reviewed by Boeing before they were produced to the DOJ in February 2019:

       You’re the CEO, the buck stops with you. Did you read this document and how
       did your team not put it in front of you, run in with their hair on fire saying we’ve
       got a real problem here? How did that not happen and what does that say about
       the culture at Boeing if they didn’t give it to you and you didn’t read it and if you
       didn’t say I want to read and see what happens? . . .

       How - how did you not, in February, set out a nine alarm fire to say we need to
       figure out exactly what happened, not after all the hearings, not after the pressure,
       but because 346 people have died and we don’t want another person to die?

               During the course of the Senate hearing, Muilenburg admitted that, as Boeing’s

own personnel had warned since at least 2014, the Company should not have designed MCAS to

be vulnerable to a single AoA malfunction. Muilenburg testified, “There are some things we could

improve. One of them is [ ] going to a dual sensor feed instead of single as well as limiting MCAS

to a single action or activation during a flight.” Moreover, senators rebuked Defendants for the

decision not to include MCAS in the 737 MAX FCOM or provide training to pilots so they could

safely respond to the MCAS failures.

               In the Senate hearing, Senator Amy Klobuchar forcefully made the point that it is

not “acceptable to have pilots flying planes without knowing about these key automated flight

systems,” with Senator Richard Blumenthal characterizing Boeing’s decision not to describe

MCAS in the FCOM as a “Boeing policy” to “turn those planes into flying coffins.”

               Senator Tammy Duckworth, a former U.S. Army helicopter pilot, and the junior

senator from Boeing’s home state, criticized Boeing for failing to tell “the whole truth” about


                                                96
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 104 of 170 PageID #:2962




MCAS, including to airline customers, despite knowing that the system could erroneously take

over the entire aircraft and would be difficult for pilots to counteract. Speaking directly to

Defendant Muilenburg, Senator Duckworth said, “[Y]ou put an MCAS system into an aircraft, you

didn’t tell the pilots that this MCAS system was in there.” She said, “[T]he pilots did exactly what

they were supposed to do, but five seconds later, especially if that sensor is still stuck, it overrides

what the pilot does and it pushes the nose right back down again – three seconds. A pilot’s best

friend is time and altitude. And on take-off, there is no altitude. And he’s got no time. You set

those pilots up for failure.” Senator Duckworth accused Boeing of withholding information about

how MCAS overruled pilots for years, declaring, “You knew [MCAS created issues] in 2016. You

knew in 2016 that this was happening. And your team at Boeing decided we didn’t need to fix

that because of “‘well-understood piloting techniques and procedures.’” Senator Duckworth

concluded her statement by saying, “You have not told us the whole truth and these families [of

crash victims] are suffering because of it.”

                Like the senators at the previous day’s hearing, House members criticized Boeing.

The committee members did not accept Muilenburg’s repeated platitude that “[t]he only

sustainable business model for Boeing is safety,” with Representative Jesus Garcia stating, “It is

pretty clear there has been a culture of greed and compromising safety at Boeing.”

                In addition, Representative Colin Allred said, “[I]t’s the purposeful concealment

that bothers so many of us, with an obvious financial drive behind it.” Representative John

Garamendi similarly told Muilenburg, “You are driving profit, you are not driving quality, and

you sure as heck not driving safety.” Representative Greg Stanton blasted Muilenburg for “the

top brass at Boeing too often put[ting] . . . profit before people’s lives.” And Representative




                                                  97
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 105 of 170 PageID #:2963




Debbie Mucarsel-Powell declared, “[T]his is a story about a company cutting corners, taking

shortcuts, sacrificing safety to achieve maximum profits.”

               Boeing did not issue any formal statements following Muilenburg’s appearance

before either Congressional committee.

       L.      Early November 2019: Defendants Placed Undue Pressure On The FAA To
               Improperly Accelerate The MAX Certification Timeline

               According to The New York Times, Defendant Muilenburg was still, in early

November 2019, pressing the FAA on the 737 MAX’s return-to-service timeline. He did so despite

several prior warnings from the regulator, including (a) Elwell’s instruction at the June 2019 Paris

Air Show for Boeing to stop publicly representing any return-to-service timeline, (b) Defendants’

failed August meeting with regulators, and (c) the opprobrium from FAA Administrator Dickson

after the Forkner messages were released in October. Undeterred, as reported by The New York

Times, in November 2019, Muilenburg called FAA Administrator Dickson “to ask whether he

would consider allowing the company to begin delivering airplanes before they were cleared to

fly.” An FAA spokesman told The New York Times that FAA Administrator Dickson responded

that he “would look into it but made no commitments” – in other words, Dickson refused to give

Muilenburg the concessions he was requesting.

               Then, without any further information or response from the FAA or Administrator

Dickson, Boeing issued a “737 MAX Progress Report” on Monday, November 11, 2019, which

included a statement that Boeing may secure re-certification of the MAX and deliver planes to

customers as soon as the next month:

       Boeing continues to target FAA certification of the MAX flight control software
       updates during this quarter. Based on this schedule, it is possible that the
       resumption of MAX deliveries to airline customers could begin in December, after
       certification, when the FAA issues an Airworthiness Directive rescinding the
       grounding order.



                                                98
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 106 of 170 PageID #:2964




FAA Administrator Dickson, frustrated, told colleagues that he never agreed to the December

timeline, as Boeing’s press release suggested, and that he “felt as though he was being

manipulated” by Muilenburg.

       M.      December 12, 2019: FAA Administrator Informed Defendant Muilenburg 737
               MAX Would Not Be Clear To Fly Until 2020

       301.    Boeing’s November 11 public announcement was a bridge too far for the FAA. As

The New York Times later discussed in a December 22, 2019 article titled “At Boeing, C.E.O.’s

Stumbles Deepen a Crisis,” on December 12, 2019, the FAA held a “tense, private” meeting with

Muilenburg in Washington, D.C. During the meeting, according to The New York Times, “the

head of the Federal Aviation Administration reprimanded Boeing’s chief executive for putting

pressure on the agency to move faster in approving the return of the company’s 737 Max jet.”

Similarly, USA Today reported that at the meeting, “FAA Administrator Steve Dickson chastised

Muilenburg for suggesting the plane would be recertified [in 2019].” The Seattle Times

published an article on the same day of the meeting, titled, “As the 737 MAX’s return slips out to

mid-February, FAA boss tells Boeing CEO to back off predictions,” and characterized the meeting

as a “starkly direct rebuke to Boeing.” In a subsequent article, the Seattle Times wrote that

“Dickson delivered an unusually blunt dressing down to Muilenburg in person.” Following the

December 12, 2019 meeting, according to the Seattle Times and other outlets, the FAA then made

its warning to Muilenburg public by explaining in a note to Congress:

       Boeing continues to pursue a return-to-service schedule that is not realistic due
       to delays that have accumulated for a variety of reasons . . . More concerning, the
       Administrator wants to directly address the perception that some of Boeing’s
       statements have been designed to force the FAA into taking quicker action.

The Seattle Times described FAA Administrator Dickson’s note as “an extraordinary rebuke.”




                                               99
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 107 of 170 PageID #:2965




        N.     December 16, 2019: Boeing Announced 737 MAX Production Would Be
               Halted Entirely, Revealing The Depth of The Issues Surrounding The
               Troubled Plane

        302.   After trading hours on December 16, 2019, Boeing issued a press release

announcing that it was suspending production of the 737 MAX.             Noting that Boeing had

approximately 400 737 MAX planes in storage, the Company announced, “[W]e have decided to

prioritize the delivery of stored aircraft and temporarily suspend production on the 737 program

beginning [in January 2020].”

        303.   Analysts reacted negatively to Boeing’s announcement of a production halt for the

737 MAX with no clear timeline for its duration. On December 16, 2019, analysts at Jefferies

wrote that the “Halt to Production with No Timeline Creates Timing Abyss.” Similarly, on the

same day, UBS analysts wrote about the production shutdown, saying, “Compounding the lack of

certainty on the schedule is the approaching high season for airlines after which their urgent need

for aircraft delivery fades.”

        304.   Based on the continued analysis of the December 16, 2019 disclosures and Boeing’s

announcement that 737 MAX production would be halted for an undefined amount of time,

Boeing’s stock price fell 4.3%, down $14.67 per share on December 16, 2019, to close at $327.00

per share. The single day drop erased $8.26 billion of Boeing’s market capitalization.

        305.   In all, disclosures related to the magnitude of the safety failings inherent in the

design and manufacture of the 737 MAX caused an enormous destruction of Boeing shareholder

value. As a result of the disclosure of the truth of Defendants’ fraud, Boeing common shares

declined from a Class Period high of approximately $446.01 per share to a closing price of $327.00

on December 17, 2019, a decline of nearly 27%.




                                               100
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 108 of 170 PageID #:2966




VI.    POST-CLASS PERIOD DEVELOPMENTS

       A.      Defendant Muilenburg And Counselor To The Board J. Michael Luttig
               Abruptly Departed the Company

       306.    On December 22, 2019, a week after Boeing announced that it was halting

production of the 737 MAX without any timetable for a return to service, the Boeing Board fired

Defendant Muilenburg. The Board’s move came two months after it had stripped Muilenburg of

his Chairman role and as the deterioration of Boeing’s relationship with the FAA continued apace.

       307.    As discussed above, Muilenburg’s and Boeing’s ongoing false and misleading

statements regarding the 737 MAX’s return-to-service timetable had flatly ignored the FAA’s

repeated private requests that the Company refrain from issuing any estimates.

       308.    News outlets published numerous reports attributing Muilenburg’s departure to the

737 MAX crashes and Muilenburg’s continued misrepresentations of Boeing’s progress to get the

planes back in the air. For instance, CNBC wrote, “What did Muilenburg in was repeated claims

that regulators would return the plane to service in the fourth quarter and a dressing down in

Washington by FAA administrator Steve Dickson.”

       309.    Three days after Muilenburg’s firing, on December 26, 2019, Boeing announced

the departure of J. Michael Luttig, who served as the Company’s General Counsel from 2006 until

being named Counselor and Senior Advisor to the Board in May 2019, and with whom

whistleblower Pierson had discussed his concerns. When Boeing announced Luttig’s role as

Counselor and Senior Advisor to the Board, the Company stated that Luttig would “manage all

legal matters associated with the Lion Air Flight 610 and Ethiopian Airlines Flight 302 accidents.”

Discussing Luttig’s departure, the Wall Street Journal noted that Luttig was a “close adviser to

ousted CEO Dennis Muilenburg.” On December 29, 2019, Bloomberg reported that “Luttig’s




                                               101
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 109 of 170 PageID #:2967




departure adds to the management turmoil at Boeing as the nine-month grounding of the [737

MAX] drags on.”

       310.    Following Muilenburg’s ouster, Defendant Smith served as interim CEO until

former Chairman of the Board David Calhoun assumed the role of CEO on January 13, 2020.

       B.      Boeing Finally Publicly Endorsed MCAS Simulator Training For 737 MAX
               Pilots

       311.    As discussed above in Paragraphs 52-62, Boeing’s fraudulent scheme grew in part

out of its insistence that the 737 MAX could be certified under the old 737 type certificate, and

that no MAX-specific simulator training was necessary for pilots. In a January 7, 2020 press

release, Boeing admitted what it had long fought to deny – that simulator training was necessary.

In an article that day titled “In Reversal, Boeing Recommends 737 Max Simulator Training for

Pilots,” The New York Times reported that, although the MAX was purportedly “designed to save

airlines the expense of training their pilots on flight simulators” and even “after two crashes killed

346 people last year, Boeing argued in conversations with the Federal Aviation Administration

that simulator training was not necessary.” The article continued:

       Now, after a worldwide grounding has cost the company billions of dollars over
       nearly 10 months and caused it to temporarily halt the production of the Max,
       Boeing has reversed course. On Tuesday, the company said it would recommend
       that pilots train in flight simulators before flying the Max.

       The F.A.A. said it would consider Boeing’s recommendation, adding in a statement
       that it was “following a thorough process, not a set timeline, to ensure that any
       design modifications to the 737 Max are integrated with appropriate training and
       procedures.” . . .

       Simulator training will add another issue for many airlines, which have struggled
       with mounting losses throughout the Max crisis. It could delay the return of the
       Max even after regulatory approval. It will make it more difficult for airlines to
       schedule pilots and planes. And they may need to buy new, multimillion-dollar
       simulators to train pilots who are not already flying the 737 NG, the predecessor to
       the Max. . . .




                                                 102
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 110 of 170 PageID #:2968




       “This erodes one of the key selling points of the Max in the first place,” Jonathan
       Raviv, an analyst for Citi, said in a research note.

       C.     Boeing Released Further Astonishing Internal Messages Highlighting the
              Company’s Cavalier Attitude Regarding the Safety of the 737 MAX

       312.   On January 9, 2020, Boeing released to Congress a new set of astonishing internal

messages in which Boeing employees mocked the FAA and openly discussed concerns with the

safety of the 737 MAX. In a January 9, 2020 report, The New York Times published a number of

the most disturbing messages. For instance, regarding the FAA, in a 2018 text message, one

employee wrote, “I still haven’t been forgiven by God for the covering up [from the FAA] I did

last year.” Describing FAA officials watching a presentation from Boeing in a text message from

2015, a Boeing employee implied the complexity of the presentation was out of the FAA officials’

reach, saying, “[I]t was like dogs watching TV.” In a text message conversation from 2017, a

Boeing employee complained, “who cares when you’re exhausted . . . I’m friggin delirious

dude . . . between this [flight management computer] crap, the [redacted] issue, and everything

else I’m spent.” The employee then stated that the “737 group” needed “some time off,” and “the

rest of the slackers can pick up our work!,” before writing of the 737 MAX, “This airplane is

designed by clowns, who are in turn supervised by monkeys.” Finally, in a pre-Lion Air Crash

2018 email questioning the 737 MAX’s safety, an employee asked a colleague, “Would you put

your family on a Max simulator trained aircraft? I wouldn’t.” The recipient replied, “No.”

       313.   Among these messages were redacted chats from June 5, 2017 in which two

employees discussed Lion Air’s request for more training on the 737 MAX, as reported by

Bloomberg on January 13, 2020. A Boeing employee wrote, “Now friggin Lion Air might need a

sim to fly the MAX, and maybe because of their own stupidity. I’m scrambling figure out how to

unscrew this now! idiots [sic].” A second employee responded, “WHAT THE F%$&!!!!!”




                                              103
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 111 of 170 PageID #:2969




       D.      Boeing Announced Its First Annual Loss Since 1997 And Disclosed An SEC
               Investigation Related To The 737 MAX Crashes And The Company’s
               Disclosures Related To The Planes’ Safety

       314.    On January 29, 2020, Boeing announced its first annual net loss since 1997. Boeing

disclosed that the 737 MAX-related delays and grounding costs had exceeded $18 billion and the

Company’s revenues had plummeted to $17.11 billion, a 39.7% drop from 2018. This followed

news that Boeing had more cancellations than orders for its planes in 2019, making its tally for the

year a negative 87, according to a January 14, 2020 UPI article. The article reported, “Since the

groundings in [March 2019], there’s been little demand for the 737, which saw a 90 percent drop

in new orders in 2019.”

       315.    Two days later, on January 31, 2020, in its Form 10-K filed with the SEC, Boeing

informed investors for the first time that the SEC was investigating its disclosures connected to

the 737 MAX. Providing no details regarding the SEC investigation, Boeing’s disclosure stated,

“We also are fully cooperating with U.S. government investigations related to the [Lion Air and

Ethiopian Airlines] accidents and the 737 MAX, including investigations by the U.S. Department

of Justice and the Securities and Exchange Commission.”

VII.   ADDITIONAL ALLEGATIONS OF DEFENDANTS’ SCIENTER

       316.    The facts detailed above, when viewed holistically and together with the other

allegations in this Complaint, establish a strong inference that each of the Defendants knew or

were severely reckless in not knowing that each of the misrepresentations and omissions alleged

herein would be, and were, misleading to investors at the time they were made.

       317.    At all relevant times, each of the Defendants knew or recklessly disregarded that

their statements and omissions concerning the safety of the 737 MAX, and the Company’s ability

to fix the MAX’s fundamental safety problems and return the planes to flight, were or would be




                                                104
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 112 of 170 PageID #:2970




misleading to investors at the time they were made. In addition to the facts discussed above,

Defendants’ scienter is further evidenced by the following facts.

       A.      Defendants Have Admitted That The 737 MAX Was Unsafe, Its Operating
               Manual Was Dangerously Incomplete, MCAS Was Fundamentally Flawed,
               And Boeing Lied To Regulators

       318.    Defendants have admitted that the 737 MAX was unsafe, its operating manual was

dangerously incomplete, including because it did not discuss MCAS, MCAS was fundamentally

flawed including because it relied on a single point of failure, and Boeing lied to regulators about

the need for simulator training to fly the MAX safely. Those admissions strongly evidence

Defendants’ knowledge or, alternately, severe recklessness, when they made the materially false

statements and omissions discussed below in Section VIII.

       319.    Defendant Muilenburg himself admitted in his October 30, 2019 testimony before

Congress that Defendants’ critically flawed decisions to include only a single point of failure when

designing MCAS, and not to include MCAS in the 737 MAX operating manual, were not made

by a small group of employees shielded from senior management, but rather by “large teams that

work together across our company . . . broad integrated teams.” Muilenburg further admitted that

MCAS’s flaws were not due to any rogue actor as there was “no one individual” that made the

decisions at issue, that Boeing’s senior management was “responsible for making sure that you

adhere to your design requirements,” and that Muilenburg was both “responsible” and

“accountable” for MCAS’s failures.

       320.    Also, in October 30, 2019 testimony to Congress, BCA Chief Engineer John

Hamilton admitted that, within a week of the Lion Air Crash – i.e., by November 5, 2019 at the

latest, days before the start of the Class Period – Boeing’s senior executives knew that “MCAS

activation” played a key role in the Lion Air Crash, that the 737 MAX was unsafe without making




                                                105
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 113 of 170 PageID #:2971




necessary changes to the MCAS software, and that MCAS and the MAX “didn’t quite follow the

assumptions that [Boeing] base[d] the design on.”

       321.    Defendants have also admitted that, although they represented to customers that the

AoA Disagree Alert was a standard feature on the MAX, “the disagree alert was not operable on

all airplanes because the feature was not activated as intended.”          Nevertheless, to avoid

compromising Defendants’ aggressive production and sales goals, Boeing admitted that it decided

to wait three years, until 2020, to introduce new software to fix that dangerous defect – while also

failing to inform the FAA that the MAX did not conform to the approved design. Further, as first

reported in May 2019, Vice President of Product Development Mike Sinnett admitted that MCAS

was “flight-critical software” – i.e., software that industry standards and regulations required to

have more than a single point of failure. Sinnett further admitted that Boeing did not even know

if “our [design] assumptions [were] really even valid.” And in his October 30, 2019 testimony,

BCA Chief Engineer Hamilton admitted that Boeing’s assumption that pilots would be an adequate

backup in the event of erroneous MCAS activation was “flawed.”

       322.    Internal Boeing documents that became public only in late 2019 in connection with

congressional and regulatory investigations include further admissions of Defendants’ intentions

to deceive. Those documents include multiple emails from 737 MAX Chief Technical Pilot Mark

Forkner admitting that he “lied to the regulators” and “jedi mind-tricked” both regulators and

airline customers into accepting Defendants’ false reassurances that the 737 MAX did not require

simulator training for its safe operation, and that MCAS could safely be excluded from the plane’s

operating manual.




                                                106
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 114 of 170 PageID #:2972




        B.     The 2015 FAA Settlement Agreement Required Boeing Senior Management’s
               Direct Involvement In Safety, Design, And Compliance Issues

        323.   The fact that Boeing was subject to the FAA Settlement Agreement before and

during the Class Period strongly supports an inference of Defendants’ scienter. On December 18,

2015, Boeing entered into the FAA Settlement Agreement to resolve 13 pending investigations,

most of which involved “failures of corrective action.” Among other things, that agreement

required the direct involvement of Boeing’s “executive-level” management in several key areas of

regulatory compliance, including “safety management” and the completeness of submissions to

the FAA, as well as “assign[ing] each compliance matter to a manager-level employee for

resolution and accountability” and audit team reporting directly to BCA’s Vice President of

Quality. The FAA’s press release highlighted Boeing’s agreement “to implement improvements

in its design, planning, production and maintenance planning processes.”

        324.   The FAA Settlement Agreement likewise stated that its purpose was to “increase

the focus and prioritization of BCA managers on regulatory compliance,” including by identifying

“the BCA executive-level positions (Accountable Executives) whose duties include primary

responsibility for implementation” of a new comprehensive “Regulatory Compliance Plan.”

        325.   Among other things, the Regulatory Compliance Plan required “BCA to assign

each compliance matter to a manager-level employee for resolution and accountability.” The plan

further required “review of the regulatory compliance performance of BCA managers.” In

addition, the plan required BCA to enhance its internal audit reporting of regulatory compliance,

including an internal audit team reporting directly to BCA’s Vice President of Quality. Moreover,

BCA was required to provide “Annual Comprehensive Report[s] on BCA’s regulatory compliance

and performance” to BCA’s CEO and the FAA by January 15 of the years 2017, 2018, 2019, and

2020.



                                              107
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 115 of 170 PageID #:2973




       326.    In its December 22, 2015 press release, the FAA quoted then-Administrator

Michael Huerta as stating that the settlement would heighten Boeing’s accountability for the design

and production of its aircraft. Huerta stated in the press release, “Compliance requires all

certificate holders to develop and implement internal controls that ensure they’re operating

according to the highest standards. Boeing has agreed to implement improvements in its design,

planning, production and maintenance planning processes.”

       327.    Accordingly, pursuant to the FAA Settlement Agreement, Boeing’s profound

safety failures in the development and production of the MAX – failures motivated by the

Company’s efforts to rush the plane to market under the 737-type certificate – were reported to the

highest levels of the BCA organization.

       C.      Defendants Were Working On Fixes To The 737 MAX’s Safety Problems
               From The Start Of The Class Period

       328.    Defendants’ scienter is further evidenced by their work, from the beginning of the

Class Period forward, to fix the 737 MAX’s underlying safety failures, including the inadequate

information in the MAX operating manual. Although Defendants had decided not to implement

fixes to the plane’s software until 2020 that would have made the AoA Disagree Alert standard

and operational, Defendants knew that those fixes were necessary by August 2017 at the latest.

But, as Chairman DeFazio discussed during the October 30, 2019 congressional hearing, “Boeing

decided to delay the fix for three years until 2020, they didn’t tell the FAA, they didn’t tell the

customers, and they didn’t tell the pilots about this until the Lion Air Crash. That’s inexplicable.”

       329.    Moreover, within a week of the Lion Air Crash, Defendants understood that MCAS

had numerous design flaws that made the planes fundamentally unsafe, and had begun work on

software fixes that would (1) require that MCAS use two AoA sensor to trigger activation, rather

than rely on a single point of failure; (2) install the AoA Disagree Alert that was supposed to be



                                                108
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 116 of 170 PageID #:2974




standard from the start; (3) ensure that MCAS did not have continuous authority such that it would

activate repeatedly for each AoA triggering event; and (4) impose an MCAS command limit

allowing pilots to readily override MCAS and manually control the plane.

       330.    Defendants also recognized from the start of the Class Period that customers and

pilots were not adequately informed about MCAS. On November 13, 2018, Boeing sent a letter

to the FAA requesting permission to update the 737 MAX 8’s flight manual to include MCAS, but

said nothing to investors or to the pilots and passengers who continued to fly on the 737 MAX.

       D.      Defendant Muilenburg Improperly “Put[] Pressure On The [FAA] To Move
               Faster”

       331.    Throughout the Class Period, Defendants repeatedly reassured investors that the

737 MAX would return to flight on an unduly aggressive timeline, which ostensibly was based on

(1) Defendants knowing the full extent of the MAX’s safety problems and how to timely fix those

problems; (2) Boeing working closely with the FAA to address the plane’s underlying safety

failures; and (3) representations by the FAA to Defendants supporting that timeline.

       332.    As evidenced by the June, August, November, and December 2019

communications and meetings between representatives of the FAA and other regulators (including

FAA Administrators Elwell and Dickson) and Defendant Muilenburg, however, Defendants knew

or were severely reckless in not knowing that they were misleading investors regarding the extent

of the MAX’s safety problems and whether the FAA had provided any reasonable basis for the

aggressive return-to-service timeline that Defendants told investors. As discussed above at

Paragraphs 262-63, 275, and 299-301: (a) at the June 2019 Paris Air Show, Elwell told Muilenburg

“to slow down talk of [Boeing’s] progress [to] giv[e] the FAA space to exercise scrutiny,” to which

Muilenburg responded “You’re right. We’re not going to push[ ]”; (b) the FAA and regulators

from Europe, Canada, and Brazil met with Muilenburg and others in August 2019 to discuss



                                               109
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 117 of 170 PageID #:2975




progress on the MAX, but the Boeing representatives were “not ready”; (c) in November 2019,

Muilenburg called FAA Administrator Dickson “to ask whether he would consider allowing the

company to begin delivering airplanes before they were cleared to fly,” and Dickson refused to

give Muilenburg the concessions he was requesting; and (d) “[i]n a tense, private meeting [in mid-

December 2019] in Washington, the head of the Federal Aviation Administration reprimanded

Boeing’s chief executive for putting pressure on the agency to move faster in approving the return

of the company’s 737 Max jet.” And as CNBC reported after Boeing announced Muilenburg’s

termination, “[w]hat did Muilenburg in was repeated claims that regulators would return the plane

to service in the fourth quarter and a dressing down in Washington by FAA administrator Steve

Dickson.”

       E.      By Early In The Class Period At The Latest, Defendants Learned That Pilots
               Lacked Necessary Information To Safely Fly The 737 MAX

       333.    Defendants’ November 2018 meetings with airlines and pilots further evidence

scienter. Those meetings evidence that in the wake of the Lion Air Crash, Defendants knew the

crash was caused by a faulty AoA sensor, that all MAX planes were not properly equipped with

the AoA Disagree Alert as they should have been and were represented to be, and that the people

most in need of complete, accurate information about the MAX’s design and operations – the pilots

themselves – lacked critical information necessary to fly the planes safely.

       334.    On November 25, 2018, Boeing’s 737 MAX Chief Pilot Craig Bomben, Director

of Transportation Policy John Moloney, and Vice President of Product Development Mike Sinnett

met with the leadership of the Southwest Airlines Pilots Association, during which the pilots told

Defendants that they were “mad as hell that Boeing didn’t tell us” about MCAS and asked if there

were “any more surprises.”




                                               110
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 118 of 170 PageID #:2976




       335.    In addition, on November 27, 2018, Bomben, Moloney, and Sinnett met with

American Airlines pilots, which American’s union safety chairman later called “a very frank

discussion.” Sinnett acknowledged that a functioning AoA Disagree Alert would have prevented

the Lion Air Crash, telling the pilots that it “wouldn’t have happened to you guys” because

American’s MAX planes had properly functional AoA Disagree Alerts, which “would have

directed pilots to have the potential problem checked out on the ground.” Like Southwest’s pilots,

American’s pilots were furious that they “didn’t even know the damn [MCAS] system was on the

airplane,” and told Defendants to update the MAX software, provide additional training, modify

the plane’s external sensors, and make changes to how MCAS is activated.

       F.      Internal Whistleblower Edward Pierson Raised Concerns To Defendants
               About Production Issues Plaguing The Renton Facility “Months Before the
               First Crash”

       336.    Defendants also knew or were severely reckless in not knowing that they were

misleading investors about the 737 MAX’s safety because whistleblower Edward Pierson, a Senior

Manager at Boeing’s Renton, Washington 737 production facility, raised numerous alarms with

Defendant Muilenburg and other senior executives concerning development and production issues

plaguing the Renton facility. On December 11, 2019, Pierson testified to Congress that he

“witnessed a factory in chaos and reported serious concerns about production quality to senior

Boeing leadership months before the first crash,” and “formally reported again before the second

crash.” As Pierson testified, by early 2018, safety and quality problems fomented as management

was pushing production of 737s from 47 to 52 per month, with plans to go to a rate of 57 per

month, prioritizing “production speed over quality.” Pierson detailed those problems, which he

raised to the Head of the 737 Program, Scott Campbell, in June 2018, four months before the Lion

Air Crash, warning that Boeing was “imbedding safety hazard(s) into our airplanes” and that




                                               111
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 119 of 170 PageID #:2977




Pierson was himself “hesitant about putting [his] family on a Boeing airplane.”              Pierson

subsequently raised his concerns to Campbell in person in July 2018.

       337.    Pierson testified to Congress that, after the Lion Air Crash, he “immediately feared

the chaotic factory conditions had contributed to this tragic loss of life.” He reached out to

Boeing’s Communications Office to speak with employees supporting the accident investigation

and, after a MAX aircraft was forced to make an emergency landing in December 2018, wrote a

letter directly to Muilenburg on December 19, 2018, again raising widespread production issues

at the Renton facility.

       338.    Although Muilenburg never responded to Pierson’s letter, former General Counsel

J. Michael Luttig and his Assistant General Counsel Padraic Fennelly contacted Pierson in early-

January 2019. Pierson again raised his warnings about “employee fatigue and schedule pressure,

aggressive leadership communication, mounting quality defects (including numerous functional

test and Electrical Wiring Interconnect System problems), staffing constraints, process deviations,

communication breakdowns, and other [issues],” and stressed that it was important to investigate

the Renton facility. The following month, in February 2019, Pierson emailed Luttig and Fennelly,

told them that “Boeing had misled the public about the state of 737 production,” and emphasized

that “the sheer volume of these issues highlights the considerable & unnecessary risk the company

was (is still?) taking to meet ever increasing airplane production rates and delivery schedules,” and

that “production mistakes may have been made with this airplane and potentially others.”

       339.    On February 19, 2019, after his warnings and concerns went unheeded, Pierson

escalated his concerns to Boeing’s Board in a letter that “detailed [his] internal reporting efforts

and requested urgent action from the Board.”




                                                112
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 120 of 170 PageID #:2978




       G.       By No Later Than February 2019, Defendant Muilenburg Knew About
                Forkner’s Damning 2016 Text Messages Regarding MCAS Malfunctions

       340.     Before the Ethiopian Airlines Crash and by February 2019 at the latest, Defendants

knew that MAX Chief Test Pilot Forkner had notified the Company’s senior management that

MCAS was making the MAX difficult to control in flight simulators. In February 2019, Boeing

provided the Department of Justice with relevant documents concerning the 737 MAX, including

Forkner’s damning 2016 text messages highlighting how MCAS was malfunctioning in the MAX

flight simulator, as it had in the Lion Air Crash and the prior day’s Lion Air flight. Muilenburg

had known about those texts since earlier that month at the latest, but he did nothing to either

address the critical safety concerns that Forkner’s messages raised or the public’s belief, including

based on Defendants’ prior reassuring statements, that the 737 MAX was fundamentally safe to

fly.

       H.       737 MAX Sales And Safety Are Critical To Boeing’s Operations

       341.     In addition, Defendants’ scienter is evidenced by the critical nature of the 737 MAX

to Boeing – including its safety, certification, and sales. The Executive Defendants – the

Company’s Class Period CEO and CFO – can be assumed to know the truth about the facts

Defendants mispresented and failed to disclose to investors, including critical facts about the

MAX’s safety.

       342.     There is no genuine question that Boeing’s financial success and growth relied on

737 MAX sales. The business unit responsible for the MAX, BCA, represented approximately

60% of Boeing’s revenues for each of the years 2016 through 2018. For the year ended December

31, 2018 – the last full year of MAX sales and orders before the planes were grounded – BCA

generated more than $60.7 billion of the Company’s $101.1 billion in reported revenues and $7.9

billion, or 66%, of approximately $12 billion in earnings from operations. The more than 5,000



                                                113
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 121 of 170 PageID #:2979




orders Boeing received (from more than 80 airlines) for the MAX before the start of the Class

Period were worth more than $600 billion, with the order backlog representing more than 75% of

Boeing’s total commercial aircraft backlog. Analysts estimated that the MAX would generate one-

third of Company-wide revenues until 2024. Further, during the Company’s January 2019

earnings call, Defendant Smith stated that Defendants “expect 737 MAX to account for

approximately 90% of total 737 deliveries in 2019,” and throughout the Class Period Boeing touted

the MAX as its “bridge to the future” and “the fastest-selling airplane in Boeing history,” which

“will enable us to expand our network into new and existing markets more efficiently, which will

help us achieve long-term growth.”

       343.    In addition to the core significance of 737 MAX sales to Boeing’s financial

condition and operations, Defendant Muilenburg himself has admitted the critical nature of plane

safety to the Company. On March 18, 2019, Boeing issued a public letter from Muilenburg, in

which he stressed that “[s]afety is at the core of who we are at Boeing . . . . This overarching focus

on safety spans and binds together our entire global aerospace industry and communities.”

       I.      Boeing Faced Massive Financial Exposure If Simulator Training Were
               Required For The 737 MAX

       344.    Defendants were highly motivated to conceal and misrepresent the differences

between the 737 MAX and older 737 models, including MCAS. Disclosing those differences

threatened heightened scrutiny from regulators, customers, pilots, and the public, and likely would

have resulted in demands and requirements for simulator training from the FAA and airlines.

       345.    Boeing faced massive financial exposure if simulator training were required. As

discussed above, Boeing had privately promised Southwest Airlines a $1 million per plane rebate

if simulator training were required, for a total potential rebate of $280 million. Even for customers

to which Boeing had not promised such rebates, the substantial costs of simulator training would



                                                 114
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 122 of 170 PageID #:2980




have been reflected in lower sales prices, payments by Boeing for the simulators and training, or

otherwise a financial outlay by the Company to offset the increased training costs. The lengthy

time delay in bringing the MAX to market – by Boeing’s own estimate, an additional four years –

also threatened substantial negative financial impact, including the delay in revenues from sales

and decreased sales as customers purchased other plane models including Airbus’s A320neo.

       J.       Defendants Repeatedly Attempted To Cover Up Serious Misconduct

       346.     Moreover, Defendants’ scienter is evidenced by their repeated attempts to cover up

serious misconduct and hide key safety information from regulators and the public including, as

discussed above:

               Boeing removed MCAS’s g-force threshold, enabling MCAS to operate at any
                speed;

               Boeing expanded MCAS’s authority to move the plane’s tail on each MCAS
                activation from 0.6 degrees to 2.5 degrees, expanding MCAS’s power to push the
                plane into a dive and enabling MCAS to push the MAX’s nose down to the
                maximum amount in as few as two activations;

               Boeing manipulated the MCAS System Safety Analysis to justify the system
                relying on only one AoA sensor, rather than two, despite the catastrophic hazard
                that MCAS represented;

               The AoA Disagree Alert was not included as standard and operational on all MAX
                planes, as represented, and instead was sold as an add-on and not installed on the
                vast majority of MAX planes that were sold, delivered, and flown; and

               The information and training that Boeing provided to pilots omitted key
                information about MCAS and how to respond to an erroneous MCAS activation,
                and failed to satisfy applicable regulatory requirements.

       347.     Defendants concealed from government investigators and the public highly

inculpatory internal documents, including text messages and e-mails in which Forkner admitted to

deceiving the FAA and Boeing’s airline customers about MCAS’s “egregious,” “rampant”

performance, along with the need to include MCAS in the MAX’s operating manual and require

simulator training for pilots. Senator Duckworth lambasted Defendants during congressional


                                               115
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 123 of 170 PageID #:2981




hearings for “not [telling] the whole truth to this committee and to the families and to the people

looking at this.” And Boeing did not provide the FAA with numerous incriminating documents,

including statements by Forkner that he “still ha[dn’t] been forgiven by god for the covering up

[he] did,” and communications that employees would “be shocked if the FAA passes this turd,”

until December 23, 2019, long after the two MAX crashes and the congressional hearings, and not

until Boeing announced the departures of Muilenburg and Luttig. On their release, Chairman

DeFazio opined that those documents “paint a deeply disturbing picture of the lengths Boeing was

apparently willing to go to in order to evade scrutiny from regulators, flight crews and the flying

public, even as its own employees were sounding alarms internally.”

       K.      Muilenburg And Other Senior Executives Suddenly Departed Boeing

       348.    Defendants’ scienter is also evidenced by the sudden resignations and firings of

several top executives, including Defendant Muilenburg, BCA President Kevin McAllister,

Counselor and Senior Advisor to the Board (and former General Counsel) J. Michael Luttig, and

senior communications executives Linda Mills and Anne Toulouse. Each of those departures

occurred in the wake of the two 737 MAX crashes, in connection with Defendants’ failures to

provide accurate information to investors and regulators and otherwise manage the Company’s

response to the MAX crisis.

VIII. DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS
      AND OMISSIONS

       349.    Throughout the Class Period, Defendants made numerous materially false and

misleading statements and omissions concerning the safety problems of the 737 MAX, the extent

to which those problems had been concealed from the public and regulators, and how those issues

would impact Boeing’s business.




                                               116
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 124 of 170 PageID #:2982




       A.     Defendants’ Materially False And Misleading Representations And Omissions
              Directly After The Lion Air Crash

       350.   On October 29, 2018, Lion Air Flight JT 610 crashed. The public’s attention

quickly turned to whether the 737 MAX was safe to fly, including whether underlying safety

problems with the 737 MAX caused the Lion Air Crash or threatened additional crashes of 737

MAX planes moving forward.

       351.   On November 6, 2018, Boeing issued Flight Crew Operations Manual Bulletin

TBC-19, with the subject “Uncommanded Nose Down Stabilizer Trim Due to Erroneous Angle of

Attack (AOA) During Manual Flight Only” (defined above as the “November 6 Bulletin”).

       352.   In the November 6 Bulletin, Boeing falsely represented that its existing Flight Crew

Operations Manual was sufficient and as it “direct[ed] flight crews to existing procedures to

address” the “AOA failure condition” that contributed to the Lion Air Crash – suggesting that the

Lion Air Crash was caused by pilot error and failure to follow the manual.

       353.   The November 6 Bulletin stated in pertinent part:

       Background Information

       The Indonesian National Transportation Safety Committee has indicated that Lion
       Air flight 610 experienced erroneous AOA data. Boeing would like to call attention
       to an AOA failure condition that can occur during manual flight only. This bulletin
       directs flight crews to existing procedures to address this condition. . . .

       Operating Instructions

       In the event an uncommanded nose down stabilizer trim is experienced on the 737-
       8/-9, in conjunction with one or more of the above indications or effects, do the
       Runaway Stabilizer NNC [non-normal checklist] ensuring that the STAB TRIM
       CUTOUT switches are set to CUTOUT and stay in the CUTOUT position for the
       remainder of the flight.
       354.   Moreover, in the November 6 Bulletin, Boeing represented that “erroneous AOA

data” contributed to the Lion Air Crash, but made no mention of MCAS, including that MCAS

improperly relied on only a single AoA sensor.



                                              117
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 125 of 170 PageID #:2983




       355.    The statements discussed in Paragraphs 352 to 354 were materially false and

misleading when made, and omitted material facts necessary to make those statements not

misleading. Specifically, it was false and misleading to claim that “existing procedures” would

address an MCAS failure because, among other things, (i) the flight control manual did not even

mention MCAS, (ii) pilots had not been told about the existence of MCAS, (iii) the “existing

procedures” to address a “runaway stabilizer” situation were not identical to the procedures

necessary to address an MCAS failure, including that the operation of the cut-off switches had

been changed from prior models of the 737 and pulling back on the control stick would not

permanently disengage MCAS the way it would disengage trim stabilizers in older 737 models,

(iv) MCAS could repeatedly activate, (v) MCAS had much greater authority to rotate the nose of

the plane downward than previously disclosed, and (vi) in certain situations it would be physically

impossible to correct an MCAS activation using physical force through the trim wheel. Moreover,

Boeing’s pilots had identified multiple safety concerns with the MAX during development and

testing, including that (a) MCAS had been “running rampant” and “the plane [was] trimming itself

like crazy” in the simulators; (b) Boeing had manipulated the certification process with the FAA

to override multiple safety concerns and had “jedi mind-tricked” regulators to limit information

about MCAS and necessary pilot training; and (c) several of Boeing’s senior employees had raised

significant alarms about safety at Boeing, including Pierson raising his concerns directly to

Muilenburg and then to the Board highlighting “the sheer volume of these issues highlights the

considerable & unnecessary risk the company was (is still?) taking to meet ever increasing airplane

production rates and delivery schedules.”




                                               118
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 126 of 170 PageID #:2984




       B.      Defendants’ Materially False And Misleading Statements In The Month After
               The Lion Air Crash

       356.    On November 13, 2018, Boeing issued a statement that “We are confident in the

safety of the 737 MAX. Safety remains our top priority.” That same day, Defendant Muilenburg

gave an interview to Fox Business Channel where he stated:

       The bottom line here is the 737 MAX is safe and safety is a core value for us at
       Boeing and it always has been and we ensure that our airplanes are safe . . .

       [T]here were some indications of an inaccurate angle of attack signal that was being
       sent to the airplane and of course our airplane has the ability to handle that with
       procedures in place and we’ve already issued a couple of additional bulletins to
       our operators and pilots around the world that point them back to existing flight
       procedures to handle that kind of condition. . . .

       Again, we ensure that we provide all of the information that is needed to safely fly
       our airplanes . . .

       [T]he bottom line here is that the 737 MAX is a very safe airplane and we’re very
       confident in that.

       357.    The statements claiming that “procedures in place” were sufficient to correct an

erroneous MCAS activation, that “existing flight procedures to handle that kind of condition,” and

“we provide all of the information that is needed to safely fly our airplanes” were materially false

and misleading for the reasons set forth herein and in Paragraph 355 above.

       358.    The statements claiming that the 737 MAX was a “very safe” airplane, that “safety

was a core value” at Boeing, and that Defendants were “confident” that the 737 MAX was safe

were materially false and misleading, and omitted material facts necessary to make those

statements not misleading.     Specifically, the 737 MAX had a multitude of serious safety

deficiencies, including but not limited to, (i) MCAS had only a “single point of failure,” which

violated Boeing’s own standards, regulatory requirements, and industry practice (see Section

IV.C.1 above), (ii) Boeing had lied to and misled regulators regarding the conditions that MCAS

operated under (see Section IV.C.2 above), (iii) Boeing knew that the AoA Disagree Alert was an


                                                119
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 127 of 170 PageID #:2985




optional safety feature that cost an additional $80,000, and even though they told airlines it was

installed on every plane, Defendants knew that only 20% of the MAX fleet had purchased the

option (see Section IV.C.3 above), (iv) Boeing made multiple dangerous alterations to the MCAS

initial design rendering it far more powerful and dangerous, and did so, as the Joint Report

concluded, without adequately informing the FAA (see Section IV.C.4 above), (v) the FAA

delegated almost all certification authority to Boeing and pressured and “tricked” the FAA

regarding many aspects of the 737 MAX, including that Boeing did not include a reference to the

MCAS in the flight control manual (see Sections IV.A.4 and IV.C.5), (vi) MCAS violated the

requirements of Boeing’s own Coordination Sheet (see Section IV.C.6), (vii) Boeing ignored

internal warnings from its own employees regarding serious safety deficiencies in the MAX (see

Sections IV.C.7 and IV.C.8).

           359.   Also on November 13, 2018, in response to an interviewer’s question, Muilenburg

denied that the 737 MAX in the Lion Air Crash had “a new system that wasn’t disclosed to the

pilots”:

           No. There are new systems on the airplane that are designed to take advantage of
           the capabilities of the airplane and provide control capability in high angle of attack
           conditions and those systems operate properly and again in certain failure modes
           if there is an inaccurate angle of attack sensor feeding information to the
           airplane there is a procedure to handle that. . . . We’re going to make sure that
           we’re providing all the information necessary and appropriate training, and go back
           to the core value here . . . The airplane is safe. We know how to fly it safely. And
           we’re very confident in that. . . .

           360.   These statements were materially false and misleading when made, and omitted

material facts necessary to make those statements not misleading because MCAS was an entirely

new system that had never been used on any prior Boeing commercial plane (a safer version of

MCAS had been used on an advanced military plane, the KC-46 Pegasus, as discussed above).




                                                    120
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 128 of 170 PageID #:2986




Further, the MCAS did not “operate properly” as it was susceptible to multiple catastrophic safety

problems.

         361.    In that same interview, when asked whether Boeing provided “information in terms

of what to do should something change, was that information available to the pilots? Did they

know how to operate it? Should the nose be in a different position?” Muilenburg responded,

“Yeah, in fact that’s part of the training manual. It’s an existing procedure. So the bulletin we

put out again last weekend, over the weekend, pointed to that existing flight procedure.”

         362.    Investors credited Defendants’ November 6 and 13, 2018 false statements. For

example, in an analyst report on November 13, 2018, Cowen reported that Boeing “attempted to

correct any confusion regarding the [MAX’s stall-correction] system in a recent safety bulletin

issued about a week after the Lion Air crash; and because of its commitment to airline safety, we

assume it will make whatever changes are warranted to avert any further incidents with the system.

Because the MAX is a derivative aircraft, we doubt that this is a difficult-to-correct technical

issue . . . .”

         363.    The statements claiming that “existing procedures” were sufficient to correct an

erroneous MCAS activation were materially false and misleading for the reasons set forth herein

and in Paragraph 355 above.

         364.    The statements claiming that the 737 MAX was a “safe” airplane and that

Defendants were “confident” that the 737 MAX was safe, and that the procedures “operated

properly” were materially false and misleading for the reasons set forth herein and in Paragraph

358 above.

         365.    On November 19, 2018, CEO Muilenburg sent an email to all Boeing employees

that was also discussed in detail in the Seattle Times, expressing confidence in the MAX’s safety




                                               121
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 129 of 170 PageID #:2987




and disputing media reports. Muilenburg intended for, and knew that, this email would be leaked

into the public domain. He specifically intended it to be a public statement to counter what he

called “false assumptions” and speculation, stating, “First, the 737 MAX is a safe airplane

designed, built and supported by skilled men and women.” Second, Muilenburg “disputed specific

reports” concerning the MCAS, including “specifically den[ying] reports in some media outlets

that the procedure pilots need to deal with [the MCAS’s] uncommanded movements was not in

the 737 pilot manual and that pilots were not trained on how to handle it.” Muilenburg expressly

stated: “That’s simply untrue.”

       366.    On November 21, 2018, Boeing issued and posted on its website a release, titled

“Statement on Lion Air Flight JT 610 Investigation,” in which the Company stated that “[w]e are

confident in the safety of the 737 MAX,” and “re-emphasize[d] existing procedures for these

situations.”

       367.    The statements claiming that the 737 MAX was a “safe” airplane and that

Defendants were “confident” that the 737 MAX was safe were materially false and misleading for

the reasons set forth herein and in Paragraph 358 above.

       368.    The statements claiming that “existing procedures” and pilot training were

sufficient to correct an erroneous MCAS activation were materially false and misleading for the

reasons set forth herein and in Paragraph 355 above.

       369.    On November 27, 2018, the Indonesian NTSC released its preliminary accident

investigation report. The same day, in response to the NTSC’s preliminary report, Boeing issued

a public statement providing “our assurance that the 737 MAX is as safe as any airplane that has

ever flown the skies.” Boeing again tried to blame pilot error for the crash, including actions the

pilots took when the plane “experienced automatic nose down trim.” Boeing noted that the NTSC




                                               122
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 130 of 170 PageID #:2988




report “does not state whether the pilots performed the runaway stabilizer procedure or cut out

the stabilizer trim switches,” which were the procedures already set forth in Boeing’s training

materials for pilots.

        370.    In a November 29, 2018 Washington Post article titled “Boeing CEO addresses

flight system update after criticism from pilots,” Boeing stated that the Company’s customers and

passengers “have our assurance that the 737 Max is as safe as any airplane that has ever flown

the skies.”

        371.    The statements claiming that the 737 MAX was a “safe” airplane and “as safe as

any airplane that has ever flown the skies” were materially false and misleading for the reasons set

forth herein and in Paragraph 358 above.

        372.    The statements attempting to blame the pilots for the crash and implying that the

runaway stabilizer procedure was adequate to prevent the crash were materially false and

misleading because the crash was caused by the dangerous safety issues on the 737 MAX,

including those discussed herein and in Paragraph 358 above, and the existing procedures were

inadequate given the unique power and authority of the MCAS, as described herein and in

Paragraph 355 above. These statements were also materially misleading because Defendants never

disclosed that the automatic nose down trim that occurred was due to MCAS, the repeated

operation of which precipitated the Lion Air Crash.

        C.      Defendants’ Materially False And Misleading Representations From
                December 2018 Through The Ethiopian Airlines Crash

                        Defendant Muilenburg’s December 7, 2018 CNBC Interview

        373.    During a December 7, 2018 interview with CNBC, Defendant Muilenburg stated:

        Part of what we wanted to accomplish was seamless training and introduction for
        our customers, so we purposely designed the airplane to behave in the same way.
        So even though it’s a different airplane design, the control laws that fly the airplane
        are designed to make the airplane behave the same way in the hands of the pilot.


                                                 123
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 131 of 170 PageID #:2989




         374.   This statement was materially false and misleading when made, and omitted

material facts necessary to make those statements not misleading because the 737 MAX had

substantial design changes from older 737 models and did not behave in the same way as those

older models for many reasons.

         375.   Among other things, (i) the 737 MAX’s larger engines were placed farther up on

the plane’s wings creating aerodynamic instability and a higher likelihood of pitch-up that was not

present in older model 737s, (ii) MCAS was an entirely new (and powerful) feature not included

on older 737’s, (iii) the procedures for correcting an erroneous MCAS activation were different

than prior procedures for correcting a runaway stabilizer as described herein and in Paragraph 355

above, and (iv) the 737 MAX was significantly less safe than older Boeing 737s as described

herein and in Paragraph 358 above.

                       Boeing’s January 30, 2019 Earnings Release And Conference Call For
                       The Fourth Quarter of 2018

         376.   On January 30, 2019, Boeing released and filed with the SEC the Company’s

financial results for the fourth quarter of 2018 as well as Boeing’s 2019 guidance. In a release

attached to a Form 8-K filed that day with the SEC, Boeing stated:

         During the quarter, Commercial Airplanes delivered 238 airplanes, including the
         delivery of the 787th 787 Dreamliner and the first 737 MAX Boeing Business Jet.
         The 737 program delivered 111 MAX airplanes in the fourth quarter, including
         the first MAX delivery from the China Completion Center, and delivered 256
         MAX airplanes in 2018.

The January 30, 2019 earnings release did not discuss the Lion Air Crash, including the reasons

for the crash, and did not disclose that the positive 737 MAX sales figures the Company reported

were not sustainable or reliable drivers of revenues in light of the underlying problems that

rendered the planes fundamentally unsafe and unsalable as described herein and in Paragraph 358

above.



                                               124
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 132 of 170 PageID #:2990




       377.    A slide presentation accompanying the earnings release also did not refer to the

Lion Air Crash or to any underlying safety or performance issues with the 737 MAX. Rather,

Defendants highlighted the positive impact of the 737 MAX on the Company’s financial

performance, including that in 2018 Boeing “Delivered record 806 commercial airplanes,

including 256 737 MAXs,” with “111 737 MAX deliveries in 4Q”; “Increased 737 rate to 52/mo”;

“Delivered the first 737 MAX from the China Completion Center”; and “737 MAX family

surpassed 5,000 net orders.” Those metrics were also discussed during Defendants’ January 30,

2019 earnings call to discuss the Company’s fourth-quarter 2018 financial results.

       378.    Defendants Muilenburg and Smith, among others, were present on and participated

in the January 30, 2019 earnings call. In his opening remarks, Muilenburg discussed the above

metrics concerning 737 MAX sales, and further stated that:

       [o]ur customers continue to recognize the superior value proposition of our more
       fuel-efficient airplanes as reflected in the strong intake of new orders we saw last
       year. For 2019, we expect to see our new order intake to be moderated but still at
       a healthy pace. . . . Our current [737 MAX] production rate of 52 per month and
       planned increase to 57 this year is based on our backlog of more than 4,700
       aircraft and a production skyline that is sold out into early next decade. The 737
       program added 13 new customers during the year and the MAX family surpassed
       5,000 net orders in December. We continue to assess the market upward pressure
       on the 737 production rate.

       379.    In his opening remarks, Defendant Smith directly tied positive financial guidance

for 2019 to the 737 MAX, stating that:

               (a)    “[t]otal company revenue for 2019 is forecasted to be between $109.5
                      billion and $111.5 billion, largely reflecting higher planned 737 and 787
                      production rates and growth in both services as well as Defense, Space &
                      Security. . . . Operating cash flow for 2019 is forecasted to increase by $2
                      billion to be between $17 billion and $17.5 billion.”

               (b)    “[t]he ramp-up on the 737 MAX production continues, and we expect 737
                      MAX to account for approximately 90% of total 737 deliveries in 2019[.]

               (c)    “As we look towards the remainder of the year, our key focus areas are
                      continuing to manage the 737 recovery progress within our factory and


                                               125
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 133 of 170 PageID #:2991




                      throughout our supply chain, including assuring rate readiness for a
                      smooth transition to 57 a month.”

       380.    In response to analyst questions, Defendants discussed the 737 MAX as an

extension of the older 737 and a key driver of Boeing’s financial performance, but they did not

discuss the Lion Air Crash or the underlying problems that rendered the 737 MAX unsafe and

threatened sales and operations of the plane. For example, in response to a Morgan Stanley

analyst’s question on the monthly production rate of the 737, Muilenburg stated, “Certainly, 737

production system health remains a key focus for us. . . . [W]e’re moving forward on our plans to

ramp up to 57 a month during the year. . . . [W]e’re going to be very, very disciplined in that

process. Again, we’re making good progress, we know exactly what needs to be done.”

       381.    An analyst from Baird then asked “specifically, around 737 MAX orders. . . . [j]ust

how you’re thinking about the order momentum with that program.” Defendant Muilenburg

responded:

       [W]e continue to see strong order momentum there. I think just another sign of
       it, this week earlier, you saw ANA’s announcement about their intent to buy the
       MAX. And that’s another addition to the fleet there. So you see continued
       momentum on the MAX sales front. That airplane is creating value in the market
       for our customers. And we are oversold against our production profile. We talked
       earlier about ramping up to 57 a month. We are oversold against that profile.
       We’re filling skyline slots way out in 2023 . . . But in terms of the MAX, the
       demand signals in the marketplace continue to be very strong.

       382.    Investors credited Defendants’ January 30, 2019 misleading statements.         For

example, in an analyst report issued that day, Canaccord Genuity reported that “[w]e currently

assume ~665 737 2019 deliveries . . . . The company has indicated that the MAX is expected to

account for ~90% of the 2019 mix, and then should be effectively 100% of the commercial 2020

737 deliveries.”

       383.    The statements in Paragraphs 378-81 were materially false and misleading when

made, and omitted material facts necessary to make those statements not misleading because,


                                               126
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 134 of 170 PageID #:2992




among other things, Defendants failed to disclose that Boeing was at that time discussing material

changes to the MCAS software that would be necessary for the planes to safely fly.

         384.   Defendants also failed to disclose that material changes to pilot training would be

necessary for pilots to safely fly the 737 MAX. Finally, Defendants failed to disclose the

dangerous safety issues on the 737 MAX, including those discussed herein and in Paragraph 358

above.

         385.   These safety issues made the MAX fundamentally unsafe and violated regulatory

requirements such that, unbeknownst to investors, its continued sales and production could not

reasonably be relied upon. Indeed, this is exactly what happened. The entire 737 MAX fleet was

grounded, Boeing halted production of the 737 MAX, multiple customers canceled or substituted

existing 737 MAX orders, and Boeing agreed that the expensive, extensive pilot simulator training

that initially threatened 737 MAX sales is now a prerequisite to the fleet returning to service.

                       Defendant Smith’s February 6, 2019 Session With Cowen And
                       Company

         386.   On February 6, 2019, Defendant Smith participated in a question-and-answer

session with Cowen and Company (“Cowen”) as part of that day’s Cowen Aerospace/Defense &

Industrials Conference. In response to a question about commercial demand, Smith stated that

Boeing was “delivering a competitive advantage,” because “you look at the MAX, the demand

that’s been on the MAX and the economics associated with what the MAX can deliver for the

customer. . . . [T]he efficiencies being brought in the market is certainly driving some of this

replacement.”

         387.   Smith also discussed Boeing’s purported ability to secure certifications for the 737

MAX, as well as production levels. Specifically, Smith stated that:

         [C]ertification is a big part of any development program, but I’d like to think we
         get well ahead of that and obviously working for a way through 737 and all the


                                                127
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 135 of 170 PageID #:2993




       derivatives of the 737 MAX . . . . So I think we got a good plan in place. I wouldn’t
       tell you that we see anything that’s been outside the norm of what we’ve normally
       been through in our certification of our other aircraft. . . . I think we’ve talked
       about several times and recently on the call is been getting stable at 52 [planes per
       month] and getting the confidence and the rate readiness to go up to 57[.]

Smith continued, “there’s opportunity to continue to grow cash flow going forward. This is very

much about execution. It’s right at the core. It’s – and you talked about a lot of the moving pieces.

So 737, going up to 52 and getting to 57. That’s a driver.”

       388.    Investors credited Defendants’ February 6, 2019 false statements. In an analyst

report issued that day, Cowen reported that “BA’s 737 productivity is on track,” “737 skyline is

comfortably oversold,” and “737 cash profitability should improve at the 57 rate . . . .”

       389.    On February 8, 2019, Boeing filed its 2018 Annual Report with the SEC on Form

10-K (the “2018 10-K”), signed by Defendants Muilenburg and Smith, among others. The 2018

10-K included a section highlighting the “737 Program,” in which Defendants stated: “We

continue to plan to increase the production rate to 57 per month in 2019.”

       390.    The 2018 10-K also included a “Program Development” chart “summariz[ing] the

time horizon between go-ahead and planned initial delivery for major Commercial Airplanes

derivatives and programs,” showing initial deliveries of the 737 MAX 8 in 2017, the 737 MAX 9

in 2018, the 737 MAX 7 in 2019, and the 737 MAX 10 in 2020.

       391.    The statements in Paragraphs 386-87 and 389-90 were materially false and

misleading when made, and omitted material facts necessary to make those statements not

misleading. Defendants falsely represented that the 737 MAX would drive Boeing’s growth and

financial results, including by producing the planes at an ever-increasing rate to meet market

demand. But Defendants failed to disclose that Boeing was at that time discussing material

changes to the MCAS software that would be necessary for the planes to safely fly.




                                                128
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 136 of 170 PageID #:2994




         392.   Defendants also failed to disclose that material changes to pilot training would be

necessary for pilots to safely fly the 737 MAX. Finally, Defendants failed to disclose the

dangerous safety issues on the 737 MAX, including those discussed herein and in Paragraph 358

above.

         393.   These safety issues made the MAX fundamentally unsafe and violated regulatory

requirements such that, unbeknownst to investors, its continued sales and production could not

reasonably be relied upon. Indeed, this is exactly what happened. The entire 737 MAX fleet was

grounded, Boeing halted production of the 737 MAX, multiple customers canceled or substituted

existing 737 MAX orders, and Boeing agreed that the expensive, extensive pilot simulator training

that initially threatened 737 MAX sales is now a prerequisite to the fleet returning to service.

         D.     Defendants’ False And Misleading Representations And Omissions Directly
                Following The Ethiopian Airlines Crash

         394.   On March 10, 2019, Ethiopian Airlines Flight ET 302 crashed. The Ethiopian

Airlines Crash raised numerous questions about the completeness and veracity of Defendants’

statements about the 737 MAX following the Lion Air Crash, and brought intense public focus to

bear on Boeing and the safety of the 737 MAX.

         395.   In the face of this disaster and the growing international demand to ground all 737

MAX planes, Boeing went into damage control. The day after the Ethiopian Airlines Crash, on

March 11, 2019, Boeing issued and posted on its website a press release (the “March 11 Release”)

concerning the crash, including an incomplete and misleading disclosure of the role MCAS played

in the crash. Boeing again blamed pilot error for the crash, assured the public that “the 737 MAX

is a safe airplane,” represented that an upcoming update to MCAS software would resolve any

concerns about the plane moving forward, and falsely represented that MCAS operated only in “a

non-normal part of the operating envelope.”



                                                129
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 137 of 170 PageID #:2995




       396.    The March 11 Release, titled “Boeing Statement on 737 MAX Software

Enhancement,” stated:

       Safety is a core value for everyone at Boeing and the safety of our airplanes, our
       customers’ passengers and their crews is always our top priority. The 737 MAX is
       a safe airplane that was designed, built and supported by our skilled employees
       who approach their work with the utmost integrity.

       For the past several months and in the aftermath of Lion Air Flight 610, Boeing has
       been developing a flight control software enhancement for the 737 MAX, designed
       to make an already safe aircraft even safer. . . .

       A pitch augmentation control law (MCAS) was implemented on the 737 MAX to
       improve aircraft handling characteristics and decrease pitch-up tendency at
       elevated angles of attack. It was put through flight testing as part of the certification
       process prior to the airplane entering service. MCAS does not control the airplane
       in normal flight; it improves the behavior of the airplane in a non-normal part
       of the operating envelope.

       Boeing’s 737 MAX Flight Crew Operations Manual (FCOM) already outlines an
       existing procedure to safely handle the unlikely event of erroneous data coming
       from an angle of attack (AOA) sensor. The pilot will always be able to override
       the flight control law using electric trim or manual trim. In addition, it can be
       controlled through the use of the existing runaway stabilizer procedure as
       reinforced in the Operations Manual Bulletin (OMB) issued on Nov. 6, 2018.

       397.    On March 12, 2019, Boeing released and posted on its website an additional false,

reassuring statement concerning the safety of the 737 MAX and the adequacy of existing

information to pilots, titled “Statement on 737 MAX Operation,” which stated:

       Safety is Boeing’s number one priority and we have full confidence in the safety
       of the 737 MAX. We understand that regulatory agencies and customers have made
       decisions that they believe are most appropriate for their home markets. We’ll
       continue to engage with them to ensure they have the information needed to have
       confidence in operating their fleets. The United States Federal Aviation
       Administration is not mandating any further action at this time, and based on the
       information currently available, we do not have any basis to issue new guidance
       to operators.

       398.    Investors credited Defendants’ false statements reassuring the public after the

Ethiopian Airlines Crash that the magnitude of the MAX’s safety failings would be easily

addressed through a simple software fix. For example, in an analyst report issued on March 13,


                                                 130
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 138 of 170 PageID #:2996




2019, Cowen reported that “Boeing claims the update [to MCAS] is easily installed in several

hours, and it will begin to update planes in the field shortly while also implementing the fix on

planes coming off the line.”

       399.    The statements claiming that the 737 MAX was a “safe airplane,” that safety was

Boeing’s “top priority” and a “core value” for Boeing were materially false and misleading for the

reasons set forth herein and in Paragraph 358 above.

       400.    The statements claiming that “existing procedures” in the flight control manual

were sufficient to correct an erroneous MCAS activation were materially false and misleading for

the reasons set forth herein and in Paragraph 355 above.

       401.    On March 13, 2019, despite a personal plea to the President of the United States

made by Defendant Muilenburg, the FAA and NTSB determined that 737 MAX flights could not

be safely flown and grounded them indefinitely. In a press release posted on its website the same

day titled “In Consultation with the FAA, NTSB and its Customers, Boeing Supports Action to

Temporarily Ground 737 MAX Operations,” Boeing again represented that it had been developing

a flight control software “enhancement,” but nevertheless maintained that the planes were safe.

       402.    In the March 13, 2019 release, Defendant Muilenburg claimed that Boeing agreed

with the regulators’ order to ground the 737 MAX only “out of an abundance of caution”:

       Boeing continues to have full confidence in the safety of the 737 MAX. However,
       after consultation with the U.S. Federal Aviation Administration (FAA), the U.S.
       National Transportation Safety Board (NTSB), and aviation authorities and its
       customers around the world, Boeing has determined – out of an abundance of
       caution and in order to reassure the flying public of the aircraft’s safety – to
       recommend to the FAA the temporary suspension of operations of the entire
       global fleet of 371 737 MAX aircraft. . . .

       [S]aid Dennis Muilenburg . . . . “We are supporting this proactive step out of an
       abundance of caution. Safety is a core value at Boeing for as long as we have
       been building airplanes; and it always will be. There is no greater priority for our
       company and our industry. We are doing everything we can to understand the cause



                                               131
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 139 of 170 PageID #:2997




       of the accidents in partnership with the investigators, deploy safety enhancements
       and help ensure this does not happen again.”

       403.    The statements claiming that Boeing had “full confidence in the safety” of the 737

MAX, that the 737 MAX was a “safe airplane,” that there was “no greater priority” for Boeing

other than safety and that “safety is a core value at Boeing” were materially false and misleading

for the reasons set forth herein and in Paragraph 358 above.

       404.    It was also materially false and misleading for Defendants to claim that they

“recommend[ed]” and were “supporting” the FAA’s suspension of the 737 MAX because Boeing

fought against the decision to ground the MAX. The FAA made the decision over Boeing’s

objections, issuing an emergency order titled “EMERGENCY ORDER OF PROHIBITION”

banning the 737 MAX from flight, and releasing a statement:

               The FAA is ordering the temporary grounding of Boeing 737 MAX
               aircraft operated by U.S. airlines or in U.S. territory. The agency made
               this decision as a result of the data gathering process and new evidence
               collected at the site and analyzed today. This evidence, together with
               newly refined satellite data available to FAA this morning, led to this
               decision.

Rather than supporting the decision to ground the planes, as noted above and reported in The

New York Times, Muilenburg called the President and personally “made the case that the 737

MAX planes should not be grounded in the United States.”

       E.      Defendants’ Materially False And Misleading Representations And Omissions
               Throughout The Rest Of The Class Period

                      Defendants’ Materially False And Misleading Representations And
                      Omissions After The FAA’s Decision To Ground The MAX

       405.    Even in the face of a nearly unprecedented FAA “emergency” order grounding the

entire 737 MAX fleet, Defendants continued to maintain that the 737 MAX was safe. On March

17, 2019, Boeing released and posted on its website a statement by Defendant Muilenburg where




                                               132
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 140 of 170 PageID #:2998




he claimed that the investigatory and remedial steps Boeing was taking following the two crashes

were simply “part of our standard practice.”

           406.   On March 18, 2019, Defendants issued and posted on Boeing’s website another

false statement. Specifically, Boeing issued a press release that day in the form of a letter from

Defendant Muilenburg “to Airlines, Passengers and the Aviation Community,” in which

Muilenburg stated in pertinent part:

           Safety is at the core of who we are at Boeing, and ensuring safe and reliable travel
           on our airplanes is an enduring value and our absolute commitment to everyone.
           This overarching focus on safety spans and binds together our entire global
           aerospace industry and communities . . . we’re taking actions to fully ensure the
           safety of the 737 MAX. . . .

            [W]e’ll continue providing the best products, training and support to our global
           airline customers and pilots. This is an ongoing and relentless commitment to
           make safe airplanes even safer. Soon we’ll release a software update and related
           pilot training for the 737 MAX that will address concerns discovered in the
           aftermath of the Lion Air Flight 610 accident.

           407.   On March 22, 2019, Boeing repeated its representations that the 737 MAX was safe

and that the information provided to pilots was sufficient to ensure the plane’s safe operation,

stating:

           All Boeing airplanes are certified and delivered to the highest levels of safety
           consistent with industry standards. Airplanes are delivered with a baseline
           configuration, which includes a standard set of flight deck displays and alerts, crew
           procedures and training materials that meet industry safety norms and most
           customer requirements. Customers may choose additional options, such as alerts
           and indications, to customize their airplanes to support their individual operations
           or requirements.

           408.   On March 27, 2019, Boeing conducted a meeting with more than 200 pilots and

airline executives at its factory in Renton, Washington concerning the proposed updates to the

software. As The New York Times reported, during Defendants’ March 27, 2019 presentation,

Boeing continued to maintain that the 737 MAX was fundamentally safe. In a statement posted




                                                   133
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 141 of 170 PageID #:2999




on Boeing’s website, Defendants represented that the Company “developed an MCAS software

update to provide additional layers of protection if the AOA sensors provide erroneous data.”

       409.    Investors credited Defendants’ March 2019 false statements about Boeing’s

knowledge of and ability to easily fix the 737 MAX’s safety problems. For example, in an analyst

report issued March 22, 2019, Morgan Stanley reported that, “per Boeing management, the

upgrades have been tested in the field and in simulators . . . . Furthermore, the upgrades can be

installed within a short period of time (~1 hour), leading us to believe that 737 MAX aircraft could

be back in the air over the coming 1-2 months.”

       410.    These “safety” related statements were materially false and misleading for the

reasons set forth herein and in Paragraph 358 above. The magnitude of the safety fixes necessary

to make the 737 MAX safe was so great that, eleven months later at the time of the filing of this

Complaint, the planes remain grounded.

       411.    The statements claiming that Boeing had provided pilots with all the necessary

information up to “industry norms” were materially false and misleading for the reasons set forth

herein and in Paragraphs 355 and 358 above.

                       Defendants’ False Statements After The Ethiopian Accident
                       Investigation Bureau Report

       412.    On April 4, 2019, the Ethiopian Accident Investigation Bureau (“AIB”) issued its

preliminary investigation report concerning the Ethiopian Airlines Crash. AIB’s report indicated

that the Ethiopian Airlines team followed Boeing’s manual and guidance to the extent possible,

but they were unable to avoid the crash due to an absence of information about the underlying

problems with MCAS and the plane’s AOA sensor, and how to override or disable MCAS in the

event of an erroneous activation.




                                                134
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 142 of 170 PageID #:3000




       413.    On April 5, 2019, Boeing released and posted on its website another statement by

Muilenburg, proclaiming “We Own Safety” and ostensibly providing a “737 MAX Software,

Production and Process Update.” In that release, filed with the SEC attached to a Form 8-K,

Defendants announced a production slowdown for the 737 MAX, shocking investors and causing

a negative stock-price reaction. But Muilenburg’s statement included reassuring false information

to temper that negative reaction, as Muilenburg stated in relevant part:

       We now know that the recent Lion Air Flight 610 and Ethiopian Airlines Flight 302
       accidents were caused by a chain of events, with a common chain link being
       erroneous activation of the aircraft’s MCAS function. We have the responsibility
       to eliminate this risk, and we know how to do it . . . We’re also finalizing new pilot
       training courses and supplementary educational material for our global MAX
       customers. This progress is the result of our comprehensive, disciplined approach
       and taking the time necessary to get it right. . . . Safety is our responsibility, and
       we own it.

       414.    Investors credited Defendants’ April 5, 2019 false statements. For example, in an

analyst report issued April 8, 2019, Cowen reported that “MCAS’s technical issues look very

fixable; and we’re confident BA’s proposed software/training update will correct its

deficiencies. . . . Pluses include . . . BA’s willingness to ‘own’ the MCAS issue . . . .”

       415.    Defendant Muilenburg made similar statements during his April 11, 2019 speech

during the George W. Bush Presidential Center’s Annual Forum on Leadership, in which he

represented that Boeing was proceeding apace on “the path to final certification”:

       From the days immediately following the Lion Air accident, our top engineers and
       technical experts have been working tirelessly in collaboration with the Federal
       Aviation Administration and our customers to finalize and implement a software
       update that will ensure accidents like these never happen again. The update will
       make the 737 MAX even safer by preventing erroneous angle-of-attack sensor
       readings from triggering the Maneuvering Characteristics Augmentation System,
       or MCAS, something that initial investigation reports indicate occurred in both
       MAX accidents as one link in a longer chain of events. We know we can break this
       chain link . . .

       Third, we must deliver results with excellence in all that we do. . . . [W]e continue
       to demonstrate that we’ve identified and met all certification requirements. We


                                                 135
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 143 of 170 PageID #:3001




       look forward to completing near-term milestones on the path to final
       certification.

       416.    The “safety” related statements above were materially false and misleading for the

reasons set forth herein and in Paragraph 358 above.

       417.    The statement that Boeing had “met all certification requirements,” which was

intended to convey to investors that the MAX would soon be re-certified for flight, was materially

false and misleading because the FAA was nowhere close to re-certifying the MAX and, in fact,

the investigations into the MAX’s safety issues were nearer to the beginning than the end.

       418.    The statements claiming that Boeing had provided pilots with all the necessary

information up to “industry norms” were materially false and misleading for the reasons set forth

herein and in Paragraphs 355 and 358 above.

                       Boeing’s First Quarter 2019 Disclosures

       419.    On April 24, 2019, Boeing filed its Quarterly Report for the first quarter of 2019

with the SEC on Form 10-Q (the “1Q19 10-Q”). Boeing also issued a press release, which it filed

with the SEC attached to a Form 8-K, announcing its financial results for the first quarter of 2019.

In that release, Boeing stated that it was “making steady progress on the path to final certification

for a software update for the 737 MAX,” and “continues to work closely with global regulators

and our airline partners to comprehensively test the software and finalize a robust package of

training and educational resources.”

       420.    In addition, in the 1Q19 10-Q, which was signed by Defendants Muilenburg and

Smith, Defendants discussed the FAA’s order to ground the 737 MAX following the Lion Air

Crash and the Ethiopian Airlines Crash. Defendants stated:

       We have been developing a software update to the Maneuvering Characteristics
       Augmentation System (MCAS) on the 737 MAX, together with an associated pilot
       training and supplementary education program. We continue to work with the
       FAA and other regulatory agencies worldwide to develop and certify the software


                                                136
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 144 of 170 PageID #:3002




       update and training program. Charges recognized during the first quarter of 2019
       related to the MCAS software update and related pilot training were immaterial.

       421.    On April 25, 2019, Boeing held its earnings conference call with analysts for the

first quarter of 2019. As J.P. Morgan reported on April 24, 2019, “[w]hile the upcoming earnings

call is formally a financial discussion, we expect many others to listen, and management will likely

focus on the broader issues of safety and its work to return the MAX to service with the confidence

of its customers, which is appropriate, in our view.”

       422.    During the April 25, 2019 earnings call, in response to analysts’ questions,

Muilenburg stressed that “[o]ur 737 program has a backlog of more than 4,400 aircraft and a

production skyline that is sold out into early next decade.”

       423.    Defendant Smith, in turn, gave opening remarks concerning Boeing’s financial

results. Smith claimed to “touch on the 737 MAX and explain how the grounding has impacted

our financials to date and what we’re focused on today and going forward.” According to Smith,

“[a]s Dennis [Muilenburg] noted, we’re taking steps amid current challenges to preserve the

future value and growth of this important franchise for our company and for our customers.”

       424.    During the April 25, 2019 earnings call, analysts were intently focused on the two

737 MAX crashes, including the plane’s design, certification process, and Boeing’s ability to fix

the safety problems that led to the plane’s grounding. In response to a question from Sanford C.

Bernstein & Co. concerning the crashes and the Company’s actions to solve the underlying

problems that led to them, Muilenburg falsely stated:

       Both accidents were a chain of events. We know there was one common link in
       that chain of events, and that was the activation of the MCAS system with erroneous
       angle of attack data. That’s been well published. And as we said, we understand
       how to address that link. That’s our responsibility. We own that, and that’s what
       that software update does. . . .




                                                137
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 145 of 170 PageID #:3003




       The next step in that process will be the certification flight under the FAA’s
       authority, and we are working with the FAA right now to prepare for that in the
       near term. . . .

       425.    Bank of America Merrill Lynch then asked Muilenburg:

       how does this happen right? I mean, this sort of seemingly sort of came out of
       nowhere. I mean, is there any way you can kind of give us a feeling for how did
       this slip through the engineering organization? How did it slip through the FAA?
       Can you give us a feel for that? . . . [T]hat’s the part that befuddles me most about
       all this because it doesn’t seem like there was a lot of new science going on here,
       right? . . . This seems to be applications of existing technology to an existing
       platform.”

In response, Muilenburg again falsely blamed pilot error and stated that “there [wa]s no technical

slip or gap here”:

       [T]here is no technical slip or gap here, right? Again as I mentioned, we know
       that both accidents were a series of events, and that is very common to all accidents
       that we’ve seen in history. And in – what we know is that in this case, there was
       erroneous angle of attack information that came into the airplane form multiple
       causes. We know that at some point during the flight, that activated the MCAS
       control loss. And we know that ultimately, there were actions or actions not taken
       that contributed to the final outcome. . . .

       I can tell you with confidence that we understand our airplane. We understand
       how the design was accomplished, how the certification was accomplished and
       remain fully confident in the product that we put in the field. But we also know
       there are areas where we can improve, and that is the source of the software update
       here. But there was no surprise or gap or unknown here or something that
       somehow slipped through a certification process. Quite the opposite. We know
       exactly how the airplane was designed. We know exactly how it was certified.
       We have taken the time to understand that. That has led to the software update that
       we’ve been implementing and testing, and we’re very confident that when the fleet
       comes back up, the MAX will be one of the safest airplanes ever to fly.

       426.    Investors credited Defendants’ false statements in connection with Boeing’s 1Q19

earnings release. For example, in an analyst report issued April 24, 2019, Credit Suisse reported

that Defendants provided “More Clarity on MAX” which “we think the market will receive . . .

[with] some level of relief.” Likewise, Credit Suisse reported on April 24, 2019 that Boeing was

“[m]aking progress on MAX fix,” writing that, “Mgmt. struck a reassuring tone, and though the



                                               138
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 146 of 170 PageID #:3004




earnings call was light on specifics, the company laid out its plan to resolve the MAX issues and

rebuild trust.”

        427.      The statements that Boeing was “making steady progress on the path to final

certification for a software update for the 737 MAX,” and was “taking steps . . . to preserve the

future value and growth of this important franchise,” while purporting to “understand our airplane”

and “understand how to address” MCAS’s software problems were materially false and

misleading. Through those statements, Defendants misled investors into believing that they would

soon correct the MAX’s underlying safety deficiencies, such that the 737 MAX would be re-

certified for flight and positively impact Boeing’s business and financial results.

        428.      In truth, the 737 MAX was fundamentally unsafe such that its continued sales and

flight could not have reasonably been relied on, as set forth herein and in Paragraph 358 above.

Indeed, due to the fundamentally unsafe nature of the 737 MAX, the entire 737 MAX fleet was

grounded, Boeing halted production of the 737 MAX, multiple customers canceled or substituted

existing 737 MAX orders, and Boeing agreed that the expensive, extensive pilot simulator training

that initially threatened 737 MAX sales is now a prerequisite to the fleet returning to service.

        429.      Defendants’ statements concerning their close working relationship with the FAA

and other regulators were also materially false and misleading. In truth, Defendants improperly

pressured the FAA into rushing re-certification of the plane on an accelerated timeline. Moreover,

as internal messages from 737 MAX Chief Technical Pilot Forkner and others show, Boeing

pressured and misled the FAA into improperly certifying the MAX and Boeing employees bragged

about “jedi-mind tricking” the FAA into not including necessary information about MCAS and its

operation in the flight manual for the MAX, as described above, including in Sections IV.C.2,

IV.C.4, and IV.C.5.




                                                139
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 147 of 170 PageID #:3005




       430.   Indeed, Boeing initially secured the MAX’s certification through a campaign of

misleading statements and mockery, and as discussed above in Section IV.A., the Joint Report

concluded, the FAA was not aware of the details of the MCAS function and other safety issues

because certification documents Boeing provided to the FAA “were not updated during the

certification program to reflect” subsequent changes to the 737 MAX design, and “the information

and discussions about MCAS were so fragmented and were delivered to disconnected groups” that

it “was difficult to recognize the impacts and implications of this system.” The Joint Report

concluded that the FAA would not have certified the MAX if it had been provided complete and

accurate information by Boeing.

                      Defendants’ False And Misleading Response To Southwest Airlines’
                      April 28, 2019 Statements Concerning The AoA Disagree Lights

       431.   On April 28, 2019, Southwest Airlines called into question the veracity of

Defendants’ statements about the functionality and adequacy of key safety features that should

have been installed in the 737 MAX planes that Boeing delivered to Southwest. On April 28,

2019, Southwest stated:

       Upon delivery (prior to the Lion Air event), the AoA Disagree lights were depicted
       to us by Boeing as operable on all MAX aircraft, regardless of the selection of
       optional AoA Indicators on the Primary Flight Display (PFD). The manual
       documentation presented by Boeing at Southwest’s MAX entry into service
       indicated the AoA Disagree Light functioned on the aircraft, like the Lights on our
       NG series. After the Lion Air event, Boeing notified us that the AoA Disagree
       Lights were inoperable without the optional AoA Indicators on the MAX aircraft.
       At that time, Southwest installed the AoA Indicators on the PFD, resulting in the
       activation of the AoA Disagree lights – both items now serve as an additional
       crosscheck on all MAX aircraft.

       432.   On April 29, 2019, Defendants responded to Southwest’s statement and again

falsely represented, despite the AoA Disagree Alert not being properly activated and functional,

that pilots had all necessary information to safely fly the 737 MAX. In a news release posted on

its website, Boeing represented that “[o]n every airplane delivered to our customers, including


                                              140
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 148 of 170 PageID #:3006




the MAX, all flight data and information needed to safely operate the aircraft is provided in the

flight deck on the flight deck display. This information is readily accessible to pilots, and it always

has been. . . .”

        433.       Boeing subsequently issued a “Statement on AOA Disagree Alert” on May 5, 2019,

which downplayed the key safety role that a functional AOA Disagree Alert would play in

notifying pilots of faulty AoA sensors and data:

        On every airplane delivered to our customers, including the MAX, all flight data
        and information needed to safely operate the aircraft is provided in the flight deck
        on the primary flight deck displays. . . .

        Neither the angle of attack indicator nor the AOA Disagree alert are necessary for
        the safe operation of the airplane. They provide supplemental information only,
        and have never been considered safety features on commercial jet transport
        airplanes.

        The Boeing design requirements for the 737 MAX included the AoA Disagree alert
        as a standard, standalone feature, in keeping with Boeing’s fundamental design
        philosophy of retaining commonality with the 737NG. In 2017, within several
        months after beginning 737 MAX deliveries, engineers at Boeing identified that the
        737 MAX display system software did not correctly meet the AoA disagree alert
        requirements. The software delivered to Boeing linked the AoA disagree alert to
        the AoA indicator, which is an optional feature on the MAX and the NG.
        Accordingly, the software activated the AoA Disagree alert only if an airline opted
        for the AoA indicator.

        When the discrepancy between the requirements and the software was identified,
        Boeing followed its standard process for determining the appropriate resolution of
        such issues. That review, which involved multiple company subject matter experts,
        determined that the absence of the AoA Disagree alert did not adversely impact
        airplane safety or operation. Accordingly, the review concluded the existing
        functionality was acceptable until the alert and the indicator could be delinked
        in the next planned display system software update. . . .

        434.       These statements were materially false and misleading when made, and omitted

material facts necessary to make those statements not misleading. As set forth above including in

Section IV.C.3, (i) Boeing represented in the MAX’s certification documents that the AoA

Disagree Alert was to be a standard, non-optional safety feature of the aircraft – just as it had been



                                                 141
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 149 of 170 PageID #:3007




on prior 737 models, and (ii) the FAA Administrator himself stated on July 11, 2019 that the AoA

Disagree Alert was part of the approved MAX design and FAA regulations required the AoA

Disagree Alert to be installed on every delivered airplane.

       435.    These statements were also materially false and misleading to the extent they

included safety-related claims about the 737 MAX for the reasons set forth herein and in Paragraph

358 above, and to the extent that they claimed “existing information” was sufficient to safely

operate the 737 MAX for the reasons set forth herein and in Paragraph 355 above.

       436.    Finally, due to the substantial design changes from older 737 models to the 737

MAX, including the 737 MAX’s larger engines placed farther up on the plane’s wings and

attendant aerodynamic instability and a higher likelihood of pitch-up tendencies, the presence of

MCAS, its reliance on a single AoA sensor that represented a single point of failure, and the failure

to train pilots in how to override and disable MCAS in the event of its erroneous activation, the

737 MAX did not “retain[] commonality with the 737NG” or “behave the same way in the hands

of the pilot” as previous 737 models.

                       Defendants’ Materially False And Misleading Representations And
                       Omissions Made During Investor Conferences In May-June 2019

       437.    On May 29, 2019, Defendant Muilenburg made a presentation as part of the Sanford

C. Bernstein Strategic Decisions Conference, hosted by Stanford C. Bernstein & Co. During his

remarks, Muilenburg discussed the Lion Air Crash and Ethiopian Airlines Crash extensively, and

represented that “we’re now in the process of applying for final certification. We are finishing

that dialogue with the FAA, working through a series of questions and answers with them. . . .”

       438.    In response to an analyst’s question, Muilenburg claimed that “we’re making clear

and steady progress” towards getting the 737 MAX flying again, “and that includes the work that

we’re doing on the airplane update, the software update, working through the certification process



                                                142
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 150 of 170 PageID #:3008




with the FAA headed towards our certification flight. We’re also working on updates to training

and education materials.”

       439.    Muilenburg also discussed Boeing’s relationship with the FAA. In response to “the

question there on the relationship with the FAA” and “the delegated authority approval and how

that process works,” Muilenburg stated that “I have a great deal of confidence in that process and

how it works. It’s a high-integrity process, and I think it’s proven. It’s demonstrated results. It’s

a way for the FAA to exercise its independent role, its regulatory role as it should, but also tap into

the deep technical expertise in our company.”

       440.    Investors credited Defendants’ May 29, 2019 false statements. For example, in an

analyst report issued May 30, 2019, Susquehanna Financial Group reported that “Boeing’s

management recently spoke at a competitor conference and provided an update on the 737 MAX

situation. . . . Boeing is near to applying for final certification on the updated MCAS

software. . . . after the final software fix is submitted, press reports claim that the FAA has

estimated it will need 3-4 weeks to process and review before ungrounding the 737 MAX.”

       441.    On June 5, 2019, during a presentation at the UBS Global Industrials and

Transportation Conference, Defendant Smith falsely reassured investors that Boeing was “working

with our regulators and ensuring that we’re answering all the questions, addressing any concerns

that are taking place,” and in doing so “[w]e’ve got resources from across the company. They’re

just turning these things around in a very timely manner, ensuring that we’re meeting the

priorities and the needs of the regulator. . . . [T]here’s a lot of progress. There’s a lot of progress

that’s been made. . . . [W]hat’s important is we’re focusing on the right things, the priorities.”

       442.    Defendants continued to falsely assert that, although 737 MAX planes that Boeing

delivered did not have properly functional and activated AoA Disagree Alerts, those alerts were




                                                 143
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 151 of 170 PageID #:3009




not safety features and their absence did not contribute to the two crashes. In a June 7, 2019

statement to CNET responding to a letter from Representatives Peter DeFazio of Oregon and Rick

Larsen of Washington that raised concerns about faulty AoA sensors installed on 737 MAX planes,

Boeing falsely responded that “[t]he absence of the AOA Disagree alert did not adversely impact

airplane safety or operation.”

       443.    On June 26, 2019, Muilenburg spoke to the Aspen Ideas Festival in Aspen,

Colorado, and publicly represented that Boeing was “still . . . looking at” the end of summer 2019

as the “timeframe” for the 737 MAX returning to operation.

       444.    Investors credited Defendant Muilenburg’s June 26, 2019 false statements. For

example, in an analyst report issued that day, UBS reported that “comments by Boeing’s CEO

today seemed to agree with the moderator comment that a late summer return is feasible.”

       445.    These statements that Boeing was “in the process of applying for final certification”

and “finishing that dialogue with the FAA,” while “looking at” the end of summer 2019 as a

“feasible” timeline to return the MAX to operation were materially false and misleading. In truth,

regulators repeatedly warned Defendants not to publicly represent any timeline for MAX

certification, including in the June 2019 meeting between Defendant Muilenburg and then-Acting

FAA Administrator Elwell at the Paris Air Show, during which Elwell told Muilenburg that Boeing

should “slow down its talk of progress” and “[g]ive the FAA space to exercise scrutiny,” as

reported in the Wall Street Journal and discussed herein including in Section V.E.

       446.    Defendants’ statements concerning their close working relationship with the FAA

and other regulators as Defendants sought to work towards re-certification of the 737 MAX were

materially false and misleading as discussed herein and at Paragraphs 429 and 430 above.




                                               144
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 152 of 170 PageID #:3010




       447.    Defendants’ statements concerning the AoA Disagree Alert were materially false

and misleading as discussed herein and at Paragraph 434 above. Indeed, had that safety feature

been present and operable, 737 MAX pilots would have had far more information regarding

whether MCAS’s changes to the plane’s operation were appropriate and safe when they occurred,

the reasons those changes occurred when they did, and how to respond in the event of erroneous

MCAS operation. Defendants also failed to disclose that the decision to rely on only one AoA

sensor was driven by cost-cutting concerns rather than safety.

                       Defendants’ Announcements Concerning The Company’s Second
                       Quarter 2019 Results

       448.    On July 18, 2019, after the close of the market, Boeing issued a press release, filed

with the SEC attached to a Form 8-K, stating that the Company would recognize a $4.9 billion

charge to its earnings in the following week’s release of financial results for the second quarter of

2019 due to the 737 MAX grounding. In that release, Boeing stated that it “continues to work with

civil aviation authorities to ensure the 737 MAX’s safe return to service,” and “has assumed that

regulatory approval of 737 MAX return to service in the U.S. and other jurisdictions begins

early in the fourth quarter 2019. . . . The second-quarter financial results will further assume a

gradual increase in the 737 production rate from 42 per month to 57 per month in 2020 . . . .”

       449.    Investors credited Defendants’ July 18, 2019 false statements. For example, in an

analyst report issued that day, UBS reported that “[t]he news of the charge will be overshadowed

favorably by the company’s early 4Q19 return to service estimate and return to 57/mo in 2020

target.” Similarly, on July 19, 2019, Canaccord Genuity reported that “the initial investor reaction

is a sigh of relief due to the fact that BA now expects the MAX [return to service] in Q4/19 . . .

and the charge helps to put a perceive limit on the financial impact of the grounding.” And Cowen




                                                145
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 153 of 170 PageID #:3011




reported on July 19, 2019 that it “assume[d] BA’s timing comments are based on its extensive

interactions with regulators.”

       450.    On July 24, 2019, Boeing filed its financial results for the second quarter of 2019

with the SEC on Form 10-Q (the “2Q19 10-Q”). The 2Q19 10-Q was signed by Defendants

Muilenburg and Smith and accompanied by a press release, which Defendants filed with the SEC

attached to a Form 8-K.       In that release and accompanying slides, Boeing stated that it

“[c]ontinue[d] to engage global regulators and customers on 737 MAX safe return to service.” In

a “737 MAX” slide that focused on the plane, Boeing touted its purported “Relentless commitment

to safety and quality,” while claiming that the Company was “Assessing future financial

implications” concerning the 737 MAX, including “Return to service timeline and conditions” and

“Production rate and delivery profile.”

               On July 24, 2019, Boeing held its earnings conference call with analysts for the

second quarter of 2019. During his opening remarks, Defendant Muilenburg provided “the latest

on the MAX technical updates,” stating that “we are working with the FAA and other regulators

to complete as many elements of the certification process as possible in parallel with the

development of the software update. We will submit our final certification package to the FAA

once we have satisfied all of their requirements, which we currently estimate will be in the

September time frame.”

       452.    Defendant Smith similarly represented to investors that “[f]or the purpose of our

second quarter financial results, we have assumed that the regulatory approval in the U.S. and

other jurisdictions begin early in fourth quarter 2019.”

               Muilenburg also later represented that “[w]e’re making good, steady progress” on

the certification process, and “we know we’re making progress.” Concerning pilot training that




                                                146
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 154 of 170 PageID #:3012




airlines would have to perform before flying the 737 MAX if it were certified again, Muilenburg

claimed that “we have [a] good understanding of each of those workflows. We know the work

that has to be done. We are on it on a daily basis.”

        454.    During the call, a Seattle Times reporter questioned Defendants’ purported

September timeline for returning the 737 MAX to service, asking Muilenburg about “some

optimistic assumptions in there.” Muilenburg again affirmed that Boeing’s “current best estimate,

as we said, is to deliver our certification package, including the certification flight, in that

September time frame and then return to service in the – early in the fourth quarter. . . . And we

are assessing that on a daily basis and working hand-in-hand with the FAA in this process.”

        455.    Investors credited Defendants’ July 24, 2019 false statements. For example, in an

analyst report issued that day, Cowen reported that “Investor Reaction To MAX Production

Alternatives Look[ed] Excessive,” given that “BA reiterated its assumption that MAX grounding

will be lifted with resumption of deliveries early in Q4 . . . .”

        456.    Likewise, on September 11, 2019, at the Morgan Stanley Laguna Conference,

Defendant Muilenburg represented to investors that “[o]n the 737 MAX, we’re continuing to

make solid progress on return to service. We’re actively engaged with regulators around the

world and day-to-day working with the FAA on return-to-service timing. We are making good,

solid progress on the software update to the airplane . . . . And we are still targeting early fourth

quarter for a return to service of the 737 MAX.” During the presentation, Muilenburg discussed

Boeing’s purported “very active engagement with the FAA and other regulators” on “certification

deliverables,” claiming that “all of that work is converging and supporting our return-to-service

time line.”




                                                  147
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 155 of 170 PageID #:3013




       457.    On November 11, 2019, during market hours, Boeing issued a “737 MAX Progress

Report” (the “November 11 Release”). In the November 11 Release, Boeing falsely represented

that it was “working closely with the FAA and other regulatory agencies as we work towards

certification and safe return to commercial service, and we are taking the time to answer all of

their questions. . . . Boeing continues to target FAA certification of the MAX flight control

software updates during this quarter. Based on this schedule, it is possible that the resumption

of MAX deliveries to airline customers could begin in December, after certification, when the

FAA issues an Airworthiness Directive rescinding the grounding order.”               Boeing further

represented publicly that “[a]t each step of this process Boeing has worked closely with the FAA

and other regulators.” The market reacted positively in response to Defendants’ November 11,

2019 false statements. That day, Boeing stock closed at a price of $366.96 per share, a statistically

significant gain of $15.96, or 4.7%, over the prior trading day’s close.

       458.    The statements discussed in Paragraphs 448, 451-54, and 456-57 were materially

false and misleading when made, and omitted material facts necessary to make those statements

not misleading. Defendants’ statements concerning their close working relationship with the FAA

and other regulators as Defendants sought to work towards re-certification of the 737 MAX were

materially false and misleading. In truth, regulators repeatedly warned Defendants not to publicly

represent any timeline for MAX certification, including in the June 2019 meeting between

Defendant Muilenburg and then-Acting FAA Administrator Elwell at the Paris Air Show, during

which Elwell told Muilenburg that Boeing should “slow down its talk of progress” and “[g]ive the

FAA space to exercise scrutiny,” as reported in the Wall Street Journal. Instead, Defendants

improperly pressured the FAA into rushing re-certification of the plane on an accelerated timeline,




                                                148
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 156 of 170 PageID #:3014




which led the FAA to chastise Defendants for their undue pressure and the baseless, aggressive re-

certification timeline they represented publicly.

       459.    Moreover, Boeing’s November 11, 2019 statement that it could resume MAX

deliveries to customers in December 2019 contradicted FAA Administrator Dickson’s express

warning to Defendant Muilenburg in early November 2019, discussed above at Paragraph 299,

that the FAA did not approve of Boeing’s aggressive timeline to resume MAX deliveries. Dickson

told his colleagues Boeing’s announcement of anticipated December deliveries made Dickson feel

as though he was being manipulated. And Defendants knew by February 2019 at the latest – when

they collected and produced to the FAA internal messages from Forkner and others discussing

how they pressured and misled the FAA into improperly certifying the MAX despite it being

unsafe and the FCOM not including necessary information about MCAS and its operation – that

rather than “working with our regulators and ensuring that we’re answering all the questions” as

part of the certification process, Boeing initially secured the MAX’s certification through a

campaign of misleading statements.

IX.    LOSS CAUSATION

       460.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiffs and the Class.

       461.    During the Class Period, Plaintiffs and the Class purchased or otherwise acquired

Boeing common shares and call options at artificially inflated prices, or wrote put options at

artificially deflated prices, and were damaged thereby when the price of Boeing common stock

declined as the truth was gradually revealed through partial disclosures during the Class Period.

Throughout the Class Period the price of Boeing common stock and call options was artificially

inflated, and the price of Boeing put options artificially deflated, as a result of Defendants’

materially false and misleading statements and omissions. The price of Boeing common stock


                                                149
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 157 of 170 PageID #:3015




significantly declined (causing investors to suffer losses) when Defendants’ materially false and

misleading statements, alleged herein to have been concealed from the market, and/or the effects

thereof, were revealed, and/or the risks that had been fraudulently concealed by the Defendants

materialized.

       462.     Specifically,   Defendants’   materially   false   and    misleading   statements

misrepresented the magnitude of the safety deficiencies in the 737 MAX model. When those

misrepresentations and misstatements were corrected, and the risk concealed by them materialized,

investors suffered losses as the price of Boeing common stock declined. As a result of the

disclosure of the truth of Defendants’ fraud, Boeing common shares declined from a Class Period

high of approximately $446.01 per share to a closing price of $327.00 on December 17, 2019, a

decline of nearly 27%.


   Date*              Corrective Event Summary              Closing       Common       S&P 500
                                                             Stock          Stock       Price
                                                             Price          Price      Change
                                                                           Change
March 10,       On Sunday March 10, 2019, Ethiopian        March 11:     March 11:     March 11:
2019            Airlines Flight 302 crashed six minutes    $400.01       -5.33%        1.47%
(March 11       after takeoff.     Multiple regulators
and 12,         grounded all 737 MAX airplanes in their    March 12:     March 12:     March 12:
2019)           jurisdiction                               $375.41       -6.15%        0.30%
                On Sunday, March 17, 2019, the Seattle
                Times published an investigative report
March 17,
                that     partially  revealed    several
2019
                fundamental flaws in the MAX’s safety      $372.28       -1.77%        0.37%
(March 18,
                analysis and design that materially
2019)
                exacerbated safety concerns with the
                plane.




                                               150
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 158 of 170 PageID #:3016




               Before the market’s open, The New York
               Times published a report that the
               Ethiopian Airlines and Lion Air Boeing
March 21,      737 MAX planes lacked two safety
2019           features – an AoA indicator and an AOA
                                                           $372.70    -0.92%     1.09%
(March 21,     disagree light – because Boeing charged
2019)          extra for them and their importance was
               unknown to Boeing customers, as
               Boeing hid MCAS to avoid extra training
               requirements for pilots.
               After the market’s close on April 5,
               Defendant Muilenburg informed the
April 5,
               market that Boeing would be
2019 (April                                                $374.52    -4.44%     0.10%
               substantially cutting production of the
8, 2019)
               737 MAX planes from 52 per month to
               42 per month.
               After the market’s close, the FAA
               announced that a new software flaw had
               been discovered during testing of the
June 26,       software update for MCAS and that
2019 (June     Boeing would need to fix this problem,      $364.02    -2.91%     0.38%
27, 2019)      which could be implicated during the
               emergency response in the event of an
               MCAS failure, further delaying the 737
               MAX’s return to the skies.
               Before the market’s open, Boeing
July 24,                                                   July 24:   July 24:   July 24:
               disclosed that the protracted grounding
2019 (July                                                 $361.43    -3.12%     0.47%
               of the 737 MAX could result in a
24 and 25,                                                 July 25:   July 25:   July 25:
               temporary halt of production for the
2019)                                                      $348.09    -3.69%     -0.53%
               plane if the delays continued.
               During the trading day, The New York
               Times published a series of emails
October 18,
               previously produced to the government       Oct.18:    Oct.18:    Oct.18:
2019
               in which Boeing’s former Chief              $344.00    -6.79%     -0.39%
(October 18
               Technical Pilot for the 737 MAX             Oct. 21:   Oct. 21:   Oct. 21:
and 21,
               program speaks about “jedi-mind             $331.06    -3.76%     0.69%
2019)
               tricking” the FAA into certifying the 737
               MAX.
December       On December 16, 2019, Boeing
16, 2019       announced that it would be temporarily
                                                           $327.00    -4.29%     0.71%
(December      shutting down production of the Boeing
17, 2019)      737 MAX in January 2020.
*Date(s) of stock drop(s) in parentheses.




                                              151
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 159 of 170 PageID #:3017




       463.     It was entirely foreseeable that Defendants’ materially false and misleading

statements and omissions discussed herein would artificially inflate or maintain the existing

artificial inflation of the price of Boeing common stock and call options, and artificially deflate or

maintain the artificial deflation of the price of Boeing put options. It was also foreseeable to

Defendants that the revelation of the truth about Boeing’s failure to disclose the magnitude of the

safety issues in the 737 MAX model would cause the price of the Company’s stock to fall as the

artificial inflation caused or maintained by Defendants’ misstatements and omissions was

removed.      The prices of the Company’s options rose and fell in correspondence with the

movements of the stock price and for the same reasons. Thus, the stock price declines described

above were directly and proximately caused by Defendants’ materially false and misleading

statements and omissions.

X.     PRESUMPTION OF RELIANCE

       464.     At all relevant times, the market for Boeing securities was efficient for the

following reasons, among others:

           a)      Boeing’s stock met the requirements for listing, and was listed and actively
                   traded on the New York Stock Exchange, a highly efficient market, with an
                   average daily trading volume of 5,226,091 shares;

           b)      As a regulated issuer, Boeing filed periodic reports with the SEC;

           c)      Boeing regularly communicated with public investors via established market
                   communication mechanisms, including through regular disseminations of press
                   releases on the national circuits of major newswire services and through other
                   wide-ranging public disclosures, such as communications with the financial
                   press and other similar reporting services; and

           d)      Boeing was followed by at least 20 analysts employed by major brokerage firms,
                   including. but not limited to Bank of America Merrill Lynch, Barclays, Citi,
                   Goldman Sachs, J.P. Morgan, and UBS, who wrote reports that were distributed
                   to those brokerage firms’ sales forces and certain customers. Each of these
                   reports was publicly available and entered the public marketplace.




                                                 152
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 160 of 170 PageID #:3018




        465.    As a result of the foregoing, the market for Boeing stock promptly digested current

information regarding Boeing from all public available sources and reflected such information in

Boeing’s stock price. Under these circumstances, purchasers of Boeing common stock and call

options at artificially inflated prices, and sellers of put options at artificially deflated prices, during

the Class Period suffered similar injury through their transactions and a presumption of reliance

applies.

        466.    In addition, Plaintiffs are entitled to a presumption of reliance under Affiliated Ute

Citizens of Utah v. U.S., 406 U.S. 128 (1972), because the claims asserted herein are predicated in

part upon material omissions of fact that Defendants had a duty to disclose.

XI.     INAPPLICABILITY OF THE STATUTORY SAFE HARBOR AND BESPEAKS
        CAUTION DOCTRINE

        467.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements described in this Complaint.

Many of the specific statements described herein were not identified as “forward-looking” when

made. To the extent that there were any forward-looking statements, there was no meaningful

cautionary language identifying important factors that could cause actual results to differ

materially from those in the purportedly forward-looking statements. Alternatively, to the extent

that the statutory safe harbor does apply to any forward-looking statements described herein,

Defendants are liable for those false forward-looking statements because at the time each was

made, the particular speaker knew that the particular forward-looking statement was false or

misleading, and/or that the forward-looking statement was authorized and/or approved by an

executive officer of Boeing who knew that those statements were false or misleading when made.




                                                   153
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 161 of 170 PageID #:3019




XII.   CLASS ACTION ALLEGATIONS

       468.      Plaintiffs bring this action as a class action pursuant to Fed. R. Civ. P. 23(a) and

23(b)(3) on behalf of a Class consisting of all those who purchased or otherwise acquired Boeing

common shares, call options, or put options between November 7, 2018 and December 16, 2019,

inclusive, and who were damaged thereby (the “Class”). Excluded from the Class are Defendants,

the officers and directors of Boeing at all relevant times, members of their immediate families and

their legal representatives, heirs, successors or assigns, and any entity in which Defendants have

or had a controlling interest.

       469.      The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Boeing common shares were actively traded on the

New York Stock Exchange. As of December 16, 2019, Boeing had nearly 563 million shares of

common stock outstanding. While the exact number of Class members is unknown to Plaintiffs at

this time and can only be ascertained through appropriate discovery, Plaintiffs believe that there

are thousands of members of the proposed Class. Class members who purchased Boeing common

shares may be identified from records maintained by Boeing or its transfer agent(s), and may be

notified of this class action using a form of notice similar to that customarily used in securities

class actions.

       470.      Plaintiffs’ claims are typical of Class members’ claims, as all members of the Class

were similarly affected by Defendants’ wrongful conduct in violation of federal law that is

complained of herein.

       471.      Plaintiffs will fairly and adequately protect Class members’ interests and have

retained competent counsel experienced in class actions and securities litigation.




                                                 154
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 162 of 170 PageID #:3020




          472.   Common questions of law and fact exist as to all Class members and predominate

over any questions solely affecting individual Class members. Among the questions of fact and

law common to the Class are:

            a)      whether the federal securities laws were violated by Defendants’ acts as alleged
                    herein;

            b)      whether statements made by Defendants to the investing public during the Class
                    Period misrepresented material facts about Boeing;

            c)      whether Defendants acted with scienter; and

            d)      to what extent the members of the Class have suffered damages, as well as the
                    proper measure of damages.

          473.   A class action is superior to all other available methods for the fair and efficient

adjudication of this action because joinder of all Class members is impracticable. Additionally,

the damage suffered by some individual Class members may be relatively small so that the burden

and expense of individual litigation makes it impossible for such members to individually redress

the wrong done to them. There will be no difficulty in the management of this action as a class

action.

XIII. CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT

                                              COUNT I

 FOR VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT AND SEC RULE
                 10b-5 PROMULGATED THEREUNDER
                     (AGAINST ALL DEFENDANTS)

          474.   Plaintiffs repeat and re-allege each and every allegation set forth above as if fully

set forth herein.

          475.   This Count is asserted on behalf of all members of the Class against Defendant

Boeing and the Executive Defendants for violations of Section 10(b) of the Exchange Act, 15

U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5.



                                                 155
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 163 of 170 PageID #:3021




       476.    During the Class Period, Defendant Boeing and the Executive Defendants

disseminated or approved the false statements specified above, among others, which Defendants

Boeing and the Executive Defendants knew or deliberately disregarded were misleading in that

they contained misrepresentations and failed to disclose material facts necessary in order to make

the statements made, in light of the circumstances under which they were made, not misleading.

       477.    Defendant Boeing and the Executive Defendants violated Section 10(b) of the

Exchange Act and Rule 10b-5 in that they: (a) employed devices, schemes, and artifices to defraud;

(b) made untrue statements of material facts or omitted to state material facts necessary in order to

make the statements made, in light of the circumstances under which they were made, not

misleading; and/or (c) engaged in acts, practices, and a course of business that operated as a fraud

or deceit upon Plaintiffs and others similarly situated in connection with their purchases of Boeing

common stock and options during the Class Period. As detailed herein, the misrepresentations

contained in, or the material facts omitted from, those statements included, but were not limited

to, Boeing’s failure to disclose the magnitude of the safety deficiencies in the 737 MAX model.

       478.    Defendant Boeing and the Executive Defendants, individually and in concert,

directly and indirectly, by the use of the means or instrumentalities of interstate commerce and/or

of the mails, engaged and participated in a continuous course of conducted that operated as a fraud

and deceit upon Plaintiffs and the Class; made various untrue and/or misleading statements of

material facts and omitted to state material facts necessary in order to make the statements made,

in light of the circumstances under which they were made, not misleading; made the above

statements intentionally or with a severely reckless disregard for the truth; and employed devices

and artifices to defraud in connection with the purchase and sale of Boeing common shares, call

options, or put options, which were intended to, and did: (a) deceive the investing public, including




                                                156
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 164 of 170 PageID #:3022




Plaintiffs and the Class, regarding, among other things, Boeing’s failure to disclose the magnitude

of the safety deficiencies in the 737 MAX model; (b) artificially inflate and maintain the market

price of Boeing common stock and call options and artificially deflate the price of Boeing put

options; and (c) cause Plaintiffs and other members of the Class to purchase Boeing common stock

and/or call options at artificially inflated prices, or write put options at artificially deflated prices,

and suffer losses when the true facts became known.

        479.    As described above, Defendant Boeing and the Executive Defendants acted with

scienter throughout the Class Period, in that they either had actual knowledge of the

misrepresentations and omissions of material facts set forth herein, or acted with reckless disregard

for the truth in that they failed to ascertain and to disclose the true facts, even though such facts

were available to them.

        480.    Plaintiffs and the Class have suffered damages in that, in direct reliance on the

integrity of the market, they paid artificially inflated prices for Boeing common stock or call

options and/or wrote Boeing put options at artificially deflated prices, which artificial

inflation/deflation was removed from the stock when the true facts became known. Plaintiffs and

the Class would not have transacted in Boeing common stock or options at the prices paid, or at

all, if they had been aware that the market price of Boeing common stock and call options had

been artificially inflated, and the price of Boeing put options artificially deflated, by Defendant

Boeing and the Executive Defendants’ false and misleading statements.

        481.    As a direct and proximate result of Defendant Boeing’s and the Executive

Defendants’ wrongful conduct, Plaintiffs and other members of the Class suffered damages

attributable to the fraud alleged herein in connection with their purchases of Boeing common

shares, call options, or put options during the Class Period.




                                                  157
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 165 of 170 PageID #:3023




                                               COUNT II

            FOR VIOLATIONS OF SECTION 20(a) OF THE EXCHANGE ACT
                   (AGAINST THE EXECUTIVE DEFENDANTS)

        482.      Plaintiffs repeat and re-allege each and every allegation set forth above as if fully

set forth herein.

        483.      This Count is asserted on behalf of all members of the Class against the Executive

Defendants for violations of Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).

        484.      During their tenures as officers and/or directors of Boeing, each of the Executive

Defendants was a controlling person of the Company within the meaning of Section 20(a) of the

Exchange Act. By reason of their positions of control and authority as officers and/or directors of

Boeing, these Defendants had the power and authority to direct the management and activities of

the Company and its employees, and to cause the Company to engage in the wrongful conduct

complained of herein.

        485.      As more fully described above, in their capacities as senior corporate officers of the

Company, the Executive Defendants had direct involvement in the day-to-day operations of the

Company, including their power to control or influence the policies and practices giving rise to

Boeing’s misleading statements about the magnitude of the safety deficiencies in the 737 MAX

model, alleged herein, and exercised the same. The Executive Defendants made numerous false

and misleading statements on Boeing’s behalf at investor conferences, in SEC filings, and on

earnings calls.

        486.      Defendants Muilenburg and Smith signed the Company’s SEC filings during the

Class Period. The Executive Defendants were directly involved in disseminating Boeing’s false

and misleading statement during the Class Period. As a result of the foregoing, the Executive




                                                   158
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 166 of 170 PageID #:3024




Defendants, as a group and individually, were controlling persons of Boeing within the meaning

of Section 20(a) of the Exchange Act.

        487.    Boeing violated Section 10(b) of the Exchange Act by its acts and omissions, as

alleged in this Complaint. By virtue of their positions as controlling persons of Boeing, the

Executive Defendants are liable pursuant to Section 20(a) of the Exchange Act, jointly and

severally to Plaintiffs and other members of the Class who purchased or otherwise acquired Boeing

securities.

        488.    As a direct and proximate result of the Executive Defendants’ conduct, Plaintiffs

and the other members of the Class suffered damages in connection with their purchase or

acquisition of Boeing securities.

XIV. PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for relief and judgment, as follows:
        a)      Determining that this action is a proper class action under Rule 23 of the Federal
                Rules of Civil Procedure;

        b)      Awarding compensatory damages and equitable relief in favor of Plaintiffs and the
                other Class members against all Defendants, jointly and severally, for all damages
                sustained as a result of Defendants’ wrongful conduct, in an amount to be proven
                at trial, including interest thereon;

        b)      Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in
                this action, including counsel fees and expert fees; and

        c)      Such other and further relief as the Court may deem just and proper.

XV.     JURY DEMAND

        Plaintiffs hereby demand a trial by jury in this action of all issues so triable.



Dated: February 14, 2020                                Respectfully submitted,

                                                        /s/ John C. Browne
                                                        BERNSTEIN LITOWITZ BERGER &
                                                           GROSSMANN LLP


                                                  159
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 167 of 170 PageID #:3025




                                            Avi Josefson
                                            875 North Michigan Avenue, Suite 3100
                                            Chicago, IL 60601
                                            Telephone: (312) 373-3800
                                            Facsimile: (312) 794-7801
                                            Avi@blbglaw.com

                                            -and-

                                            John C. Browne (admitted pro hac vice)
                                            Katie M. Sinderson (admitted pro hac vice)
                                            Adam D. Hollander (admitted pro hac vice)
                                            Abe Alexander (admitted pro hac vice)
                                            James M. Fee (admitted pro hac vice)
                                            1251 Avenue of the Americas, 44th Floor
                                            New York, New York 10020
                                            Telephone: (212) 554-1400
                                            Facsimile: (212) 554-1444
                                            JohnB@blbglaw.com
                                            KatieM@blbglaw.com
                                            Adam.Hollander@blbglaw.com
                                            Abe.Alexander@blbglaw.com
                                            James.Fee@blbglaw.com

                                            Lead Counsel for Lead Plaintiff and Lead
                                            Counsel for the Class

                                            KESSLER TOPAZ
                                            MELTZER & CHECK LLP
                                            Andrew L. Zivitz (pro hac vice forthcoming)
                                            Joshua A. Materese (pro hac vice forthcoming)
                                            280 King of Prussia Road
                                            Radnor, PA 19087
                                            Telephone: (610) 667-7706
                                            Facsimile: (610) 667-7056
                                            azivitz@ktmc.com
                                            jmaterese@ktmc.com

                                            Counsel for Plaintiffs William C. Houser, Bret
                                            E. Taggert, and Robert W. Kegley Sr., as
                                            Trustee for the Robert W. Kegley Sr. Revocable
                                            Living Trust U/A DTD 04/16/2003




                                      160
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 168 of 170 PageID #:3026




                                      APPENDIX 1

          Glossary of Key Terms in the Consolidated Class Action Complaint

       Term                                   Definition/Description

Angle of attack      “Angle of attack” (“AoA”) is the angle between the aircraft and
                     oncoming airflow. An aircraft’s lift varies with changes in its angle of
                     attack. Increasing the angle of attack increases the aircraft’s lift, until
                     the aircraft reaches a “critical angle of attack.” When the aircraft
                     exceeds this critical angle of attack, lift decreases and the aircraft stalls.

Department of        The U.S. Department of Transportation.
Transportation

Dickson, Stephen     FAA Administrator (August 2019 to present). Dickson has testified
                     before Congress in connection with the 737 MAX investigation.

DOJ                  The U.S. Department of Justice (“DOJ”). The DOJ is conducting a
                     criminal investigation of Boeing related to the 737 MAX.

Elwell, Daniel       Acting FAA Administrator (January 2018 to August 2019). Elwell was
                     in office during both the Lion Air and Ethiopian Airlines Crashes, and
                     has testified before Congress in connection with the 737 MAX
                     investigation.

Ethiopian Aircraft   The investigation authority in Ethiopia responsible to the Ministry of
Accident             Transport for the investigation of civil aircraft accidents and serious
Investigation        incidents in Ethiopia. On April 4, 2019, Ethiopia’s Aircraft Accident
Bureau               Investigation Bureau released a preliminary accident investigation
                     report for the Ethiopian Airlines Crash.

Ethiopian Airlines   The crash of Ethiopian Airlines Flight ET 302 on March 10, 2018.
Crash

Ewbank, Curtis       A former Boeing engineer who submitted an internal ethics complaint
                     following the Ethiopian Airlines Crash.

FAA                  The Federal Aviation Administration (“FAA”) is a division of the
                     Department of Transportation with powers to regulate all aspects of
                     civil aviation within the jurisdiction of the United States.
FAA Settlement       The agreement Boeing entered into with FAA on December 18, 2015
Agreement            to resolve 13 pending investigations by the FAA of the Company.

FCOM                 The Boeing 737 MAX Flight Crew Operations Manual (“FCOM”) is
                     the flight manual provided by Boeing to its customers.


                                             1
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 169 of 170 PageID #:3027




       Term                                   Definition/Description

Flight control law     A “flight control law” is software that controls a plane’s operations
                       without human direction.

Flight envelope        “Flight envelope” refers to the capabilities of a design in terms of
                       airspeed and altitude. Flying “outside the envelope” is considered
                       dangerous.

Forkner, Mark          Former Chief Technical Pilot for the 737 MAX Program. Forkner
                       wrote and appears on documents that Boeing has produced to regulators
                       and Congress in connection with their MAX-related investigations.

Horizontal stabilizer A fixed-wing element in the aircraft’s tail that prevents up-and-down,
                      or pitching, motion of the aircraft nose.

Huerta, Michael        Former FAA Administrator (January 2013 to January 2018); Former
                       Acting FAA Administrator (December 2011 to January 2013).
                       Administrator Huerta was in office when Boeing entered into the FAA
                       Settlement Agreement on December 18, 2015.

Indonesian National    The Indonesian National Transportation Safety Committee (“NTSC”)
Transportation         is a government agency that investigates air, land, rail, and marine
Safety Committee       transportation accidents or deficiencies. On November 27, 2018, the
                       Indonesian NTSC released its preliminary accident investigation report
                       for the Lion Air Crash.

Joint Report           The October 11, 2019 Joint Authorities Technical Review (“JATR”)
                       Board Report, which issued recommendations to the FAA following the
                       Lion Air and Ethiopian Airlines Crashes. The JATR team consisted of
                       technical representations from agencies, including the FAA, National
                       Aeronautics and Space Administration, the European Union Aviation
                       Safety Agency, and the civil aviation authorities of Australia, Brazil,
                       Canada, China, Indonesia, Japan, Singapore and the United Arab
                       Emirates.

Lion Air Crash         Lion Air Crash is the crash of Lion Air Flight JT 610 on October 29,
                       2018.

MCAS                   The Maneuvering Characteristics Augmentation System Boeing
                       installed on the 737 MAX.

MCAS                   An internal Boeing document created and used by divisions working on
Coordination Sheet     a project to share relevant information and coordinate their work.
or “Coordination
Sheet”


                                             2
Case: 1:19-cv-02394 Document #: 144 Filed: 02/14/20 Page 170 of 170 PageID #:3028




       Term                                  Definition/Description

NTSB                 The National Transportation Safety Board, a U.S. federal investigative
                     agency that conducts accident investigations related to all forms of
                     transportation, including air travel. The NTSB investigated both the
                     Lion Air and Ethiopian Airlines Crashes.

ODA                  The Organization Designation Authorization, a federal program where
                     the FAA may delegate to manufacturers matters related to
                     examinations, certifications, and inspections. Under the ODA, the FAA
                     delegated authority to Boeing with respect to many aspects of the 737
                     MAX’s certification.

Pierson, Edward      A former Senior Manager in Boeing’s Renton, Washington 737 facility,
                     who oversaw production support for 737 Final Assembly. Pierson has
                     testified before Congress in connection with its 737 MAX investigation.

Runaway stabilizer   A procedure that Boeing prescribed to pilots in the event that the MAX
trim                 pitched down uncontrollably for remediating an uncommanded
                     movement of the horizontal stabilizer.

SEC                  The U.S. Securities and Exchange Commission.

Stabilizer trim      A process by which the pilot moves the horizontal or vertical stabilizers
                     in the plane’s tail in order to avoid a stall.

System Safety        A safety analysis performed in connection with FAA certification to
Analysis or Hazard   identify and define hazardous conditions in an airplane’s design in order
Analysis             to eliminate or control those conditions.

Trim                 “Trim” means trimming away the forces needed to maintain a straight
                     and level flight and avoid a stall.

Trim wheel or        Wheels in an airplane cockpit that help in controlling or setting the trim
Manual trim wheel    for aircraft for different stages of flight.

Type certificate     A certification issued by regulators confirming that an aircraft is
                     manufactured according to an approved design, and that the design
                     ensures compliance with airworthiness requirements. Updated versions
                     of an existing plane model may be certified under the existing model’s
                     type certificate. The 737 MAX was certified under the 737 type
                     certificate, which the FAA issued in 1967.




                                            3
